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               EXHIBIT 1
                  Case 1:21-cv-03006-DLF Document 1-2 Filed 11/12/21 Page 2 of 177
                  SUPERIOR COURT FOR THE DISTRICT OF COLUMBIA- CIVIL of\tr.ffl)N
                                                                                                                D.C. Superior Court
                                                                                                                10/29/2021 17:33PM
                                                                                                                Clerk of the Court

The George Washington University


                                           Plaintiff
                                                                                 Case No.: 2021 CA 003837 B
                                                                  vs.
Factory Mutual Insurance Company


                                           Defendant
                                                 AFFIDAVIT OF SERVICE

I, Vance M. Warren, Sr., a Private Process Server, being duly sworn, depose and say:

That 1 have been duly authorized to make service of the Initial Order and Addendum; Summons in English and Spanish;
Information Sheet; Complaint for Breach of Contract, Declaratory Relief; and Money Damages with Exhibit A; and Plaintiffs
Corporate Disclosure Statement in the above entitled case.

That I am over the age of eighteen years and not a party to or otherwise interested in this action.

That on 10/26/2021 at l l :51 AM, I served Factory Mutual Insurance Company c/o CT Corporation System, Registered Agent at
l 0 15 J5th Street, NW, Suite I 000, Washington, DC 20005 with the Initial Order and Addendum; Summons in English and
Spanish; Information Sheet; Complaint for Breach of Contract, Declaratory Relief, and Money Damages with Exhibit A; and
Plaintiffs Corporate Disclosure Statement by serving Ami Pineda, Agent, authorized to accept service on behalf of CT Corporation
System.

Ami Pineda is described herein as:

Gender: Female     Race/Skin: White     Age: 36 Weight: l 50      Height: 5'5"   Hair: Brown   Glasses: No

l declare under penalty ofpei:jury that this infonnation is true and correct.




                                                                                      Vance M. WatTen, Sr.


                                                                                                             Client Ref Number:030619. 00002
                                                                                                                           Job #: 1595405
        Case 1:21-cv-03006-DLF Document 1-2 Filed 11/12/21 Page 3 of 177

. CT Corporation                                                                                     Service of Process
                                                                                                     Transmittal
                                                                                                     10/26/2021
                                                                                                     CT Log Number 540481990
 TO:         Robert Brunelli
             Factory Mutual Insurance Company
             270 Central Ave
             Johnston, RI 02919-4923

 RE:         Process Served in District of Columbia

 FOR:        Factory Mutual Insurance Company (Domestic State: RI)




 ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

 TITLE OF ACTION:                                  THE GEORGE WASHINGTON UNIVERSITY vs. FACTORY MUTUAL INSURANCE COMPANY
 DOCUMENT(S) SERVED:                               --
 COURT/AGENCY:                                     None Specified
                                                   Case # 2021CA003837B
 NATURE OF ACTION:                                 Insurance Litigation
 ON WHOM PROCESS WAS SERVED:                       C T Corporation System, Washington, DC
 DATE AND HOUR OF SERVICE:                         By Process Server on 10/26/2021 at 03:32
 JURISDICTION SERVED :                             District of Columbia
 APPEARANCE OR ANSWER DUE:                         None Specified
 ATTORNEY(S) / SENDER(S):                          None Specified
 ACTION ITEMS:                                     CT has retained the current log, Retain Date: 10/26/2021, Expected Purge Date:
                                                   10/31/2021

                                                   Image SOP

                                                   Email Notification, Robert Brunelli robert.brunelli@fmglobal.com

                                                   Email Notification, Roma Pritza roma.pritza@fmglobal.com

                                                   Email Notification, Donna Rega-Pascale donna.regapascale@fmglobal.com

 REGISTERED AGENT ADDRESS:                         C T Corporation System
                                                   1015 15th Street, NW
                                                   Suite 1000
                                                   Washington, DC 20005
                                                   866-401-8252
                                                   EastTeam2@wolterskluwer.com
 The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
 relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
 of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
 advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
 therein.




                                                                                                     Page 1 of 1 / AK
                Case 1:21-cv-03006-DLF Document 1-2 Filed 11/12/21 Page 4 of 177

                                                                  {3;® Wolters Kluwer
                            PROCESS SERVER DELIVERY DETAILS




Date:                          Tue, Oct 26, 2021

Server Name:                   Drop Service




Entity Served                  FACTORY MUTUAL INSURANCE COMPANY

Case Number                    2021CA003837B

Jurisdiction                   DC




 I Ill          111111111111111           II IIIIIII I 1111
             Case 1:21-cv-03006-DLF Document 1-2 Filed 11/12/21 Page 5 of 177

                          SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                                 CIVIL DIVISION Civil Actions Branch
                          · 500 Indiana Avenue, N.W., Suite 5000, Washington, D.C. 20001
                               Telephone: (202) 879-1133 • Website: www.dccourts.gov



THE GEORGE WASHINGTON UNIVERSITY
  Vs.                                                                C.A No.         2021 CA 003837 B
FACTORY MUTUAL INSURANCE COMPANY

                                    INITIAL ORDER AND ADDENDUM

          Pursuant to D.C. Code§ 11-906 and District of Columbia Superior Court Rule of Civil Procedure
                           ("Super. Ct. Civ. R."} 40-1, it is hereby ORDERED as follows:

     (1) This case is assigned to the judge and calendar designated below. All future filings in this case shall
bear the calendar number and the judge's name beneath the case number in the caption.
     (2) Within 60 days of the filing of the complaint, plaintiff must file proof of service on each defendant of
copies of (a) the summons, (b) the complaint, and (c) this Initial Order and Addendum. The court will dismiss
the claims against any defendant for whom such proof of service has not been filed by this deadline, unless the
court extended the time for service under Rule 4(m).
     (3) Within 21 days of service (unless otherwise provided in Rule 12), each defendant must respond to the
complaint by filing an answer or other responsive pleading. The court may enter a default and a default
judgment against any defendant who does not meet this deadline, unless the court extended the deadline
under Rule SS(a).
     (4) At the time stated below, all counsel and unrepresented parties shall participate in a remote hearing to
establish a schedule and discuss the possibilities of settlement Counsel shall discuss with their clients before the
hearing whether the clients are agreeable to binding or non-binding arbitration. This order is the only notice
that parties and counsel will receive concerning this hearing.
     (5) If the date or time is inconvenient for any party or counsel, the Civil Actions Branch may continue the
Conference ~ ' with the consent of all partie·s, to either of the two succeeding Fridays. To reschedule the
hearing, a party or lawyer may call the Branch at (202) 879-1133. Any such request must be made at least seven
business days before the scheduled date.
No other continuance of the conference will be granted except upon motion for good cause shown.
     ( 6) Parties are responsible for obtaining and complying with all requirements of the General Order for Civil
cases, each judge's Supplement to the General Order and the General Mediation Order. Copies of these orders
are available in the Courtroom and on the Court's website http://wwi,v.dccourts.gov/. ·




                                                               Chief Judge Anita M. Josey-Herring

Case Assigned to: Judge JASON PARK
Date:         October 22, 2021
Initial Conference: REMOTE HEARING - DO NOT COME TO COURTHOUSE
SEE REMOTE HEARING INSTRUCTIONS ATTACHED TO INITIAL ORDER

9:30 am, Friday, January 21, 2022
Location:· Courtroom 519
           500 Indiana Avenue N.W.
           WASHINGTON, DC 20001

                                                                                                CAIO-60
            Case 1:21-cv-03006-DLF Document 1-2 Filed 11/12/21 Page 6 of 177


                              ADDENDUM TO INITIAL ORDER AFFECTIN.G
                                ALL MEDICAL MALPRACTICE CASES

              D.C. Code§ 16-2821, which part of the Medical Malpractice Proceedings Act of 2006, provides,               "[a]fter
action is filed in the court against a healthcare provider alleging medical malpractice, the court shall require the parties to
enter into mediation, without discovery or, if all parties agree[,) with only limited discovery that will not interfere with the
completion of mediation within 30 days of the Initial Scheduling and Settlement Conference ('ISSC"'), prior to any further
litigation in an effort to reach a settlement agreement. The early mediation schedule shall be included in the Scheduling
Order following the ISSC. Unless all parties agree, the stay of discovery shall not be more than 30 days after the ISSC."

         To ensure compliance with this legislation, on or before the date of the ISSC, ·the Court will notify all attorneys
and pro se parties of the date and time of the early mediation session and the name of the assigned mediator. Information
about the early mediation date also is available over the internet at https://www:dccourts.gov/pa/. To facilitate this process,
all counsel and pro se parties in every medical malpractice case are required to confer, jointly complete and sign an
EARLY MEDIATION FORM, which must be filed no later than ten (10) calendar days prior . to the ISSC.
D.C. Code§ 16-2825 Two separate Early Mediation Forms are available.                   Both forms may be obtained at
www.dccour:ts.gov/medmalmediation. One form is to be used for early mediation with a mediator from the multi-door
medical malpractice mediator roster; the second form is to be used for early mediation with a private mediator. Plaintiffs
counsel is responsible for eFiling the form and is required to e-mail a courtesy copy to earlymedmal@dcsc.gov.
Unrepresented plaintiffs who elect not to eFile must either mail the form to the Multi-Door Dispute Resolution Office at,
Suite 2900, 410 E Street, N.W., Washington, DC 20001, or deliver if in person if the Office is open for in-person visits.

          A roster of medical malpractice mediators available_ through the Court's Multi-Door Dispute Resolution Division,
with biographical-information about each mediator, can be found at www.dccourts.gov/medmalmediation/mediatorprofiles.
All individuals on the roster are judges or lawyers with at least 10 years of significant experience in medical malpractice
litigation. D.C. Code§ l6-2823(a). If the parties cannot agree on a mediator, the Court will appoint one. D.C. Code§ 16-
2823(b).                                                                                                             .

          The following people are required by D.C. Code § 16-2824 to attend personally the Early Mediation Conference:
(1) all parties; (2) for parties that are not individuals, a representative with settlement authority; (3) in cases involving an
insurance company, a representative of the company with settlement authority; and (4) attorneys representing each party
with primary responsibility for the case.

          No later than ten (10) days after the early mediation session has terminated, Plaintiff must eFile with the Court a
report prepared by the mediator, including a private mediator, regarding: (1) attendance; (2) whether a settlement was
reached; or, (3) if a settlement was not reached, any agreements to narrow the scope of the dispute, limit discovery,
facilitate future settlement, hold another mediation session, or otherwise reduce the cost and time of trial preparation.
D.C. Code§ 16-2826. Any Plaintiff who is unrepresented may mail the form to the Civil Actions Branch at [address] or
deliver it in person if the Branch is open for in-person visits. The forms to be used for early mediation reports are available
at www.dccourts.gov/medmalrnediation.



                                                                           Chief Judge Anita M. Josey-Herring




                                                            2                                                    CAIO-60
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                                           Ci\,il Remote Hearing Instructions for Participants



      ·The following instructions are for participants who are scheduled to have cases heard before a Civil Judge
       in a Remote Courtroom



           P@!lsnll. (AUDIO ONLy /Dial-in by Phone):
     Toll 1 (844) 992-4762 or (202) 860-2110, enter the Meeting ID from the attachment followed by
     #, press again to enter session:




     If you select Option 2 or Option 3 use the .,~wfa~ .,~;t~~rn<;thii~


§eUMi@i (LAPTOP/ DESKTOP usERs 11:
                   Open Web Browser in Google Chrome and copy and paste following address from the next page:·
                   https://dccourts. webex. com/meet/XXXXXXXXX



Pim;.;.i; (LAPTOP/ DESKTOP usrns 2)=
             Open Web Browser in Google Chrome and copy and paste following address
             htt;:is:1/dccourts.webex.ccrn Select Join, enter the Meeting ID from the next page



      iWG!(} f~tTrnN1~TiVE: Instead of automatically using USE COMPUTER FOR AUDIO, select CALL~
      IN and follow the CALL-IN prompt window. Use a cell phone or desk phone. You will be heard
      clearer if you do not place your phone on SPEAKER. It is very important that you
      enter the ACCESS ID# so that your audio is matched with your video.


QetmMli (!pad/SMART PHONE/TABLET):
               •          Go to App Store, Download WebEx App (Cisco WebEx Meetings)
               •          Sign into the App with your Name and Email Address
               •          Select Join Meeting
               •          Enter address from the next page: https://dccourts.webex.com/meet/XXXXXXXXX
               •          Click join and make sure your microphone is muted and your video is unmuted (if you need to be
               •          seen). If you only need to speak and do not need to be seen, use the audio only option.
               •          When you are ready click "Join Meeting". If the host has not yet started the meeting, you will be
                          placed in the lobby until the meeting begins.


                           For Technical Questions or issues Call: (202) 879-1928, Option #2




                                                                    3                                              CAIO-60
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                                          Superior Court of the District of Columbia,
                                        · Public Access for Remote Court liearirigs
                                                 (Effective August 24, 2020)

    The current telephone numbers for all remote hearings are: 202-860-2110 (local) or 844-992-4726 (toll
    free). After dialing the number, enter the WebEx Meeting ID as shown below for the courtroom. Please click
    a WebEx Direct URL link below to join the hearing online.

           Audio and video recording; taking pictures of remote hearings; and sharing the live· or recorded remote
           hearing by rebroadcasting, live-streaming or otherwise are not allowed

Division   Courtroom        Types of Hearings                                     Public Access via WebEx
                              Scheduled in
                                                    WebEx Direct URL                                           WebEx
                               Courtroom
                                                                                                               Meeting ID
Auditor    206            Auditor Master            ,;ttr2s ://dccowts. webex.ccm/rn(:0t/ctbaudmast0r          129 648 5606
Master                    Hearings
           100            Civil 2 Scheduling        htt_pj_;Lick<::ol,rts.webex.ccm/meet/ctblOO                129 846 4145
                          Conferences; Status,
                          Motion and Evidentiary
                                                                                                                           '
                          Hearings including
Civil                   · Bench Trials
           205            Foreclosure Matters       r1ttps:f./dccourts.w0bex.cor;-;/rnEetjc:lb205              129 814 7399

           212           Civil 2 Scheduling         h ttp:.;:i/ ckcol:rts. webex. c:cmjrn;?et/ctb212           129 440 9070
                         Conferences; Status,
                         Motion and Evidentiary
                         Hearings including
                         Bench Trials
           214           Title 47 Tax Liens; and    https:jj d::rnu rts. webex. ::o:r:/rneei:/c:tb214          129 942 2620
                         Foreclosure· Hearings
            219          Civil 2 Scheduling         https:Lidccot.:rts.webex.ccm/meet(ctb219                   129 315 2924
                         Conferences; Status,
                         Motion and Evidentiary
                         Hearings including
                         Bench Trials
            221          Civil 1 Scheduling         rittps://lj::courts. webex.wrr;/rn(:i~l/clb22t             129 493 5162
                         Conferences; Status,
                         Motion and Evidenti_ary
                         Hearings including
                         Bench Trials
            318          Civil 2 Scheduling         http:;:iidcc::Jlirl:s.wE?tiex.c:c:rr.jrn:?i~ti;:tb.118     129 801 7169
                         Conferences; Status,
            320          Motion and Evidentiary     r-,tt12s://dccourts. webex .com /meet(ctb320                129 226 9879
                         Hearings including
                         Bench Trials

                                                                                                                       ,




                                                              4                                              CAlO-60
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 400              Judge in Chambers        r1ttps://dccourts.webex.com/rneetjc:tb4W-               129 339 7379
                  Matters including
                  Temporary Restraining
                  Orders, Preliminary
                  Injunctions and Name
                  Changes
  415             Civil 2 Scheduling       iittps://(jccourt:;. webex.com/rm:etjc:tb415            129 314 3475
1--------1
  516             Conferences; Status,     t1ttps:/j1J::wurts.webex.,:orn/rm,;~tjc:t:b515          129 776 4396
> - - - - - - - < Motion and Evidentiary
  517                                      http:;Jidcc:Jurts.web€~x.c:crnjmeet/::tb5.1.7           129 9116415
                  Hearings including
>-- - - - - - . Bench Trials
 5 18                                                                                              129 685 3445

 519                                       r1ttps://dccourts.webex.com/rneet/<:tb519               129 705 0412·

 JM-4                                      https ://dccourts. webex. co;::/meetictb1;::4            129 797 7557



 A-47          Housing Conditions          t1ttp.s:jj1j::wurts.w€:bex.crn-r;/rrn:;~t:/c:t:ba47      129 906 2065
               Matters
 B-52           Debt Collection and        https://dccm:rts.webex.com/meetictbb52                   129793 4102
                Landlord and Tenant
                Trials
 B-53           Landlord and Tenant        https :!!dccourts. webex.co;n/meet/ctbb53               129 913 3728
                Matters including Lease
                Violation Hearings and
                Post Judgment Motions-
 B-109        . Landlord and Tenant        http~:;/dccourts.webe;<.c:ornjmeetictbbl09              129 127 9276
               Matters
 8-119         Small Claims· Hearings      https://dccourt:;. webel<.. com /mee t/ctbb119          129 230 4882
               and Trials.




                                                     5                                           CAIO-60
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                                                          Sµperior Court of the.District of Columbia
                                                                      CIVIL DIVISION
                                                                    ·Civil Actions Branch
                                                500 Indiana Avenue, N.\V., Suite 5000 ·washington, D.C. 20001
                                                     Telephone: (202) 879-1133 Website: www.dccourts.gov

      The George Washington University
                                                                                  Plaintiff
                                                    vs.
                                                                                                                      Case Number 2021 CA 003837 B
      Factory Mutual Insurance Company
                                                                                 Defendant

                                                                                Sl]MMONS
  To the above named Defendant.:

           You are hereby stmm1oned and required to serve an Answer to the attached Complaint, either
  personall.y or through an attorney, within twenty one (21) days after service of this summons upon you,
  e:x,clusive of the day of service. If );Ou are being sued as an officer or agency of the United States Government
  or the District of Columbia Government, you have sixty (60) days after service of this summons to serve your ·
  Answer. A copy of the Answer must be mailed to the attorney for the pla.intiff who is suing you. The
  ~ttomey's name and address appear below. If plaintiff has no attorney, a copy of the Answer must be mailed
  to the plaintiff at the address stated on this Summons.

                You are also required to file the original Answer with the Comt in Suire 5000 at 500 Indiana Avenue,
  N.W., between 8:30 a.rn. and 5:00 p.m., Mondays through Fridays or between 9:00 a.m. and 12:00 noon on
  Satnrdays. You may file the original Answer with the Court either before you sen;e a copy of the Answer on
  the plaintiff or within seven (7) days after you have served the plaintiff. ff you fail to file an Answer,
  judgment by default may be entered against you for the relief demanded in tbe complaint.
 Matthew J. Schlesinger CD.C. Bar No. 429689)
 Name of Plaintiff's Attorney

 850 Tenth Street, NW
 Address
 Washington DC, 20001

 ( 202) 662- 6000
 Telephone
 Jmfflillfflw. if:!:J ~ l-! (202)   879-4<328             Veuillez appe!er au (202) 879-4828 pour une traduction              DJ c6 m<)t bai. dfch, hay g~,i (202) 879-4<328
 \'!j~ ~1[1~, (202) 879-4828.iil. •fflMIMR.                         rh"~cs- •1-C?-9" flcnl"l,··1· (202) 879-4828   .P..i!cJ>-tr



   L.\tlPORTANT: IF YOU FAIL TO :F-1LE A:.'-i ANSWER WITHJN THE TllVIE STATED ABOVE, OR IF, AFl'ER YOU
 ANSWER, YOU FAIL TO APPEAR AT ANY TIME THE COURT NOTIFIES YOU TO DO SO, A JUDGMENT BY DEFAULT
 MAY BE ENTERED AGAINST YOU FOR THE MONEY DAMAGES OR OTHER. RELIEF DEMAl\JDED IN THE
 COMPLAINT. IF Ti-US OCCURS, YOUR WAGES MAY BE ATl'ACHED OR WITHHELD OR PERSONAL PROPERTY OR
 REAL ESTATE YOU OWN MAY BE TAKEN AND SOLD TO PAY THE JUDGMENT. IF YOU INTEND TO OPPOSE THIS
 ACTION, DO NOT 1-:4.lL TO ANSWER WITlilN 11fE REQUIRED 11.ME.

    If you wish ro talk to a lawyer and feel thar you cannot afford to pay a fee to a fawyer, prompr.ly contact one of the offices of the
 Legal Aid Sociery (202-628-1161) or the Neighborhood Legal Services (202-279-5100) for help or come to Suite 5000 at 500
 Indiana Avenue, N.W., for more ioformarion concerning places wbere yoi1 may ask for such help.

                                                                  See reverse side for Spanish rranslarion
                                                                   Vea al dorso la traducci6n al espaiiol




CV-3110 [Rev. June 2017)                                                                                                                                Super. Ct. Civ. R. 4
                          Case 1:21-cv-03006-DLF Document 1-2 Filed 11/12/21 Page 11 of 177



                                                             TRIBUNAL SUPERIOR DEL DISTRITO DE COLUMBIA
                                                                                             DIVISION CIVIL
                                                                                       Seccion de Acciones Civiles
                                                                      500 Indiana A\'enue, N.\V., Suite 5000, Washington, D.C. 20001
                                                                            Telef'ono: (202) 879-:1.133 Sitio web: www.dccourts.gov



          The George Washington University
                                                                                           Demanclante
                                                             contra
                                                                                                                            Numero de Caso:
            Factory Mutual Insurance Company
                                                                                            Demanclaclo

                                                                                           CITATORIO
       Al susodicho Demandado:
                Por la prcscntc sc le cita a comparcccr y sc k require cntrcgar una Contcstaci.6n a la Dcmanda acijunta, sea en
       persona o por medio de un abogado, en el plazo de veintiun (21) dfas contados despues que usfod h,iya recibido este
       citatorio, excluyendo el dfa mismo de la entrega del citatorio. Si usted esta siendo dernandado en calidad de oficial o
       agente dei Gobierno de los Estados Unidos de Norteamerica o del Gobierno del Distnfo de Columbia, tiene usted
       sesenta (60) di'.as. contados despues que usted haya recibido este citatorio. para entregar su Contestaci6n. Tiene que
       enviarle por correo una copia de su Contestacion al abogado de la parte derna.ndante. EJ nombre y direcci6n del
       abogado aparccen al final de este documento. Si el demandado no tiene abogado, tiene que enviarle al demandante una
       copia de la Contestaci611 por correo a la direcci6n que aparece en este Citatorio. . ··

                A usted tambien se le require presentru· la Contestaci6n original al Tribunal en la Oficina 5000, sito en 500
       Indiana Avenue, N.\V., entre las 8:30 a.m. y 5:00 p.m., de lunes aviernes o entre las 9:Q0 a.rn. y las 12:00 del mediodfo
       los sahados. Usted puede presentar la Contestacion · or.-igi.nul -mite. el foez ya sea antes que usted le entregue al
       demandante una copia de Ja Contestaci6n o en el plazo de siete (7} dfas de haberle hecho la entrega al demandante. Si
       usted incumple con presentar una Contestaci6n, podria d:ic.tarse                                        un
                                                                               fallo en rebeldfa contra usted para que se haga
       efectivo el desagravio que se busca en la demanda. ·         ·· ·  ·
        Matthew J. Schlesinger (D.C. Bar No. 429689)                          SECRETARIO DEL TRJBUNAL
      Nombre. clei abogado de.l Demandante

       850 Tenth Street, NW                                                                             Por:
      Direcci6n                                                                                                                           Subsecretario
       Washington, DC 20001

        ( 202) 662- 6000                                                                                Fecha
      Telefono
      !mlffillillw, ~H Fl;<, 'ii (202} 879-~28                        Veuillez appeier au (202) 879-4828 pour ur;e traduc1ion        .He co mot h,ii dich, My gc;,i (202) 879-4828
                      ' t _ ~ j ~ 2 0 2 ) 879-4828 ~~                                               \'N'?Cc;' ·}·C-t'l" (1"'1"11·)· (202) 879-4828   .P,J!.U>-c'r
                                 ,•:.   :.· :: ..   ·::··:   ...• <


        IMPORTANTE: SI TJSTED TNCUMPLE CON PRESENTAR UNA CONTESTACTON EN EL PLAZO ANTES
      MENCIONADO 0. SI LUEGO DE CONTESTAR. USTED NO COMPARECE CU ANDO LE A VISE EL JUZGADO, PODRTA
      DICTARSE UN FALLQ EN REBELDfA CONTRA USTED PARA QUE SE LE COBRE LOS DANOS Y PERJUTCIOS U OTRO
      DESAGRA VIO QUE SE BUSQUE EN LA DEMAND A. SI ESTO OCURRE, PODRIA RETENERSELE SUS INGRESOS, 0
      PODRfA TOM.ARSELE SUS BTENES PERSONALES O BTENES RAICES Y SER VENDIDOS PARA PAGAR EL FALLO. SI
      USTED PRETENDE OPONCRSE A ESTA ACCION, NO DEJE DE CONTESTAR L4 DEMANDA Dl:'-'NTRO DEL PL4ZO
      EXIGIDQ.

         Si desea conversar con ua abogado y le parece que no puede pagarle- a uno. llame. pronto a una de nuestras oficinas del Legal Aid
      Society (202-628-1161) o el Neighborhood Legal Se.rvices (202-279-5100) para pedir ayuda o veaga a la Oficina 5000 del 500
      Indiana Avenue, N.W .. para infonnarse sobre otros lugares cloncle. puede pecli.rnyuda al respecro.

                                                                                 Vea al dorso el original en ingles
                                                                                See reverse side for English original
CV-3110 [Rev. June 2017]                                                                                                                                 Super. Ct. Civ. R. 4
           Case 1:21-cv-03006-DLF Document 1-2 Filed 11/12/21 Page 12 of 177



      Superior Court ·of the District of Columbia
                                     .CIVIL DIVISION- CIVIL ACTIONS BRANCH
                                                   INFORMATION SHEET
 The George Washington University                                 Case Number:    _2_0_2_1_C_A_Q_0_3_8_3_7_-_B____
                            VS                                    Date:     October 21, 2021

 Factory Mutual Insurance Company                                 D    One of the defendants is being sued
                                                                       in their official capacity.
Name: (Please Print)                                                               Relationship to Lawsuit
  Matthew J. Schlesinger·
                                                                                       1K] Attorney for Plaintiff
Firm Name:
  Covington & Burling LLP
Telephone No.:            Six digit Unified Bar No.:
                                                                                       •     Self (Pro Se)

 (202) 662-6000            429689                                                      •     Other:

TYPE OF CASE: D Non-Jury                            D    6 Person Jury              [Kl 12 Person Jury
Demand:$ in excess of$10,001                                               Other: _ _ _ _ _ _ _ _ _ _ _ _ _ __

PENDING CASE(S) RELATED TO THE ACTION BEING FILED
Case No.: _ _ _ _ _ _ _ _ __ Judge: _ _ _ _ _ _ __                                     Calendar#: _ _ _ _ _ _ _ _ __

Case No.: _ _ _ _ _ _ _ _ __                     Judge: _ _ _ _ _ _ __                  Calendar#: _ _ _ _ _ _ _ _ __


NATURE OF SUIT:                  ( Check One Box Only)
A. CONTRACTS                                             COLLECTION CASES

  [K] 01 Breach of Contract                 D   14 Under $25,000 Pltf. Grants Consent D 16 Under $25,000 Consent Denied
  D       02 Breach of Warranty             D    17 OVER $25,000 Pltf. Grants ConsentD 18 OVER $25,000 Consent Denied
  D       06 Negotiable Instrument          D    27 Insurance/Subrogation              D 26 Insurance/Subrogation
  D       07 Personal Property                      Over $25,000 Pltf. Grants Consent      Over $25,000 Consent Denied
  D       13 Employment Discrimination      D   07 Insurance/Subrogation               D 34 Insurance/Subrogation
  D       15 Special Education Fees                 Under $25,000 Pltf. Grants Consent      Under $25,000 Consent Denied
                                            D   28 Motion to Confirm Arbitration
                                                    Award (Collection Cases Only)
             -
B. PROPERTY TORTS

      D   01 Automobile                   D 03 Destruction of Private Property          D   05 Trespass
      D   02 Conversion                   D 04 Property Damage
      D   07 Shoplifting, D.C. Code§ 27-102 (a)


C. PERSONAL TORTS
 .,

      D   01 Abuse of Process            D 10 Invasion of Privacy                            D 17 Personal Injury- (Not Automobile,
      D   02 Alienation of Affection     D 11 Libel and Slander                                    Not Malpractice)
      D   03 Assault and Battery         D 12 Malicious Interference                         D 18Wrongful Death (Not Malpractice)
      D   04 Automobile- Personal Injury D 13 Malicious Prosecution                          D 19 Wrongful Eviction
      D   05 Deceit (Misrepresentation)  D 14 Malpractice Legal                              D 20 Friendly Suit
      D   06 False Accusation            D 15 Malpractice Medical (Including Wrongful Death) 021 Asbestos
      D   07 False Arrest                D 16 Negligence- (Not Automobile,                   D 22 Toxic/Mass Torts
      D   08Fraud                             Not Malpractice)                               D23 Tobacco
                                                                                        n       24 Lead Paint
                                          SEE REVERSE SIDE AND CHECK HERE               IF USED


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                             Information Sheet, Continued


 C.OTHERS
       D   01 Accounting                     D   17 Merit Personnel Act (OEA)
       D   02 Att. Before Judgment               (D.C. Code Title 1, Chapter 6)
       D   05 Ejectment                      D    18 Product Liability
       D   09 Special Writ/Warrants
            (DC Code§ 11°941)                D    24 Application to Confirm, Modify,
       D   10 Traffic Adjudication                 Vacate Arbitration Award (DC Code§ 16-4401)
       D   11 Writ of Replevin               D    29 Merit Personnel" Act (OHR)
       D   12 Enforce Mechanics Lien         D    31 Housing Code Regulations
       D   16 Declaratory Judgment           D    32QuiTam
                                             D     33 Whistleblower



 II.
       D   03 Change of Name                   D 15 Libel of Information               D   21 Petition for Subpoena
       D   06 Foreign Judgment/Domestic D 19 Enter Administrative Order as                     [Rule 28-I (b)]
   D       08 Foreign Judgment/International          Judgment [ D.C. Code §           D   22 Release Mechanics Lien
  ·D       13 Correction of Birth Certificate         2-1802.03 (h) or 32-151 9 (a)]   D   23 Rule 27(a)(l)
   D       14 Correction of Marriage           D 20 Master Meter (D.C. Code §               (Perpetuate Testimony)
               Certificate                             42-3301, et seq.)               D   24 Petition for Structured Settlement
       D    26 Petition for Civil Asset Forfeiture (Vehicle)                           D   25 Petition for Liquidation
       D    27 Petition for Civil Asset Forfeiture (Currency)
       D    28 Petition for Civil Asset Forfeiture (Other)



 D. REAL PROPERTY
       D   09 Real Property-Real Estate              D   08 Quiet Title
       D   12 Specific Performance                   D   25 Liens: Tax/ Water Consent Granted
       D   04 Condemnation (Eminent Domain)          D   30 Liens: Tax/ Water Consent Denied
       D   10 Mortgage Foreclosure/Judicial.Sale D       31 Tax Lien Bid Off Certificate Consent Granted
       D   11 Petition for Civil Asset Forfeiture (RP)




                                                                                       October 21, 2021

                      Attorney's Signature                                                             Date




. CV-496/ June2015
       Case 1:21-cv-03006-DLF Document 1-2 Filed 11/12/21 Page 14 of 177




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                   SUPERIOR COURT OF THE DISTRICT OF COLUMBIA_

  THE GEORGE WASHINGTON
  UNIVERSITY,

  1918 F Street NW
  Washington, DC 20052

         Plaintiff,"

         V.

                                                      Docket No. 2021 CA 003837 B
  FACTORY MUTUAL INSURANCE
  COMPANY,·

  270 Central Ave
  Johnston, R1, 02919-4923

         Defendant.



                  PLAINTIFF'S CORPORATE DISCLOSURE STATEMENT

        Pursuant to D.C. Superior Court Rule of Civil Procedure 7.1, Plaintiff hereby certifies that

 The George Washington University has no parent corporation and that no publicly held corporation

 owns 10% or more of the stock of The George Washington University.
             /
      Case 1:21-cv-03006-DLF Document 1-2 Filed 11/12/21 Page 15 of 177




Dated: October 21·, 2021
                                         Respectfully submitted,

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                 SUPERIOR COURT OF THE DISTRICT OF COLUMBIA

 THE GEORGE WASHINGTON                   Docket No.   2021 CA 003837 B
 UNNERSITY,
                                         CIVIL ACTION
·1918 F Street NW
 Washington, DC 20052                    · COMPLAINT FOR BREACH OF
                                           CONTRACT,DECLARATORY
        Plaintiff,                         RELIEF, AND MONEY DAMAGES

        V.                               JURY TRIAL DEMANDED

 FACTORY MUTUAL INSURANCE
 COMPANY,

 270 Central Ave
 Johnston, RI, 02919

        Defendant.
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       Plaintiff, The George Washington University ("GWU'' or "the University"), brings this

action to compel its property insurer, Defendant Factory Mutual Insurance Company ("Factory

Mutual"), to honor its promise to protect the University against damage to and loss of its

property and attendant loss of income resulting from COVID-19.

                                  NATURE OF THE ACTION

       1.      GWU was founded in 1821 to fulfill President George Washington's vision of a

thriving university in the nation's capital dedicated to educating and preparing future leaders.

For the past 200 years, GWU has embodied that vision, providing world-class education to

students, including at its residential campuses in and around Washington, D.C.

       2.      As of the beginning of the Spring 2020 semester, GWU enrolled over 11,000

undergraduate students, over 14,500 graduate students, and over 500 non-degree students. The

overwhelming majority of these students took classes and lived on and around GWU's

residential campuses.

       3.      GWU has three campuses: its Foggy Bottom Campus in the heart of Washington,

D.C., its Mount Vernon Campus, located in a residential neighborhood of Washington, D.C., and

its Virginia Science and Technology Campus in Ashburn, ?~rginia. Additionally, GWU offers

master's and certificate programs at its Arlington Graduate Education Center in Arlington,

Virginia, and its Alexandria Graduate Education Center in Alexandria, Virginia.

       4.      On March 10, 2020, in light of increasing COVID-19 cases and transmission in

Washington, D.C., GWU announced that, starting on March 22, 2020 (following the University's

spring break), it would move classes online for at least two weeks. Students were instructed to

go home for spring break if at all possible and stay there, and were informed that after March 20,

2020, only those students who applied for and were granted permission would be allowed to

remain in their on-campus housing. On March, 16, 2020, after the District of Columbia had


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prohibited gatherings of fifty or more people, GWU announced it was ending in-person

instruction for the-remainder of the Spring semester.

       5.      However, even these strict measures were not enough to prevent the danger posed

by COVID-19 to GWU's campuses. On or about March 13, 2020, the University became aware

of a teaching assistant who had tested positive for COVID-19 and who had been present in at

least six campus buildings while infectious. From March to June 2020, many more individuals

with COVID-19 were on GWU's campuses (and in and around insured property), including at

Ross Hall, Thurston Hall, Phillips Hall, Munson Hall, Somers Hall, Francis Scott Key Hall, the

Smith Center, the Law School, the Webb Building, 1957 Eye Street NW, and 805 21st Street

NW.

       6.      On March 16, 2020, due to the COVID-19 virus and COVID-19, and restrictions

on gatherings put in place by orders of the mayor of Washington, D.C., and the governor of

Virginia, GWU was rio longer able to offer in-person instruction to its undergraduate and

graduate students. On March 24, 2020, the mayor of Washington, D.c;. issued an order that

closed all non-essential businesses and defined universities as essential businesses only for the

purpose of"[f]acilitating distance learning and facilitating distance operations; or [m]odifying

facilities to provide support for addressing COVID-19 or providing support for efforts to address

the public emergency and public health emergency declared by the Mayor." This restriction

remained in place for the duration of the 2019-2020 academic year.. For over a year, until

August 2021, GWU was unable to allow its student body to return to its classrooms and

campuses due to the dangers posed by COVID-19.

       7.      The University purchased-at significant expense-a best-in-class "all risks"

business interruption insurance policy from Factory Mutual ("the All Risks Policy"). The All




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Risks Policy broadly covers "All Risk of Physical Loss or Damage," except as specifically and

unambiguously excluded. The All Risks Policy promises to protect GWU against loss of

revenue and certain expenses if it cannot use its classroom buildings, libraries, residence halls, or

other insured properties due to the impact of some external physical peril. These covered perils

include both known and, more importantly, novel, risks. COVID-19 and the COVID-19 virus

are exactly these types of perils.

         8.    COVID-19 and the COVID-19 virus caused unprecedented physical loss and

damage to GWU's properties, at levels far worse than the physical loss and damage caused by

many "traditional" natural disasters like hurricanes, floods, oi tornadoes. COVID-19 and the

COVID-19 virus caused physical changes to the· air, surfaces, and interior spaces of the

classroom buildings, libraries, residence halls, dining facilities, athletic facilities, and other

insured properties and rendered such properties physically'unusable for their intended purposes.

COVID-19 and the COVID-19 virus resulted in government orders forbidding access to the

insured properties due to the damage caused, and risks posed by, COVID-19 and the COVID-19

virus.

          9.    Factory Mutual sold GWU expansive coverage specifically designed to cover

such losses. · The All Risks Po_licy covers: (a) lost income resulting from "physical loss or

damage of the type insured" to GWU's properties; (b) lost income that GWU suffered as a result

of orders of "civil or military authority" that limit, restrict, or prohibit access to classrooms,

libraries, residence halls, dining facilities, athletic facilities, and other insured properties due to

physical damage-such as that caused by COVID-19-in the yicinity of the insured properties;

and (c) the costs to "repair" property that is lost or damaged due to physical loss or damage such

as COVID-19 and the COVID-19 virus.




                                                    3
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        10.    In addition to selling broad coverage, Factory Mutual-in an effort to make its

policies more marketable-chose not to include the broad virus or pandemic exclusion that

numerous other insurers used to remove coverage for all losses in any way related to viruses or

pandemics. Rather, Factory Mutual adopted under the All Risks Policy a narrower and

fundamentally different exclusion (called either a "contamination exclusion" or "pollution

exclusion"), which does not bar coverage for the types of COVID-19 losses suffered by GWU.

        11.    As, explained below, the COVID-19 virus caused physical loss or damage to
                  \




critical, insured properties essential for GWU' s ·in-person educational experience. This resulted

in students not being able to, among other things;attend in-person classes together, study in

libraries together, eat in dining facilities together, or cheer on the Colonials at sporting events

together. Likewise, until March 2020, all first-, second-, and third-year undergraduate students

were required to live in on-campus housing. The primary purpose of GWU's residence halls and

Greek housing is to house large numbers of students in communal living spaces. In March 2020,

due to the COVID-19 virus and COVID-19, it became impossible for the student body to live

and learn in GWU's buildings. GWU was able to open its doors again for in-person instruction

in the 2021-2022 academic year, but only after it undertook substantial safety measures,

including modifications and repairs to property, and only after vaccines were widely available- .

and required-for all students, faculty, and staff Given the prevalence of COVID-19 in the

population, to allow students to return to in-person learning before undertaking these substantial

safety measures, and before the wide availability of vaccines, would have resulted in

continuously exposing the insured properties to even more damage from the COVID-19 virus.

        12.    Infected individuals spew COVID-19 and the COVID-19 virus into the air where

some hangs in the air and some falls to surfaces. The presence of COVID-19 and the COVID-19




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virus in GWU's academic buildings, residence halls, dining halls, athletic facilities, and other

insured properties, along with a further influx of the COVID-19 virus that would come with

students, faculty, and staff entering those properties (prior to the wide availability of vaccines)

had two effects: (a) it caused physical loss and damage to the insured properties (as detailed

below in P~ragraphs 86-96), and (b) it made the physical use of those insured properties

impossible for their intended purpose-to house students, host lectures, and provide physical

spaces for in-person learning.

        13.    Additionally, numerous, unprecedented government orders were issued-that

prohibited and/or restricted GWU from carrying out in-person instruction, due to the presence of

the COVID-19 virus and the dangers COVID-19 poses to public health (prior to the wide

availability of effective vaccines).

        14.    GWU was forced to spend millions to rebuild, repair, and replace various parts of

its insured properties to restore them to the same operating capacity they had prior to physical

loss and physical damage caused by COVID-19. Those steps were necessary to make the

properties ready to operate under the same physical and operating conditions that existed prior to

that loss and damage. Such steps included installation of new, or modification of existing

HY AC systems, the installation of barriers (for example, Plexiglas), and rearrangement of

interior spaces to limit or reduce the spread of the COVID-19 virus. It also required continuous

disinfection. GWU was also forced to spend significant sums on, e.g., enhanced technology

platforms, to prepare faculty, staff, and students for learning in a remote environment.

        15.     In selling the All Risks Policy to GWU, Factory Mutual promised to pay up to $1

billion for each "occurrence," defined to include the.losses "arising out of or caused by one

discrete event of physical-loss or damage," with no cap on the number of such occurrences.




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        16.    Factory Mutual also correctly argued in litigation before the pandemic began that

the term "physical loss or damage" covers the physical loss of use of insured property caused by

an external peril, even without a physical alteration of that property. See FactoryMut. Ins. Co. v.

Federal Ins. Co., No. 1:l 7-cv-00760 (D.N.M. Nov. 11, 2019), ECF No. 127 at 3 n.l ("loss of

functionality ... constitutes physical loss or damage," and "[a]t best for defendant Federal,

'physical loss or damage,' which is undefined, is susceptible of more than one reasonable

interpretation and is therefore ambiguous"). COVID-19 is precisely such an external peril.

        17.     However, when call.ed upon by GWU to comply with its contractual obligations,

Factory Mutual took the opposite position-that structural damage is required-and

preemptively denied coverage on the flawed view that COVID-19 and the COVID-19 virus do

not cause physical loss or damage within GWU's insured properties. Factory Mutual made this

determination precipitously, without adequately investigating the w~ys in which COVID-19 and

the COVID-19 virus caused loss and damage to GWU's properties. This is despite Factory

Mutual advertising that it would "work closely with [GWU] before, during, and after a loss." 1

Faced with a deadline in the All Risks Policy to file suit, GWU asked Factory Mutual to enter

into a tolling agreement to extend such deadline. Factory Mutual refused, leaving GWU with no

choice but to file this action.

        18.     Because GWU suffered massive losses covered under the All Risks Policy, and

because Factory Mutual refuses to honor its promise, GWU asks this Court to issue declaratory

relief and to award money damages for Factory Mutual' s breach of its contracted commitments.




        FM Global, Why FM Global? Crea.ting Resilience Means Creating Success,
https://www.fmglobal.com/about-us/why-fm-global (last visited Oct. 19, 2021) (emphasis in
original).


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                                           THE PARTIES

        19.     Plaintiff The George Washington University is a Congressionally-chartered

institution of higher education, with its principal place of business in the District of Columbia.

        20.     GWU, directly or indirectly, has management control over, or an economic

interest in, entities that both are also insureds under the All Risks Policy and have suffered

 covered losses as a result of the events described herein.

        21.     Defendant Factory Mutual Insurance Company ("Factory Mutual") is a

 corporation organized and existing under the laws of the State of Rhode Island, with its principal

 place of business in Johnston, Rhode Island. At all times relevant hereto, Factory Mutual was

 licensed to do business, and was doing and transacting business in the District of Columbia.

                                  JURISDICTION AND VENUE

        22.     The Court has subject matter jurisdiction over the claims asserted in this

· Complaint pursuant toD.C. Code§ 11-921.

        23.     The Court has personal jurisdiction over J:actory Mutual pursuant to D.C. C:ode

 § 13-423 because it is an insurance company registered with the Department of Insurance,

 Securities, and Banking, licensed to provide insurance in the District of Columbia, and it

 contracted to provide an insurance policy to GWU, which is located in the District of Columbia,

 and this suit arises from a dispute ovet this policy.

        24.     Factory Mutual also, by the express terms of its All Risks Policy, consented to the

jurisdiction of the United States of America, which includes the District of Columbia.

        25.     GWU has suffered substantial losses in the District of Columbia. The University

 has two campuses in the District of Columbia with academic buildings, residence halls, dining

 facilities, athletic facilities, and other insured properties. · Due to COVID-19-related cancellations




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and restrictions in the District of Columbia, GWU has suffered substantial losses in the District

of Columbia.

       26.     Venue is proper in this Court pu:r:suant to D.C. Code§ 31-1303 as the obligations

under the contracts at issue were to be performed, the defendants do business, and the events that

led to this dispute occurred, in large part, in the District of Columbia.

                                   FACTUAL ALLEGATIONS

I.     GWU PURCHASED BROAD INSURANCE TO PROTECT ITSELF AGAINST
       CATASTROPHES.

       27.
                                                                        -
               To protect its significant property and business income interests, and in exchange

for a very high premium, GWU purchased a best-in-class, all risks policy from Factory Mutual

(the "Policy" or the" All Risks Policy"), for which Factory Mutual has for many years collected

m,l.ny millions in premiums.

       28.     For decades, Factory Mutual (like its predecessor companies) has marketed and

sold property and business interruption in.suran.ce to large policyholders such as GWU. Over the

years, as property and business interruption coverage has expanded in scope (as described in

further detail below), Factory Mutual has offered increasingly expansive coverage.

        29.    Moreover, as other insurers have competed with Factory Mutual to sell property

and business interruption to the largest policyholders, Factory Mutual expanded its coverage in

many significant ways, particularly during the "soft" markets of the late 1990s and early 2010s.

Thus, Factory Mutual adopted new, more expansive forms, increased the limits of liability it was




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willing to sell, and advertised its promises of broad coverage. Today, Factory Mutual advertises

its policy as "one of the broadest in the insurance market." 2

          A.    RELEVANT POLICY PROVISIONS

          30.   The All Risks Policy, No. 1056630 (atta·ched to and made part of this Complaint

at Exhibit A), was issued for the policy period July 1, 2019 to July 1, 2020.

          31.   · The All Risks Policy insures GWU.

          32.   All risks insurance policies cover just that: all risks of physical loss or damage,

including risks that are, by definition, novel, unknown or unforeseen, unless the policy

specifically and conspicuously excludes that risk. The All Risks Policy covers loss resulting

from natural and man-made disasters that physically impair the operations of a business. GWU's

All Risks Policy covers up to $1 billion in losses for any one "occurrence," and covers an

unlimited number of "occurrences." 3 So, it provides significantly more than $1 billion in

coverage assuming more than one event causes physical loss or damage in any particular policy

period.

          33.   The All Risks Policy expressly promises coverage for the wide array of massive

losses GWU now faces due to COVID-19, including, for example, losses from a communicable

disease; losses sustained when a communicable disease physically alters air and surfaces within

GWU's properties, making them unfit for their intended uses; losses sustained when government



2
         See FM Global, The FM Global Advantage® All-Risk Policy,
https ://www. fmgl obal .com/products-and-servi ces/products/the-fm-gl obal-advantage-all-ri sk-
poli cy (last visited Oct. 19, 2021 ).
3
        The All Risks Policy defines "occurrence" in pertinent part as "the sum total of all loss or
damage of the type insured, including any insured TIME ELEMENT loss, arising out of or
caused by one discrete event of physical loss or damage." Said otherwise, the All Risks Policy's
limits of liability apply on·a "per occurrence" basis, and if more than one "occurrence" takes
place, then Factory Mutual may have to pay up to its full $1 billion in limits for each such
occurrence.


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orders prohibit or restrict in-person learning and residential education; and losses sustained when

viral damage makes travel to or from GWU' s properties dangerous and difficult.

       34.     The All Risks Policy provides a basic coverage grant which "covers [insured]

property ... against ALL RISKS OF PHYSICAL LOSS OR DAMAGE, except" as specifically

and conspicuously excluded. Ex. A at 8. The All Risks Policy nowhere defines, and thus

nowhere narrows the meaning, of either "ALL RISKS" or "PHYSICAL LOSS OR DAMAGE."

       35.     This trigger of coverage provided by the All Risks Policy was purposefully

expanded by Factory Mutual over the years to compete with other insurers that have similarly"

expanded the insuring agreements of property and business interruption policies. As the

coverage sold primarily to small and mid-sized businesses grew broader over the decades, 4
                                    .                      .

Factory Mutual-which marketed its policies to major companies that demanded even broader

coverage than that available to small businesses-similarly expanded its coverage to compete in

the marketplace. For example, a Factory Mutual 1977 policy provided that business interruption

coverage was triggered only by "physical damage." But later policies-including the one issued

to GWU-broaden·ed this trigger of coverage to extend to "all risks of physical loss or damage."

       36.     Recognizing the broad scope of insuring agreements such as that in the All Risks

Policy, courts have long interpreted such policies to cover perils such as carbon monoxide, mold,

gasoline fumes, and odors. During this time, Factory Mutual has not sought to restrict or limit .

the insuring agreement contained in the All Risks Policy. Instead, Factory Mutual itself has




4
        When the Insurance Services Office-an industry trade group that writes standardized
form policies sold primarily to small and mid-sized businesses-first started selling business
interruption insurance decades ago, that coverage was triggered only when the insured property
was "damaged or destroyed." Subsequently, this coverage was expanded to provide coverage for
lost business income during a "suspension" of the insured' s business operations "caused by
direct physical loss or damage."


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agreed with these courts that "physical loss or damage" does not require that a policyholder

show "demonstrable structural damage or alteration to property." See Factory Mut. Ins. Co. v.

Federal Ins. Co., 1: l 7-cv-00760 (D.N.M. Nov. 11, 2019), ECF No. 127 at 6. Factory Mutual has

asserted in court that a "loss of functionality" alone constitutes such physical loss or damage,

even when the property is not physically altered. Id at 3 ("Numerous courts have concluded that

loss of functionality or reliability under similar circumstances constitutes physical loss or

damage."). Factory Mutual has told insurance regulators that "the presence of and spread of

communicable disease will be considered direct physical damage." 5

        37.    The All Risks Policy that Factory Mutual sold to GWU also covers business
                                                                 --.
interruption losses, in a section captioned "Time Element." Specifically, the All Risks Policy

covers ."TME ELEMENT loss .. .- directly resulting from physical loss or damage of the type

insured[] to," inter alia, "Real Property" and "Personal Property." Ex. A at 35. This coverage is

· referred to as "Time Element" coverage because the length of the time period when, for example,

ordinary business operations are curtailed (called "the Period of Liability") is an element that

bears on the amount of the loss.

        38.    The Period of Liability starts at "the time of physical loss or damage" in question

and ends "when with due diligence and dispatch the building and equipment could be: (i)

repaired or replaced; and (ii) made ready for operations, under the same or equivalent physical

and operating conditions that existed prior to the damage." Ex. A at 41 ( emphasis added). The

 All Risks Policy also includes an "Extended Period of Liability" that extends certain time
                              '
element coverages "for such additional length of time," up to 365 days, "as would be required




 5
        Factory Mutual Insurance Company, Form FMG7446 (Aug. 2011); Factory Mutual
 Insurance Company Filing FMIC-2011-13, Explanatory Filing Memorandum.


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with the exercise of due diligence and dispatch to restore the Insured's business to the condition
                                                          r


that would have existed had no loss happened." Id. at 59.

       39.        The Time Element provision of the All Risks Policy covers GWU's financial

losses due to its inability to operate normally or use GWU's property normally because of

physical losses and damage, including the physical loss and damage COVID-19 and the COVID-

19 virus cause.

       40.        Covered losses include, among others, the "Actual Loss Sustained," that is, the

lost "total net sales less cost of merchandise sold, materials and supplies consumed in the
                                                                '
operations or services rendered by the Insured." Ex. A at 36. They also include Extra Expense,

the "extra expenses to temporarily continue as nearly normal as practicable the conduct of the

Insured's business" during the interruption. Ex. A at 46.

       41.        The All Risks Policy also extends Time Element coverage to include losses

incurred when, among other things:

                  •   GWU suffers loss due to an order of civil authority that limits, restricts, or
                      prohibits partial or total access to an insured location if the order is the direct
                      result of physical damage of the type insured at or within five statute miles of
                      an insured location;
                  •   GWU suffers loss when ingress to or egress from insured locations is
                      partially or totally prevented, interrupting GWU's business "whether or not
                      the premises or property of the Insured is damaged, provided that such
                      prevention is a direct result of physical damage of the type insured to the
                      property of the type insured";
                  •   GWU must make rental payments made on property that is wholly or partially
                      untenantable or unusable;
                  •   GWU incurs lost rent; and
                  •   GWU suffers loss because of physical loss or damage at the location of
                      customers, suppliers, contract manufacturers or contract service providers, and
                      the location of any company under a royalty, licensing fee, or commission
                      agreement with the Ins.ured (known as "contingent time element locations").




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        42.     Unlike most property policies, the All Risks Policy sold by Factory Mutual to

GWU adds two additional coverages: one for costs incurred to clean up "communicable

 disease," and another for revenue losses resulting from such disease. "Communicable Disease"

 is defined iri part as a disease which is "transmissible from human to human by direct or indirect

· contact with an affected individual or the individual's discharges." Ex. A a,t 72.

        43.     Factory Mutual has conceded that COVID-19 meets the All Risks Policy's

 definition of a "Communicabl~ Disease," recognized there was coverage under these provisions

for a portion of GWU's losses related to COVID-19, _and issued payment to GWU on May 6,

 2021. However, in doing so, Factory Mutual incorrectly took the position that its obligations

were limited to the relatively small sublimit applicable to the Communicable Disease coverage

 extensions.

        44.     Losses that fall under, and are able to satisfy the requirements of, both the

 coverage for Time Element losses and the coverage for communicable disease are covered by

 both coverage provisions. Some losses would satisfy only the Communicable Disease coverage,

 and would thus be subject to that sublimit. However, the All Risks Policy nowhere says that the
                                                  .          \

 Communicable Disease coverage is the exclusive coverage that applies if particular losses-such

 as GWU's COVID-19 losses-satisfy both the Communicable Disease coverage promise and

 other coverage promises. Nor does the All Risks Policy state that other coverages do not apply if

 the Communicable Disease coverage does.

        45.     By contrast, Factory Mutual included such limiting language in other provisions

 within the very same All Risks Policy. For example, the provision relating to Data Programs and

 Software explicitly states that losses covered under that section are "excluded from coverage

 elsewhere in this Policy." See, e.g., Exhibit A at 23-24; see also id. at 37 (Terrorism coverage




                                                      13
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including identical language); id at 51-52 (Off Premises Data Services Time Element coverage

including identical language). Factory Mutual chose to omit that limiting language from both

Communicable Disease provisions. Thus, business interruption loss for a communicable disease

(if it causes physical loss or damage) is covered under the_ Time Element provisions even if also

covered under the Communicable Disease provisions.

       46.     No exclusion in the All Risks Policy precludes coverage for GWU for losses or

damage due to communicable disease, including COVID-19, or due to the virus that causes

COVID-19.

       47.     In fact, Factory Mutual chose not to use either a pandemic or virus exclusion such

as the Insurance Services Qffice's ("ISO") virus exclusion, which has been used by numerous

insurers since 2006.

       48.     ISO drafted the virus exclusion in response to the SARS pandemic, which led to

millions of dollars in business interruption claims. 6 Recognizing that property and business

interruption claims could res_ult because "disease-causing agents may render a product impure

(change its quality or substance), or enable the spread of the disease by their presence on interior

building surfaces or the surfaces of personal property," ISO drafted an "Exclu_sion of Loss Due to

Virus or Bacteria" ·and made it available to its m~mbers.

       49.     As ISO explained to insurance regulators in•October 2006, much as mold

infestation is considered "property damage," its new exclusion was needed because "other




6
        Todd C. Frankel, Insurers Knew the Damage a Viral Pandemic Could Wreak on
Businesses. So They Excluded Coverage, WASH. POST (Apr. 2, 2020) (detailing a $16 million
payment for SARS to a hotel chain under a property and business interruption policy),
https://www.washingtonpost.com/business/2020/04/02/insurers-knew-damage-viral-pandemic-
could-wreak-businesses-so-they-excluded-coverage/ (last visited Oct. 19, 2021).


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known substances (such as rotovirus)" could be "alleged to be property damage" arid "could be

used in an effort to trigger other cover.age, such as business income coverage."

    . · 50.    The broad "Exclusion of Loss Due to Virus or Bacteria" drafted by ISO states:

"We will not pay for loss or damage caused by or resulting from any virus, bact.eriuµi or other

microorganism that induces or is capable of inducing physical distress, illness or disease." The

ISO exclusion is. used in most property and business policies in the market. The ISO exclusion

specifies that it applies to "all forms and endorsements," including "forms or endorsements that

cover business income, extra expense or action of civil authority."

       51.     Factory Mutual deliberately omitted the ISO virus exclusion from its policies,

including the one it sc;ild to GWU A policyholder would reasonably expect that the omission of

that exclusion meant something, and that Factory Mutual's decision to sell policies to insureds

such as GWU using different wording meant that the All Risks Policy did not exclude losses

"caused by or resulting from any virus."

       52.     Another broad virus exclusion-used by other insurance companies but not used

by Factory Mutual- removes coverage for "loss_, damage, or expense caused directly or

indirectly or resulting from ... disease, sickness, any conditions of health, bacteria, or virus."
                                      .                '-

Boulevard Carroll Ent. Grp., Inc. v. Fireman's Fund Ins. Co:,.2020WL 7338081, at *l (D.N.J.

Dec. 14, 2020) (internal quotations omitted). That language further exciudes virus-related losses

"regardless of any other cause or event that contributes concurrently or in any sequence to the

loss.'~ Id A policyholder would ·reasonably expect that Factory Mutual's~deliberate omission of

language removing coverage for "loss, damage or expense caused directly or indirectly

from ... virus" meant that physical loss and damage resulting from viruses was covered.




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        53.       Factory Mutual chose not to include the aforementioned exclusionary language in

its policies. As is rel_evant here, the All Risks Policy contains only a narrow "contamination

exclusion," understood by insurers and policyholders alike to apply narrowly and only to

"environmental pollution," as that phrase is traditionally understood. The exclusion provides in

relevant part:

                  D.     This Policy excludes the following unless directly resulting·
                  from other physical damage not excluded by this Policy:

                    1)     contamination, and any cost due t6 contamination including the
                   inability to use or occupy property or any cost of making property safe
                   or suitable for use or occupancy. If contamination due only to the actual
                   not suspected presence of contaminant(s) directly results from other
                   physical damage not excluded by this Policy, then only physical damage
                 • -caused by such contamination may be insured.

                  Ex. A at 21 (emphasis added; holding of defined terms omitted).

        54.       Because the All Risks Policy specifically covers communicable disease (such as

COVID-19), this exclusion does not apply to communicable disease or any virus that causes

communicable disease (such as the COVID-19 virus).

        55.       The All Risks Policy defines "contamination" as "any condition of property due

to the actual or suspected presence o( any foreign substance, impurity, pollutant, hazardous

material, poison, toxin, pathogen or pathogenic organism, bacteria, virus, disease causing or

illness causing agent," fungus, mold or mildew." Ex. A at 72. While this definition refers to

"virus" and "disease causing or illness causing agent," it does not refer to "communicable

disease," which is expressly covered by the All Risks Policy. Indeed, Factory Mutual readily

concedes that the exclusion does not apply to communicable· diseases. Thus, the exclusion may

apply to non-communicable disease viruses (of which there are many, and which.may cause·




                                                   16
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extensive physical loss or physical damage), 7 but it does not apply to viruses that cause

communicable disease (such as COVID-19).

       56.     In addition to not applying to communicable disease, the exclusion also does not

apply to "loss" or lost revenue-the key loss at issue here. Quoting the All Risks Policy, the

exclusion applies to "Contamination, and the cost of contamination .... " (The exclusion then

goes on to give several examples of excluded "costs of contamination."). Neither the first part of

the exclusion (the word "Contamination") nor the second part of the exclusion (the phrase "cost

of cqntamination") apply to lost earnings.·

       57.     The first word in the exclusion, "contamination," is a defined term that refers to

the "condition of property" due to that property being contaminated by certain specified

substances. When property is in a contaminated "condition" (for instance, because of an

environmental pollutant), it will often be worth less than before such contamination. Such

diminished value due to a degraded condition would normally be covered by the All Risks

Policy. 8 However; if such diminution in value results from a "condition of property" (as set forth

in the definition of "contamination") caused by one of the contaminants listed in the exclusion,

then that diminution in value is not covered.

        58.    Nor does the second part of the exclusion-the phrase "cost of contamination"-

apply to lost earnings. That phrase excludes a wide array of otherwise covered expenditures,


7
        For example, the viruses that cause cholera, hantavirus, rabies, salmonella, and West Nile
Disease do riot satisfy the All Risks Policy's definition of "communicable disease" because they
are not transmissible from human to human. Plant and landscaping viruses also cause significant
damage and are not transmissible from human to human.
8
        Specifically, the All Risks Policy's Property Damage Valuation section provides that the
policyholder may recover the "selling price" of property just before the insured event (i.e., just
before the contamination) or the "actual cash value" (i.e., how much it would cost to replace the
contaminated property, less depreciation). Ex. A at 22.



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most notably the money commonly spent to clean up contamination from environmental

pollutants (which can amount to very large sums). However, such costs do not include lost

revenue. A "cost" is an out of pocket amount paid out by the policyholder. 9 In contrast, a loss

of earnings is money that the policyholder never received. 10 A loss of future earnings or profits

that the ins1;1red never received due to the inability to continue normal operations is simply not

the same as expenditures paid or spent out of pocket by the insured.

       59.     Neither the phrase "contamination" (i.e., a "condition of a property") nor "cost

due to contamination" ~ncompasses earning loss by the plain meaning of those phrases. Indeed,

the contamination exclusion does not mention "loss" and does not seek to exclude "loss."

Factory Mutual knew how to clearly exclude "loss," as it did so in other exclusions in the All

Risks Policy. But Factory Mutual chose not to include any such exclusion for "loss" in the

contamination exclusion in the All Risks Policy.

II.    COVID-19 AND THE COVID-19 VIRUS CAUSE COVERED PHYSICAL LOSS
       AND DAMAGE.

       60.     Factory Mutual itself acknowledges in its own guidance that a virus can cause

physical damage. In "Talking Points" that Factory Mutual distributed to its claim personnel,

Factory Mutual stated that "[a] virus will typically not cause physical damage" (emphasis added).

Putting aside the accuracy of this statement, the COVID-19 virus is not typical. The COVID-19

virus has. clearly caused physical loss and damage, and has caused significant physical loss and ·

damage to GWU' s property.




9
       Black's Law Dictionary (11th e~. 2019) (defining "cost" as the "amount paid or charged
for something").
10
       Black's Law Dictionary (11th ed. 2019) (defining "loss" as the "amount of financial
detriment caused by ... an insured property;s damage'.').


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       61.     But before even receiving GWU's insurance claim, Factory Mutual denied that

the COVID-19 virus causes physical loss or damage to property. It did so, upon information and

belief, without consulting any epidemiologists, chemists, medical doctors, or specialists in viral

disease, or assessing the damage the COVID-19 virus causes to air and surfaces. Scientific

research and plain observation confirm that the dangerous and potentially fatal COVID-19 virus

damages and alters property, including in indoor air and surfaces, by rendering that property lost,

unsafe, and unfit (or normal use.

       A.      COVID-19 ls a Deadly Communicable Disease.

       62.     COVID-19 is a deadly communicable disease caused by a coronavirus known as

SARS-Co V-2 (referred to herein as "SARS-Co V-2" or "the COVID-19 virus").

       63.     The COVID-19 virus can cause serious systemic illness and death. 11 As of

October 18, 2021, there have been over 240 million confirmed cases of COVID-19 (over 44

million of them in the United States) and over 4.8 million deaths worldwide. Due to the rapid

spread and pervasive presence of COVID-19 across the planet, the COVID-19 virus was

presumed to be present or imminently present everywhere.

       64.     Images depict SARS-CoV-2 as looking like a golf ball with protrusions called

"spike proteins," which are the main components of the virus that interact with other. surfaces. 12




11
       See John A. Lednicky et al., Viable SARS CoV-2 In the Air of a Hospital Room With
COVID-19 Patients, 100 INTERNATIONAL JOURNAL OF INFECTIOUS DISEASES 476 (Sept. 15,
2020), https://www.ijidonline.com/article/Sl201-97l2(20)30739-6/fulltext (last visited Oct. 19,
2021).
                                                                       (
12
        See Nancy Fliesler, Capturing SAR$-CoV-2 's Shape-shifting Spike Protein, Boston
Children's Hospital (July 21, 2020), https://answers.childrenshospital.org/sars-cov-2-spike-
protein/ (last visited Oct. 19, 2021).


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                            SARS-CoV-2

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       65.     Not all viruses cause communicable diseases or are even harmful. Many viruses

do not infect humans, and many that do cannot be transmitted from human to human. Further,

not all viruses that cause communicable disease cause the type of loss or damage to property that

the COVID-19 virus causes (making common surfaces and indoor.air sufficiently dangerous as

to make large gatherings unsafe without significant precautions and widely available vaccines),

or prompt authorities to issue shelter in place orders or other civil restrictions. The COVID-19

virus is a rare exception that, due to its particular nature and characteristics, meets all of these

criteria: it causes disease; the disease is communicable; it causes physical lo_ss and damage; and

has thereby led to hundreds of orders prohibiting anything other than very small gatherings (prior

to the wide availability of effective vaccines).

       B.       The COVID-19 Virus Can Be Transmitted in Many Ways.

        66.     As has become kno~ d~ring the pandemic, the COVID-19 virus is uniquely

dangerous, both due to the dangers of exposure and due to the many ways it can be transmitted,

and is particularly harmful to indoor air and surfaces-both
                                                   I
                                                            of which are property capable of .

. being damaged.

        67.     Persons with COVID-19 expel the COVID-19 virus as they talk, yell, cheer, sing,

cough, sneeze, or even just breathe. It has been reported that such individuals release tiny virus




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bearing particles that can remain suspended "for indefinite periods;" 13 a single sneeze releases a

cloud of viral droplets; 14 and normal breathing and talking can spread the virus six feet or
                                                                                                      • I

more. 15 Many of these particles make contact, adhere to, and physically alter, thereby damaging,

the surfaces of nearby property and the air within the property, as explained below. Infected

individuals also deposit these particles by touching surfaces after touching their eyes or nose.

Research has shown that because the risk of disease transmission increases substantially in

enclosed environments, the COVID-19 virus poses a significant risk to indoor spaces. 16 And

because the virus renders otherwise inert materials dangerous, viral contact with property, and

the air within the property, means significant damage and loss.




13
        Kevin P. Fennelly, Particle Sizes of Infectious Aerosols:· Implications for Injection
Control, 8 LANCET RESPIRATORY MED. 914, 914-24 (Sept. 1, 2020),
https://www.thelancet.com/j ournals/lanres/article/PIIS2213-2600(20)30323-4/fulltext (last
visited Oct. 19, 2021).
14
        See Lydia Bourouiba, Turbulent Gas Clouds and Respiratory Pathogen Emissions,
JAMA Insights (Mar. 26, 2020), https://jamanetwork.com/journals/jama/fullarticle/2763852 (last
visited Oct. 19, 2021).          ·
15
        See How COVID-19 Spreads, CDC (July 14, 2021),
https://www.cdc.gov/coronavirus/2019-ncov/prevent-getti ng-si ck/how-covi d-spreads. html (1 ast
visited Oct. 19, 2021).
16
        See Jianyun Lu et al., COVID-19 Outbreak Associated with Air Conditioning in
Restaurant, Guangzhou, China, 2020, 26 EMERGING INFECTIOUS DISEASES 7 (July 2020),
https://wwwnc.cdc.gov/eid/article/26/7/20-0764_article (last visited Oct. 19, 2021); see also
Keun-Sang Kwon et al., Evidence of Long-Distance Droplet Transmission of SARS-CoV-2 by
Direct Air Flow in a Restaurant in Korea, 35 J. KOREAN MED. SCI. 46 (Nov. 2020),
https://pubmed.ncbi.nlm.nih.gov/33258335 (last visited Oct. 19, 2021); Shin Young Park et al.,
Coronavirus Disease Outbreak in Call Center, South Korea, 26 EMERGING INFECTIOUS
DISEASES,_ 8 (Aug. 2020), https://wwwnc.cdc.gov/eid/article/26/8/20-1274_article (last visited
Oct. 19, 2021); Lea Hamner et al., High SARS-CoV-2 Attack Rate Following Exposure at a
Choir Practice-Skagit County, Washington, March 2020, 69 MORBIDITY AND MORTALITY
WEEKLY REPORT 19 (May 15, 2020),
https://www.cdc.gov/mmwr/volumes/69/wr/mm6919e6.htm (last visited Oct. 19, 2021); Leah F.
Moriarty et al., Public Health Responses to COVID-19 Outbreaks on Cruise Ships-Worldwide,
February-March 2020, 69 MORBIDITY AND MORTALITY WEEKLY REPORT 12 (Mar. 27, 2020),
https://www.cdc.gov/mmwr/volumes/69/wr/mm6912e3.htm (last visited Oct. 19, 2021).



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       68.     Expelled respiratory secretions typically take on two main forms: (1) droplets of

respiratory fluids containing the virus, and (2) aerosol particles (also called "droplet nuclei") that

likewise contain the virus. In addition to the virus, both droplets of respiratory fluids and droplet

nuclei largely consist of water and mucus. Droplet nuclei are usually smaller than 5 microns,

invisible to the naked eye, and remain suspended in the air ("aerosolized") for significant

periods. Droplets are similarly invisible to the naked eye, but due to their larger size, they

typically come to rest on nearby surfaces. We refer herein to droplets of respiratory fluids and

droplet nuclei as "viral droplets."

       69.     It has been reported that the incubation period for COVID-19-i.e., the time

between exposure to the COVID-19 virus and symptom onset-can be up to 14 days, 17 and other

sources recognize the potential for longer "pre-symptomatic" periods. Recent studies have found

that "viral loads"-that is, the concentration of virus in_an infected person-in pre-symptomatic

individuals can be even higher.than the viral loads among symptomatic individuals. 18 The

Centers for Disease Control and Prevention ("CDC") estimates that 30% of infected individuals

never show symptoms of infection (called "asymptomatic" carriers). 19 Similar to pre-

symptomatic i"ndividuals, tli.e viral loads of asymptomatic individuals can be higher than the



17
        See Coronavirus Disease 2019 (COVID-19) Situation Report-73, World Health
Organization (Apr. 2, 2020), https://www.who.int/docs/default-source/coronaviruse/situation-_
reports/20200402-sitrep-73-covid-19. pdf (last visited Oct. 19, 2021).
18
        See Melissa M. Arons et al., Presymptomatic SARS-CoV-2 Infection~ and Transmission
in a Skilled Nursing Facility, NEW ENGLAND JOURNAL OF MEDICINE (Apr. 24, 2020),
https://www.nejm.org/doi/full/10. l056/NEJMoa2008457 (last visited Oct. 19, 2021); Monica
Ghandi.et al., Asymptomatic Transmission, the Achilles' Heel of Current Strategies to Control
Covid-19 (Apr. 24, 2020), https://www.nejm.org/doi/full/10.1056/nejme2009758 (last visited
Oct. 19, 2021).
19
        See COVID-19 Pandemic Planning Scenarios, CDC (Mar. 19, 2021),
https://www.cdc.gov/coronavirus/2019-ncov/hcp/planning-scenarios.html (last visited Oct. 19,
2021).



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_loads among symptomatic carriers. 20 The CDC estimates that the majority of COVID-19

transmission results from pre- and asymptomatic carriers. 21 The CDC estimates that the number

of people in the United States who have been infected with COVID-19 is likely to be 10 times

higher than the number of reported cases. 22 For example, in June 2020-shortly after GWU w·as

forced to cease in-person learning-the CDC estimated that the number of people infected with

COVID-19 was 10 times greater than the 2.4 million cases reported at the time. 23 The extent of

the damage the covro.:.19 virus can cause to air and surfaces has become apparent, in part,

through retrospective analysis of events held in the early days of the pandemic·that were later

determined to have caused the widespread proliferation of COVID-19. 24

         70.    One need look no further than various·reported "stiperspreader" events to

understand the damage the COVID-19 virus causes to air and surfaces-absent various



20
         See supra note 18.
21
        See Michael A. Johansson et al., SARS-CoV-2 Transmission From People Without
COVID-19 Symptoms, JAMA Network (Jan. 7, 2021),
https://jamanetwork.com/joumals/jamanetworkopen/fullarticle/2774707 (last visited Oct. 19,
2021); see also Seyed M. Moghadas et al., The Implications of Silent Transmission/or the
Control of COVID-19 Outbreaks, 117 PNAS 17, 513 (July 28, 2020),
https://www.pnas.org/content/ll 7/30/l 7513 (last visited Oct. 19, 2021).
22
         Lena H. Sun and Joel Achenbach, CDC Chief Says Coronavirus Cases May Be 10 times
Higher Than Reported, WASH. POST (June 25, 2020),
https ://www.washingtonpost.com/heal th/2020/06/25/coronavirus-cases-1 0-times-1 arger/ (last
visited Oct. 19, 2021).
23       Id
24
     ·  See, e.g., Lea Hamner et al., supra note 16; Roni Caryn Rabin, CD.C Traces Covid
Outbreaks in Gyms, Urging Stricter Precautions, N.Y. TIMES (Feb. 24, 2021),
https://www.nytimes.com/2021/02/24/health/coronavirus-gyms-outbreaks.html (last visited Oct.
19, 2021); Ian Pray et al., COVID-19 Outbreak at an Overnight Summer School Retreat-
Wisconsin, July-August 2020, 69 MORBIDITY AND MORTALITY WEEKLY REPORT 43, 1600-04
(Oct. 30, 2020), https://www.cdc.gov/mmwr/volumes/69/wr/pdfs/mm6943a4-H.pdf (last visited
Sept. 20, 2021 ); Jacob E. Lemieux et al., Phylogenetic analysis of SARS-Co V-2 in Boston
highlights the impact of superspreading events, SCIENCE (Dec. 10, 2020),
https://pubmed.ncbi.nlm.nih.gov/33303686/ (last visited Oct. 19, 2021).



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mitigation efforts and now the vaccine-and the resulting harm to humans. 25 For example, a

single international biotechnology conference held in Boston, Massachusetts, in February 2020 is

estimated to have caused up to 300,000 cases of COVID-19 in the United States and abroad. 26

GWU had to discontinue in-person learning (which requires the sharing of air and surfaces) and

dorm-living (which also requires the sharing of air and surfaces) to prevent that type of spread at

GWU.

       C.      The COVID-19 Virus Causes Physical Loss And Damage, in Part by
               Rendering Air and Property Unsafe and Unusable.

       71.     The COVID-19 virus directly causes physical loss and damage to property by,

among other things: (1) physically altering both indoor air and property surfaces, making them

unfit for their intended use, and (2) altering the molecular structure of, and changing from safe to

dangerous, the physical surfaces of otherwise inert property. 27

       72.     COVID-19 and the COVID-19 virus were present at GWU's academic and

nonacademic buildings, residence-halls, dining facilities, athl_etic facilities, and other insured

locations, and caused all of these types of physical loss and damage to those insured locations.

As a result, GWU was unable use its properties for their intended purpose-to provide a

residential, in-person college education, for faculty to conduct research in GWU facilities, and

for clinical physicians to see patients in-person-for significant portions of 2020 and 2021,

absent extensive repairs and remedial measures and, now, the wide availability of effective

vaccmes. In fact, the presence of COVID-19 and the COVID-19 virus, and the physically



25
       See, e.g., Hamner et al., supra note 16; Rabin, supra note 24; Pray et al., supra note 24. ·
26
       See Lemieux et al., supra note 24.
27
       Edris Joonaki et al., Surface Chemistry Can Unlock Drivers of Surface Stability of SARS-
CoV-2 in a Variety ofEnvironmental Conditions, 6 NATIONAL LIBRARY OF MEDICINE 9 (Sept. 10,
2020), https://pubmed.ncbi.nlm.nih.gov/32838053/ (last visited Oct. 19, 2021).


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deleterious effects they have on closed-air spaces and property, caused civil authorities to impose

unprecedented restrictions, prohibiting large gatherings, which made in-person instruction and

fan attendance at collegiate sporting events, among other things, impossible.

               1.     The COVID-19 Virus Damages Air in Enclosed Spaces.

       73.     As set forth.above, studies have shown that the COVID-19 virus physically alters

the air-particularly indoor air-rendering it unsafe. See supra Paragraphs 71-82. The COVID-

19 virus changes the chemical composition of air. Specifically, air is a combination of a number

of gases (nitrogen, oxygen, carbon dioxide and others), liquids (water vapor, other aerosols) and

solids (dust, particulates from car engines and the like). The content and composition of the air

changes when viral droplets are expelled into it. That change amounts to, and the lay person

would understand it to amount to, damage.

       74.     COVID-19 virus studies have also found that the virus can spread through the air

and settle on surfaces. One study found that air flow caused by an HV AC system likely led to

virus deposits in places where immobi.le patients did not go, such as under the bed or on the

windowsill. 28 Based on "epidemiological evidence suggestive of [COVID-19 virus]

transmission through aerosol," 29 the Environmental Protection Agency ("EPA"), the

Occupational Safety and Health Administration ("OSHA"), and the CDC called for the

modifica,tion of ventilation and HVAC systems by, for example, increasing ventilation with


28
        See Joshua L. Santarpia, et al., Aerosol and Surface Contamination ofSARS-CoV-2
Observed in Quarantine and Isolation Care, Scientific Reports (July 29, 2020),
https://www.nature.com/artic1es/s4l598-020-69286-3 (last visited Oct. 19, 2021); Yuan Liu et
al., Aerodynamic Analysis of SARS-CoV-2 in Two Wuhan Hospitals, 582 NATURE 557 (Apr. 27,
2020), https://~.nature.com/articles/s41586-020-2271-3 (last visited Oct. 19, 2021).
29
       Indoor Air and COVID-19 Key References and Publications, United States
Environmental Protection Agency (2021), https://www.epa.gov/coronavirus/indoor-air-and- ·
covid-19-key-references-and-publications (last visited Oct. 19, 2021) (capitalization omitted).



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outdoor air. 30 Similarly, the Epidemic Task Force for the American Society of Heating,

Refrigerating, and Air Conditioning Engineers-which is the professional society for experts in

building air engineering-recommended increasing ventilation rates, increasing use of dean

"outdoor air," "flushing" the air in spaces between occupied periods, and using filters or air

cleaners at or above a certain grade to remove virus from building air. 31 Medical researchers

have advised that specialized air filtration systems be used to restore the air to its pre-COVID-19

infected state. 32 The purpose of these suggestive measures is to attempt to physically restore the

composition of the air by, among other things, diluting the concentration of virus particles or by

trapping and removing them. .

               2.      The COVID-19 Virus Pllysically Damages and Alters Otherwise Safe
                       Surfaces.

       75.     The COVID-19 virus damages property-including at GWU's insured

locations-by adhering to and altering the structure of its surface. Specifically, it has been

reported that the virus changes the surfaces of that property as its spike proteins become

entangled with, bound to, and part of the molecular surface of the materials with which it comes




30
        Indoor Air and Coronavirus (COVID-19), United States Environmental Protection
Agency (2020), https://www.epa.gov/coronavirus/indoor-air-and-coronavirus-covid-19 (last
visited Oct. 19, 2021); COVID-19 Employer Information/or Office Buildings, Centers for
Disease Control (Apr. 7, 2021 ), https://www.cdc.gov/coronavirus/2019-ncov/community/office-
buildings.html (last visited Oct. 19, 2021); Guidance on Preparing Workplaces for COVID-19,
Occupational Safety and Health Administration (2020),
https://www.osha.gov/Publications/OSHA3990.pdf (last visited Oct. 19, 2021).
31
        ASHRAE Epidemic Task Force, Core Recommendations for Reducing Airborne
Infectious Aerosol Exposure (2021 ),
https://www.ashrae.org/file%20library/technical%20resources/covid-l 9/core-recommendations-
for-reducing-airbome-infecti ous-aerosol-exposure. pdf (last visited Oct. 19, 2021).
32
        Zeynep Tufekci, We Need to Tcilk About Ventilation, THE AlLANTIC (July 30, 2020),
https://www.theatlantic.com/health/archive/2020/07/why-arent-we-talking·-more-
aboutairbornetransmission/614737/ (last visited Oct. 19, 2021).



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    into contact. When that happens, the ·surfaces change in scientifically measurable and ·

    quantifiable ways. -Moreover, as studies have shown, these materials then become infectious

    when to~ched, making them unfit for use. 33 This is a form of physical damage.

            76.    Different surfaces are comprised of different molecules, and the _differences in the

    molecular makeup of surfaces impacts the ability, or inability, of viruses in general to interact

    with, bind to, and physically change those surfaces. The molecules of the spike protein and its

    glycan shield-a sugary barrier that helps the virus evade the immune system-however, can

    interact with and bind to many different types of surfaces, meaning they can impair new surfaces

    quickly.

            77.    In particular, the virus and its spike protein can bind to surfaces of common

    objects, including those found in GWU's insured locations, through noncovalent interactions

    such as electrostatic interaction, hydrogen bonding and van der Waals forces. Such bonds create

    new molecular species that have markedly different properties and physical characteristics than

    the original components. In the case of the COVID-19 virus, the virus will bind to metals,

    plastics and woods through all these various types of noncovalent interactions, and this process

    creates a new surface on those materials, a surface with quantifiably different physical

    properties, particularly if the property _already has other materials (sweat, skin oil or the like) on

    its surface.

            78.    Studies by the National Institutes of Health ("NIH") and other researchers have

    found that the COVID-19 virus remains viable-i.e., capable of infecting persons who come in

    contact with it-for at least seven days on a range of common surfaces (glass, stainless steel, and


    33
           Similar deposits of viral droplets on surfaces could be made by an infected person
    through touching (e.g., sneezing or coughing into hand and then grabbing a railing).



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money) left at room temperature, 34 and parts of the virus can remain for far longer, even after

. cleaning.

          79.   Surfaces already infected by the COVID-19 virus can further spread the virus.

This mode of transmission-via objects and surfaces-is known as "fomite transmission."

Fomite transmission has been demonstrated as a highly efficient mode of transmission for

viruses, to spread both from object-to-hand and from harid-to-mouth. 35 Studies have shown

fomites transform the surface of property.into a potentially deadly COVID-19 virus transmission

          36
vector.

          80.   The WHO has described fomite transmission as follows:

                Respiratory secretions or droplets expelled by infected individuals
                can contaminate surfaces and objects, creating fomites .... Viable
                SARS-CoV-2 virus and/or RNA ... can be found on those
                surfaces for periods ranging from hours to days, depending on the
                ambient environment (including temperature and humidity) and the
                type of surface, .... Therefore, transmission may also occur
                indirectly through touching surfaces in the immediate environment
                or objects contaminated with virus from an infected person .... 37


 34
          See Shane Riddell et al., The Effect of Temperature on Persistence of SARS-CoV-2 on
 Comm.on Surfaces, 17 VIROLOGY J. 145 (Oct. 7, 2020),
 https://virologyj .biomedcentral.com/articles/10.1186/s12985-020-01418-7 (last visited Oct. 19,
 2021); Guenter Kampf et al., Persistence ofCoronaviruses on Inanimate Surfaces and Their
 Inactivation.with Biocidal Agents, 104 J. OF HOSPITAL INFECTION 3 (Feb. 6, 2020),
 https://www.joumalofhospitalinfection.com/action/showPdf?pii=SOl9S-670l %2820%2930046-
 3 (last visited Oct. 19, 2021).
 35
         Jing Cai et al., Indirect Virus Transmission in Cluster ofCOVID-19 Cases, Wenzhou,
 China, 2020, 26 EMERGING INFECTIONS DISEASES 6 (June 2020),
 https://wwwnc.cdc.gov/eid/article/26/6/20-0412_article (last visited Oct. 19, 2021).
 36
        Avery Meiksin, Dynamics ofCOVID-19 Transmission Including Indirect Transmission
Mechanisms: A Mathematical Analysis, 148 EPIDEMIOLOGY & INFECTION e257, 1-7 (Oct. 23,
2020), https://www.cambridge.org/core/joumals/epidemiology-and-infection/article/dynamics-
ofcovi d 19-transmi ssi on-incl uding-indirect-transmissi on-mechanisms-a-
mathemati calanal ysi s/ A 134C5l82FD44BEC9E2BA6581 EF805D3 Qast visited Oct. 19, 2021).
 37
        Transmission of SARS-CoV-2: Implications for Infection Prevention Precautions, World ·
 Health Organization (July 9, 2020), https://www.who.int/news:-



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                                                                                        . \




        81.     In addition to the studies cited by the WHO, numerous other articles have

 acknowledged fomites as a mode of virus transmission, including: (1) a s~dy of a COVID-_19

 outbreak published by the CDC identifying elevator buttons and restroom taps as possible causes

 of the "rapid spread of SARS-CoV-2" in a shopping mall; 38 (2) a NIH study finding that the

 COVID-19 virus survives for extended periods on copper, plastic, and stainless steel, and

 suggesting that people may contract the virus through the air and after touching contaminated

· objects; 39 and (3) a CDC research letter concluding that "fomite transmission might be an

· important source of risk for SARS-CoV-2. " 40

        82.     While vaccines, masks, and personal protective equipment help reduce the risk of

 fomite transmission, effective prevention or reduction of fomite transmission also requires "a

 comprehensive package of preventive measures" and extraordinary "environmental cleaning and

 disinfection." 4 L CDC guidance recommends the sanitization of public surfaces. 42 Critically, it

 has been reported that ordinary disinfection aimed at cleaning the virus cannot entirely and

 adequately remove the virus, as portions of the virus remain, and thus the physical impacts of the



 room/commentaries/detail/transmission-of-sars-cov-2-implications-for-infection-prevention-
 precautions (last visited Oct. 19, 2021).
 38
         Cai et al., supra note 35.
 39
          New Coronavirus Stable for Hours on Surfaces, National Institutes of Health (Mar. 17,
 2020), https://www.nih.gov/news~events/news-releases/new-coronavirus-stable-hours-surfaces
 (last visited Oct. 19, 2021).
 40
         Alicia Kraay et al., Risk for Fomite-Mediated Transmission of SARS-CoV-2 in Child
. Daycares, Schools, Nursing Homes and Offices,· 27 EMERGING INFECTIOUS DISEASES 4 (Apr.
  2021), https://pubmed.ncbi.nlm.nih.gov/33755002/ (last visited Oct. 19, 2021).
 4l
         Supra note 3 7.
 42
          See, e.g., Guidance for Cleaning and Disinfecting, Public Spaces, Workplaces,
 Businesses, Schools, and Homes, Centers for Disease Control (Sept. 16, 2020),.
 https://www.cdc.gov/cor6navirus/2019-ncov/community/pdf/reopening_america_guidance. pdf
 (last visited Oct. 19, 2021).



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virus on surfaces remain. 43 As the CDC explained, although cleaning and disinfection

procedures may help "reduce" fomite transmission risk, at least one study had found that

"surface disinfection once- or twice-per-day had little impact ori reducing estimated risks." 44

III.    GWU SUFFERED THE TYPES OF LOSSES THE ALL RISKS POLICY
        INSURES AGAINST.

        83.     The physical loss and damage caused by COVID-19 and the COVID-19 virus

described in the preceding paragraphs occurred at GWU' s academic buildings, residence halls,

dining facilities, athletic facilities, and other insured locations.

        84.     GWU's revenue depends in large part on tuition payments, housing contracts,

meal plans, on-campus events, and other costs associated with students living, learning, playing,

and working or:i campus.

        85.     GWU sustained significant physical damage to and loss of its property as a result

of the COVID-19 virus (see Section III.A below), and that physical damage and loss resulted in

the loss
      .
         of significant revenue and. forced GWU to undertake significant, costly steps to resume

and continue operations (see Section III.B bdow). In addition, as a result of property damage

and loss proximate to GWU's property, local governments issued orders that prevented or

curtailed GWU's operations (see Section III.C below).




43
        Nicolas Castano et al., Fomite Transmission and Disinfection Strategies for SARS-CoV-2
and Related Viruses, Cornell University (May 23, 2020), https://arxiv.org/abs/2005.11443 (last
visited Oct. 19, 2021):
44
         Centers for Disease Control Science Brief SARS-CoV-2 and Surface (Fomite)
Transmission/or Indoor Community Environments, (Apr. 5, 2021),
https ://www.cdc.gov/coronavirus/2019-ncov/m·ore/ science-and-research/surface- ·
transmission.html (last visited Oct. 19,_2021).


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         A.      GWU's Insured Properties Suffered Physical Loss and Damage

         86.     As detailed below, numerous individuals infected wtth COVID-19 were present at

  GWU's insured properties.

         87.     Reported local prevalence rates in the District of Columbia, Maryland, and

  Virginia demonstrate that the COVID-19 virus reached materially dangerous levels by early

  2020. Since the start of the pandemic in March 2020, the District of Columbia has had over

  approximately 62,000 reported cases of COVID-19 and over 8,900 deaths; Maryland has had

  over approximately 550,000 reported cases of COVID-19 and over 9,000 deaths; and Virginia

  has had over 900,000 reported cases of COVID-19 and over 10,500 deaths. 45

         88.     Furthermore, these reported prevalence rates significantly understate actual

  prevalence of COVID-19 in the District of Columbia, Maryland, and Virginia given limited

  testing and other logistical issues, particularly in the early days of the pandemic. The COVID~19

  virus was circulating in the United States earlier than initially reported. A retrospective

  serological study across nine U.S. states found antibodies for the COVID-19 virus in blood

  samples taken between December 13 to December, 16, 2019. 46 Thus, there were likely many

  more people infected in the early stages of the COVID-19 pandemic than had been reported, but




  45
           Coronavirus in the US.: Latest Map and Case Count, N.Y. TIMES,
 · https://www.nytimes.com/iriteractive/2021/us/covid-cases.html (last visited Oct. 19, 2021).
  46
          See Sridhar V. Basavaraju et al., Serologic Testing of US Blood Donations to Identify
  Severe Acute Respiratory Syndrome Coronavirus 2 (SARS-CoV-2)-Reactive Antibodies:
- December 2019-January 2020, 72 CLINICAL INFECTIOUS DISEASES 12 (Nov. 30, 2020),
  https://academic.oup.com/cid/article/72/12/e1004/6012472 (last visited Oct. 19, 2021); see also
  Keri N. Althoff et al., Antibodies to Severe Acute Respiratory Syndrome Coronavirus 2 (SARS-
  CoV-2) in All of Us Research Program Participants, 2 January to 18 March 2020, CLINICAL
  INFECTIOUS DISEASES (June 15, 2021), https://academic.oup.com/cid/advance-
  article/doi/10.1093/cid/ciab519/6294073 (last visited Oct. 19, 2021).



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at that time, scientists lacked both the means to detect them and an understanding of the need to

do so. 47

        89.       Between January 1, 2020 and March 13, 2020, approximately 19,500 students

attended GWU's campuses in Washington, D.C. and Virginia.

        90.       Infectious individuals can release significant amounts of the virus, and as

explained above (see supra Paragraphs 66- 70), release of the virus was present at, damaged and

Raused the loss of property at GWU likely before but certainly by March 17, 2020.

        91.       Some examples of the instances in which infectious individuals were present at

GWU's properties are detailed below.

            92. · For example, on March 17, 2020, GWU was made aware of a teaching assistant

who had tested positive for COVID-19. Prior to this positive test, and while infectious, the

teaching assistant had been in at least six campus buildings. As a result, GWU notified

approximately 200 faculty, staff, and students of potential exposure.

            93.   In addition, upon information and belief, numerous infectious individuals were

present at other insured properties owned or used by GWU, causing damage to and loss of those

properties as well. For example, from March to June of 2020, numerous specific students and

staff located in Ross Hall, Thurston Hall, Phillips Hall, Munson Hall, Somers Hall, Francis Scott

Key Hall, the Smith Center, the Law School, the Webb Building, 1957 Eye Street NW, and 805

21st Street NW (among other insured locations) tested positive for COVID-19. The results of

these tests have previously been furnished to Factory Mutual.




47
            Id.




                                                   32
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       94.     Additionally; the Foggy Bottom-GWU metro station is located on GWU's

campus. In February 2020 alone, over 19,000 people used this metro stop on a daily basis. 48 The

George Washington University Hospital and The GW Medical Faculty Associates ("MFA") also

have facilities located on GWU' s campus and had numerous confirmed COVID-19 cases on-site.

       95.      Because numerous infectious individuals carried the COVID-19 virus in and onto

each of GWU's campuses, i.e., in and onto insured properties, each of those properties sustained

physical loss and damage. In particular, while on the insured properties, numerous infectious

individuals (through such activities as breathing, talking, coughing, shouting, and touching)

expelled and/or spread the COVID-19 virus into the air and onto the surfaces of the insured

prop·erties. That in turn led to the virus (a) physically altering both the indoor air and surfaces of

the insured properties, (b) changing such properties from a safe condition to a condition that was
                              .   (

unsafe for normal use, and (c) making such properties physically unfit for their intended use (all

as more fully explained in Paragraphs 83-102).

       96.     Had GWU continued to provide in-person instruction, the air and surfaces in· the

insured properties would have_ continual! y been infected and would have been unsafe. And

because until only recently GWU had not been able·to open its campus to students, faculty, and

staff, without an influx of COVID-19 and the COVID~.19 virus, its insured properties have been

physically harmed and physically unavailable for use for their intended purpose or safe

occupancy, all of which led to precisely the lost rex:enue that are insured by the All Risks Policy.




48
        See Rail Ridership Data Viewer, Washington Metropolitan Area Transit Authority,
https://www.wmata.com/initiatives/ridership-portal/Rail-Data-Portal.cfm (last visited Oct. 19,
2021).


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       B.       The COVID-19 Virus Damage Forced GWU to Repair and Restore Its
                Property and to Take Expensive Measures to Mitigate Its Losses.

       97.      As discussed above in Section II.C, the CDC, the EPA, and OSHA have

recommended severe and dramatic interventions to protect people from coming into contact with

air and material surfaces containing COVID-19 droplets and aerosol particles. Further, since the

onset of the pandemic, GWU has been working diligently to establish and implement health and

safety protocols that follow guidelines established by the CDC, EPA, OSHA, and the D.C.

Department of Health. GWU had to implement these and other measures to reduce the amount

of the COVID-19 virus present in and on its insured properties and attempt to make its property

safe for its intended use.

        98.     Restoration of GWU's properties to address the physical loss and damage caused

by COVID-19 and the COVID-19 virus included far more than simple cleaning. Rather those

steps included many physical alterations and repairs such as installation of Plexiglas barriers,

installation of new, or modification of, HV AC systems, installation of sanitization stations, and

changes in the properties' physical configuration. These are precisely the types ofrepairs that

have been recommended by public health and scientific authorities, 49 and they were necessary to



49
        See, e.g., Guidance on Preparing Workplaces for COVID-19, supra note 30
(recommending installing physical barriers such as clear plastic sneeze guards, providing "no-
touch" options for items such as trash cans, providing disinfecting products for workers to clean
their work surfaces, installation of high-efficiency air filters, increasing ventilation rates, and
minimizing contact among workers, clients, and customers); Core Recommendations for
Reducing Airborne Infectious Aerosol &posure, supra note 31 (recommending use of filters and
air cleaners to achieve MERV 13 of better levels of performance for air recirculation, and mixing
of space air without causing strong air currents that increase direct transmission from person-to-
person); Environmental Protection Agency, Implementing a Layered Approach to Address
COVID-19 in Public Indoor Spaces, https://www.epa.gov/coronavirus/implementing-layered-
approach-address-covid-19-public-indoor-spaces (last visited Oct. 19, 2021) (recommending,
among other things, increasing outside-air ventilation, increasing air filtration, adjusting or
reconfiguring air flows, placing portable air cleaners in areas that are hard to ventilate with
outside air or that have high density or occupancy, space reconfiguration efforts, installation of



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make the properties ready for operations at the same or similar physical and operating conditions

as had existed prior to the damage and loss caused by the presence of the COVID-19 virus on the

surfaces in those properties and in the air at those properties.

       99.     GWU made adjustments to HV AC systems to align its buildings with CDC

recommendations for building reopenings and industry-leading guidance from the American

Society of Heating, Refrigerating and Air-Conditioning Engineers for ventilation, filtration and

air exchange. GWU also installed high-efficiency particulate air (HEPA) filters in certain

buildings. Finally, GWU performed full-building air flushes prior to students returning to

campus for the start ofthe 2021-2022 academic year. 50

        100.   GWU also physically altered interior spaces at its insured properties to mitigate

the spread of COVID-19, and attendant property damage and loss by, including, but not limited

to, installing protective Plexiglas partitions, installing hand sanitizer stations, and reconfiguring

layouts of common areas.·

        101.   In order to reopen its campuses for in-person instruction for the 2021-2022

academic year, GWU issued a number of protocols to keep students, faculty, and staff safe,

including requiring that all students, faculty, staff, and visitors be fully vaccinated unless deemed



partitions or transparent barriers, hand hygiene, and cleaning or disinfection); Indoor Air and
Coronavirus (COVID-19), supra note 30 (recommending "increasing ventilation with outdoor air
and air filtration" as well as "physical distancing, wearing cloth face coverings or masks, surface
cleaning, handwashing, and other precautions"); World Health Organization, Coronavirus
disease (COVID-19): Cleaning and Disinfecting Surfaces in Non-Health Care Settings (May 16,
2020), https ://www.who.int/emergencies/diseases/novel-coronavirus-2019/question-and-
answers-hub/q-a-detail/coronavirus-disease-covid-19-cleaning-and-disinfecting-surfaces-in-non-
health-care-settings (last visited Oct. 19, 2021) (recommending that high-touch surfaces
including countertops, bathroom surfaces, toilets, and taps be prioritized for disinfection)
50
        Update on Campus Facilities, Health and Safety, The George Washington University
(June 7, 2021), https://coronavirus.gwu.edu/update-campus-facilities-health-and-safety (last
visited October 19, 2021).



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 exempt; requiring that face masks be worn inside all buildings; and requiring that vaccinated

 individuals be tested every two weeks and exempt individuals be tested every week. 51

        102.    GWU has incurred substantial expenses to implement such repairs and

· modifications to its insured properties as a result of the COVID-19 virus. These extra expenses

 are other than those that usually would have been incurred in conducting its business during the,

 same period had no physical loss or damage occurred.

        C.     - Government Orders Resulting From Viral Damage Prevented In-Person
                 Learning.

        103.    To protect individuals from coming into contact with surfaces and air damaged by

 and containing the COVID-19 virus, local governments across the United States issued orders

 prohibiting or limiting all non-essential public and private gatherings. Those orders restricted

 GWU from offering its prior in-person living and learning experience for its students, faculty,

 and staff, i.e., from using and accessing GWU's property. Below is a survey of certain relevant

 orders in D.C. and Virginia.

        104.    The District of Columbia, on March 11, 2020, declared a public health

 emergency and recommended all non-essential mass gatherings be cancelled or postponed. 52 On

 the same day, the World Health Organization classified COVID-19 as a pandemic. 53 By March

 12, 2020, D.C. had ten known positive cases of COVID-19 (though given significant testing


 51
         Campus Health, The George Washington University, https://onward.gwu.edu/campus,.. .
 health (last visited October 19, 2021).
 52
         Mayor Bowser Declares Public Health Emergency, Executive Office of the Mayor (Mar.
 11, 2020), https://mayor.dc.gov/release/mayor-bowser-declares-public-health-emergency (last
 visited Oct. 19, 2021).
 53
        WHO Director-General's Opening Remarks at the Media Briefing on COVID-19 -11
 March 2020, World Health Organization (Mar. 11, 2020), https://www.who.int/director-
 general/speeches/detail/who-director-general-s-opening-remarks-at-the-media-briefing-on-covid-
 19---11-march-2020 (last.visited Oct. 19, 2021).                               · ·



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     limitations and pre- and asymptomatic carriers, actual numbers were almost certainly much

     higher). 54 On March 13, 2020, the DC Department of Health prohibited mass gatherings,

     defined as events bringing more than 250 persons together, including at an "auditorium, theatre .

     . . large cafeteria, or any other confined indoor or confined outdoor space." 55 On March 17, ·

     2020, the DC Department of Health issued guidance that "[i]n addition to halting all hospital

     elective procedures, [the Department] is recommending that ALL elective medical procedures,

     non-urgent hospital and outpatient visits, and non-urgent dental procedures be postponed." 56

     Subsequent orders issued throughout 2020 and into 2021 continued to prohibit mass gatherings,

     and closed all non:essential businesses. 57

             105.   On March 24, 2020, D.C.'s Mayor, Muriel Bowser, further prohibited gatherings

,    of ten or more people because the scientific evidence showed "that the most effective approach

     to slowing the community transmission of communicable diseases like COVID-19 is through

    . limiting public activities and engaging in social distancing." 58 The Mayor's_ March 24, 2020




     54
            See Government of the District of Columbia, Coronavirus Data Update: March J5 (Mar.
     15, 2020), https://coronavirus. dc.gov/release/coronavirus-data-update-march-15 (last visited Oct.
     19, 2021).
     55
             Notice ofEmergency Rulemaking, Department of Health, District of Columbia (Mar. 13,
     2020),
     https://coronavirus.dc.gov/sites/default/files/dc/sites/coronavirus/release_content/attachments/D
     OH_Rulemaking_Mass-Gatherings.pdf (last visited Oct. 19, 2021).
     56
             Recommendations on Limitations of Elective and Non-Urgent Medical and Dental
     Procedures, Department of Public Health, District of Columbia (Mar. 17, 2020),
     https://dchealth.dc.gov/sites/default/files/dc/sites/doh/page_content/attachments/Letter%20- ·
     %20Elective%20Procedures.FINAL. .:.- pdf (last visited Oct. 19, 2021 ).
     57
             See, e.g., Mayor's Order 2020-053, District of Columbia (Mar. 24, 2020)
     https://coronavirus.dc.gov/sites/default/files/dc/sites/mayormb/release_content/attachments/May
     or%27 s%20Order%202020-053%20Closure%20of%20Non-
     Essential %20Businesses%20and%20Prohibiti .... pdf (last visited Oct. 19, 2021 ).
     58 -    Id.




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order required nonessential businesses to close and required "essential businesses" permitted to

remain open to follow "Social Distancing Requirements" including "[r]egular cleaning [of] high-

touch surfaces." 59 _That is, restoring damaged, infectious property to a safe state. The same

March 24, 2020 order defined colleges and universities as essential businesses only for the

purposes of "[f]acilitating distance learning and facilitating distance operations; or [m ]odifying

facilities to provide support for addressing COVID-19 or providing support for efforts to address

the public emergency and public health emergency declared by the Mayor." 60 Under this order,

GWU was prohibited from offering in-person instruction.

       106:      Virginia, by March 22, 2020, had 219 known positive cases ofCOVID-19. 61 On

March 23, 2020, Governor Northam began closing public access to non-essential businesses and

restricted gatherings to fewer than ten people. 62 These orders also required businesses to adhere

to "enhanced sanitizing practices on common surfaces" 63 to protect people from touching
                                                                                                      \
damaged, infectious surfaces.

        107.     Each such order was issued to, among other things, keep people from coming

into contact with damaged property, i.e., property whose surfaces had been altered by the




59
       See id.
60
       Id.
61
        Laura Taylor, 219 Total Coronavirus Cases Confirmed in Virginia, WSET (Mar. 22,
2020), https ://wset. com_/news/coronavirus/3-deaths-and-219-total-coronavirus-cases-confirmed-
in-virginia (last visited Oct. 19, 2021). ·
62
        See, e.g., Executive Order Number Fifty-Three (2020), Commonwealth of Virginia Office
of the Governor (Mar. 23, 2020),
https://www.governor.virginia.gov/media/governorvirginiagov/executive-actions/E0-53-
Temporary-Restrictions-Due-To-Novel-Coronavirus-(COVID-l 9). pdf (last visited Oct. 19,
2021).
63
       Id.


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attachment of the COVID-19 virus or viral droplets, rendering that property unfit for its intended

purpose. See, e.g., supra Section II.

        108.     Government orders prevented GWU from offering in-person instruction for the

remainder of the 2019-2020 academic year. These orders have prohibited, limited, restricted, or

impaired access to GWU' s insured properties, precluding in-person academic 'instruction and any

other events from occurring under pre-COVID-19 conditions.

        109.     Physical damage caused by COVID-19 and the COVID-19 virus to property in

and around GWU's insured properties, including the Foggy-Bottom GWU metro station and

George Washington University Hospita!, made travel difficult and dangerous in and around

· GWU' s campuses. In particular, the risk of coming into contact with property that had COVID-

19 and the COVID-19 virus on its surface created meaningful risks and made traveling to and

from GWU' s property nearly impossible.

        D.     . · In Short, COVID-1~ and the COVID-19 Virus Caused Physical Loss and
                   Damage to GWU's Insured Locations for Three Independent Re_asons.

        110.     COVID-19 and the COVID-19 virus caused physical loss and damage to GWU's

insured locations for three independent reasons, each of which independently caused substantial

physical loss and damage, and each of which also combined with the others to worsen and

exacerbate the physical loss and damage. First, as described above, due to the presence of
                           .             .
numerous infectious persons, COVID-19 aerosols and viral droplets were present in large

numbers at insured locations, and this presence caused substantial physical loss and damage to

air, surfaces and interior spaces of the insured locations, including physical alterations to such

air, surfaces and interior spaces. Such physical loss and damage, and the processes and

 mechanisms that caused such loss and damage, are described in detail in Paragraphs 71-82.




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       111.       Second, had GWU allowed students, faculty, and staff°back into its insured

properties during the relevant time periods (prior to the widespread use of vaccines_ and other

mitigation measures described above), it is certain that COVID-19 and the COVID-19 virus

would have been reintroduced in large quantities into these insured locations, and additional and

substantial physical loss and damage (of the same type and in the same manner as described

above) would have followed. For this reason, GWU was not able to allow a comprehensive, in-

person living and learning experience during the above mentioned periods, and, this caused GWU

to lose the physical functionality of its insured locations. Stated differently, due to the external

and unforeseen peril of COVID-19 and the COVID~l9 virus, such locations were not.able to be

us_ed for their intended purposes during such periods, and this constituted physical loss and

damage to such locations.

        112.      Third, as detailed in Paragraphs 103-109, numerous government orders further

prevented GWU fr~m offering in-person instruction during the 2019-2020 academic year.

These government orders were mandatory-GWU had no choice but to cease all in-person

learning. Thus, these orders also caused GWU to lose the physical functionality of its insured

locations, and such locations were not able to be used for thei.r intended purposes during such

periods.

IV.     GWU SUFFERED HUNDREDS OF MILLIONS OF DOLLARS IN LOSSES.

           113.   COVID-19 and the COVID-19 virus devastated GWU, causing widespread

physical loss and damage that re_sulted in hundreds of millions of dollars in losses. Because it

depends upon using its properties to provide an in-person living and learning experience, GWU

bought insurance to protect itself against the financial consequences (including the loss of

revenue and extra expenses) resulting from the inability to provide such in-person instruction




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aftedoss or damage sustained at their properties and against the costs of restoring such damaged

property.

       114.    GWU earns revenue from providing an in-person academic experience, including

from tuition, room and board costs, rent from vendors, income from school stores and eateries,

conferences, graduation expenses, reunions, and other campus services and ceremonies-all of

which rely on students, faculty; staff, and visitors being present on campus. GWU also earns

revenue by offering a number of residential summer programs to high school students and

providing housing for the large number of interns that move to D.C. every summer; These

summer programs and housing were impossible for GWU to offer because of COVID-19 and the

COVID-19 virus. Finally, GWU earns revenue from the MF A, the largest academic physician

practice in the metro D.C. area, which was forced to cancel patient appointments and elective

procedures because of COVID-19 and the COVID-19 virus. Combined, the foregoing revenues

make up a significant portion of GWU's income.

        115.   The COVID-19 virus-and the damage to and loss of property it caused-forced·

GWU to close its campuses to students, faculty, staff, and visitors.

        116.   As a result of the lack of in-person instruction, many students chose not to

continue their education at GWU, leading to a reduction in enrollment and significant losses.,

        117.   Because of COVID-19 and the COVID-19 virus, the resulting difficulty and

dangers traveling to or from GWU' s insured properties, and the associated government orders,

GWU could not offer in-person undergraduate, and most graduate, instruction until the Fall 2021

semester.




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       118.    Because of COVID-19 and the COVID-19 virus, the MFA also suffered

significant losses from their inability to offer elective procedures and a significant decline in

patient appointments.

V.     THE ALL RISKS POLICY COVERS GWU's LOSSES.

       119.    As set forth in the attached copy of the All Risks Policy, GWU and its

subsidiaries are insured _under the All Risks Policy. See Ex. A at 8.

        120.   Each entity seeking insurance coverage with respect to insured properties is

insured under the All Risks Policy.

        121. · As described above, GWU suffered materi.al physical loss and damage ·to property

insured by the All.Risks Policy. As explained in Sections V.A to V.F below, these losses fall

within the coverage promises of the All Risks Policy.

        122.   GWU gave timely notice of its claims under Policy No. 1056630.

        123.   GWU paid the full premium for Policy No. 1056630.

        124.   GWU has satisfied, is excused from performing, or Factory Mutual has waived or

is estopped from insistence upon performance of, all conditions of the All Risks Policy,

including but not limited to payment of required premiums, provision of timely notice of claim,

and submission of a final Proof of Loss.

        125.   The All Risks Policy provides several types of coverage that insure GWU's

massive losses relating to COVID-19. As detailed below, these include coverages for:

(a) property damage and for the costs to repair property; (b) lost income (called Time Element)

losses and extra expenses resulting from physical loss or damage to prop~rty; (c) losses due to

orders of civil authority issued due to COVID~l 9; (d) losses caused by the inability to access

insured properties due to nearby viral property damage and loss; and (e) losses covered by other
                                                                                       '
provisions of the All Risks Policy.


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       126.    GWU's losses are not limited to the Communicable Disease coverage extensions

in the All Risks Policy. The All Risks Policy nowhere says that the Communicable Disease

coverage is the exclusive coverage that applies if particular losses-such as GWU's COVID-19

losses-satisfy both the Communicable Disease coverage promise and other coverage promises.

Losses that fall under, and are able to satisfy" the requirements of, both the coverage for Time

Element losses and the coverage for communicable disease are covered by both.

       A.      The All Risks Policy Covers GWU's Property Damage and Repair Costs.

       127.    The All Risks Policy specifically "insures" the "Real Property" and "Personal

Property" of GWU and its entities "against ALL RISKS OF PHYSICAL LOSS OR DAMAGE."

As explained above, the COVID-19 virus caused physical loss and damage to both real and

personal property of GWU.

        128.   In the event of such damage to or loss of insured property, the All Risks Policy

promises that Factory Mutual will pay GWU "the cost to repair" that property or alternatively,

will pay GWU the "actual cash value" of such property if it "is useless to the Insured," i.e., the

policyholders. In addition, the All Risks Policy promise that Factory Mutual will pay for the

"reasonable and necessary costs incurred for the temporary repair of insured physical damage to

insured property ... and to expedite the permanent repair or replacement" thereof. As explained

above, the COVID-19 virus caused physicai loss and damage to both real and personal property

ofGWU.

        129.   The All Risks Policy covers those restoration steps necessary to return the

property to the "operating capacity that existed on the date of loss." That is, those steps

necessary to make the property ready to.operate at the same level and capacity it had operated at

prior to the physical loss and damage caused by the COVID-l9 virus.




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       130.    GWU incurred costs to repair physical damage and loss caused to its insured

properties including by, among other things, installing upgraded air filtration systems and

implementing additional and heightened sanitization procedures.

       131.    GWU' s repair costs are other than those that usually would have been incurred in

conducting its business during the same period had no physical loss or damage occurred.

       132.    The All Risks Policy nowhere says that the Communicable Disease coverage is

the exclusive coverage that applies if particular losses-such-as GWU's COVID-19 losses-

satisfy both the Communicable Disease coverage promise and Factory Mutual's promise to

insure against "all risks of physical loss or damage." Losses that fall under, and are able to

satisfy the requirements of, both are covered by both.

       B.      The All Risks Policy Covers GWU's Massive Business Interruption Losses
               and Extra Expenses.

        133.   The All Risks Policy "insures TIME ELEMENT loss .... directly resulting from

physical loss or damage of the type insured" both to insured property and to property "used by

the Insured." The Policy computes the Policyholder's TIME ELEMENT loss as the amount that

it would have earned had no loss occurred less the amount it did in fact earn. Time Element

losses are covered during the PERIOD OF LIABILITY, which for "building and equipment"

starts "from the time of physical loss.or damage of the type insured," and ends "when with due

diligence and dispatch the building and equipment could be: (i) repaired and ' replaced; and (ii)

made ready for operations, under the same or equivalent physical and operating conditions that

existed prior to the damage. " 64


64
        The PERIOD OF LIABILITY applies to "all TIME ELEMENT COVERAGES" with
certain exceptions, including for GROSS PROFIT Time Element coverage, which starts "from
the time of physical loss or damage of the type insured," and ends "not later than the period of
time shown in the LIMITS OF LIABILITY clause oftheDECLARATIONS section," or a 12



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         134.   Despite the fact that the term "TIME ELEMENT" appears in all capital letters, the

 All Risks Policy nowhere defines that term.

         135.   The All Risks Policy also covers "reasonable and necessary extra costs incurred

· by the Insured ... during the PERIOD OF LIABILITY ... to temporarily continue as nearly

 normal as practicable the conduct of the Insured's business; [and to] temporarily us[e] property

 or facilities of the Insured or others." Ex. A at 46.

         136.   As shown in Section III.A above, GWU has suffered direct physical loss and

 damage of the type insured under the All Risks Policy to property insured by those policies.

         137.   As explained in Section IV above, due directly to physical loss to its insured

 properties, GWU sustained losses of gross earnings, losses of other operational earnings, and

 incurred additional operating expenses, extra expenses, increases in the cost of doing business,

 costs to prevent or mitigate losses, claim preparation costs, leasehold and rental losses, and other

 covered losses:

         138.    GWU has undertaken numerous measures to repair and replace building and

 equipment and make GWU facilities ready for operations, in response to the presence of the

 COVID-19 virus. Some of these measures include modifications to its HV AC systems; Plexiglas

 barriers; revised arrangements of interior spaces; and continuous deep ~leaning. These

 alterations and modifications are .ongoing, but have not yet allowed GWU to resume operations

 "under the same or equivalent physical and operating conditions that existed prior to the

 damage." Ex. A at 48. ·




 month period for most properties, "during which period the results of the business shall be
 directly affected by such damage."


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        139.    While GWU took steps to reduce and mitigate its losses, damages and expenses, it

has not been able to further and materially do so through the use of property or services owned or

controlled by others, the use of property or services obtainable from other sources, working extra

time or overtime, or the use of inventory.

        140.    GWU's Business Interruption losses are ongoing and continuing.

        141.    GWU has incurred reasonable and necessary extra expenses to tempo_rarily

continue as nearly normal as practicable the conduct of its business due to the suspension of

operations, including but not limited to extra expenses for COVID-19 screening and testing,

costs related with developing enhanced technology platforms for-a remote learning environment,

packing and shipping costs associated with students' belongings, costs associated with returning

students to-their overseas locations, costs associated with cleaning all facilities, and other

operational changes. These expenses were above and beyond those that usually would have been

incurred in conducting GWU's business during the same-period had no physical loss or damage

occurred.

        142.    The All Risks Policy nowhere says that the Communicable Disease coverage is

_the exclusive coverage that applies if particular losses-such as GWU's COVID-19 losses-

satisfy both the Communicable Disease coverage promise and the Time Element coverage

promise. Losses that fall under, and are able to satisfy the requirements of, both are covered by

both.

        C.      The All Risks Policy Covers GWU's "Civil Authority" Losses.

         143.   The All Risks Policy "covers the Actual Loss Sustained and EXTRA EXPENSE

· incurred by the Insured during the PERIOD OF LIABILITY if an order of civil or military

authority limits, restricts 9r prohibits partial or total access to an insured location provided such




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order is the ·direct result of physical damage of the type insured at the insured location or within

·five statute miles/eight kilometres of it."

         144.   As set forth in Section III.C above, state and local authorities in each city and/or

state where GWU's property is located, including without limitation the District of Columbia and

Virginia, issued orders that "limit[ ed], restrict[ ed] or prohibit[ ed] partial .or total access to insured

location[s]." As set forth in Section III.C above, each such order was issued as "the direct result

of physical damage of the type insured" either at insured locations ·or within five or fewer statute.

miles of such locations.

         145.   The governmeqtal orders limiting, restricting, and prohibiting access to GWU's

insured locations were issued because of physical and structural damage caused by the physical

 presence of the COVID-19 virus on furniture, doors, floors, bathroom facilities, and other

. surfaces; and in the air within offices, restrooms, shops, and HVAC systems at properties within

 five miles of GWU's insured locations.

         146.   Many of these orders refer to the COVID-19 virus as a basis for prohibiting

 access to businesses, including academic building~_ and other facilities at issue here. See supra

 Section III.C. All such orders were issued to, in part, prevent people from coming into contact

 with and touching damaged property, the surfaces of which had been altered by the adherence of

 COVID-19 viruses, and air, the composition of which had been and would be significantly

 altered by aerosolized viral droplets. The physical loss and damage caused by COVID-19 is of

 the type insured by the All Risks Policy.

         147.    GWU has sustained actual losses due to the orders of civil authority described in

 Section III.C above. GWU has incurred reasonable and necessary expenses, due to the orders of




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civil authority described in Section III.C above, to temporarily continue as nearly normal as

practicable the conduct of its business.
                 . . r
         148.    GWU's expenses due to orders of civil authority are other than those that usually

would have been incurred in conducting its business during the same period had no physical loss

or damage occurred.

         149.    The All Risks Policy nowhere says that the Communicable Disease coverage is

the exclusive coverage that applies if particular losses-such as GWU' s ·COVID-19 losses-

satisfy both the Communicable Disease coverage promise and the Civil Authority coverage

promise. Losses that fall under, and are able to satisfy the requirements of, both are covered by

both.

         D.      The All Risks Policy Covers the Losses GWU Sustained Given the Danger Of
                 Accessing Insured Locations Due to Nearby Viral Property Damage and
                 Loss.

         150.    The All Risks Policy "covers the Actual Loss Sustained and EXTRA EXPENSE

incurred by the Insured duri.ng the PERIOD OF LIABILITY due to the necessary interruption of

the Insured' s business due to partial or total physical prevention of ingress to or egress from an

insured location, whether or not the premises or property of the Insured is damaged, provided

that such prevention is a direct result of physical damage of the type insured to property of the

type insured."

         151.    The widespread presence of COVID-19 and the COVID-19 virus, fomites, and

respiratory droplets or droplet nuclei made traveling to or from GWU's insured properties

significantly more difficult and dangerous, and damaged, among other things, real and personal

property necessary for safe travel to and from GWU' s facilities.

         152.    Said otherwise, due to physical damage-the alteration and damage to surfaces as

described above (see Section 11)-to everything from door knobs and elevator buttons to seats in·


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metros, busses and cars, travel to and from GWU's insured properties became quite dangerous.

Likewise, air in metro cars, busses, taxis and ride-sharing veh.icles was similarly and

significantly altered-damaged-by aerosolized viral droplets. Travel became quite dangerous

and difficult given this damage.

         153.   As a result of these partial or total preventions or impairments of ingress to and

egress from GWU's facilities, the operations and business of each GWU insured entity was

interrupted.

         154.   As explained in Section IV above, GWU has sustained actual losses and has

incurred extra expenses due to the necessary interruption of its business because of the partial or

total physical prevention and impairment of ingress to or egress from insured property as a result

of p~ysical damage to the type insured by the policy (including, inter alia, the actual presence of

communicable disease) to property of the type insured by the policy, namely real and other

property, among other things.

         155.   GWU's extra expenses due to prevention of ingress/egress are other than those

that usually would have been incurred in conducting business during the same period had no

physical loss or damage occurred.

         156.   The All Risks Policy nowhere says that the Communicable Disease coverage is

the exclusive coverage that applies if particular losses-such as GWU's COVID-19 losses-

satisfy both the Communicable Disease coverage promise and the Ingress/Egress coverage

promise. Losses that fall under, and are able to satisfy the requirements of, both are covered by

both.




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       E.      The All Risks Policy Covers the Losses GWU Sustained to Protect Its
               Property and Mitigate Its Losses.

       157.    The All Risks Policy covers "reasonable and necessary costs incurred for actions

to temporarily protect or preserve insured property; provided such actions are necessary due to

actual, or to prevent immediately impending, insured physical loss or damage to such insured

property."

       158.    GWU incurred reasonable and necessary costs for actions to temporarily protect

or preserve insured property from actual, ot to prevent immediately impending, physicai loss or

damage from the COVID-19 virus and COVID-19 to such insured property.

       159.    GWU sustained actual loss during the period beginning 48 hours before and

lasting until 48 hours after the need to take reasonable action for the temporary protection and

preservation of property insured by the All Risks Policy to prevent impending physical loss or

damage to such property, including the cost of and losses caused by closing academic buildings,

protecting and preserving property at its campuses, and ensuring that insured property is not

damaged by the COVID-19 virus or COVID-19.

       160.    The All Risks Policy nowhere says that the Co~municable Disease coverage is

the exclusive coverage that applies if particular losses-such as GWU's COVID-19 losses-

satisfy both the Communicable Disease coverage promise and the Protection and Preservation of

Property coverage promise. Losses that fall under, and are able to satisfy the requirements of,

both are covered by both.

       F. ·    Numerous Other Provisions of the All Risks Policy Cover GWU's Losses.

       161.    In addition to the losses and coverages described above, GWU' s COVID-19

losses are covered under any and all other coverages under the All Risks Policy that may apply.




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These include but are not limited to Contingent Time Element and Claims Preparation Cost

coverage.

        162.   GWU has sustained actual loss of rental income for leases at properties that have

become wholly or partially untenantable or unusable due to impairment by the COVID-19 virus

and COVID-19 and related concerns, including but not limited to the fair rental value of

properties they occupy, reasonably expected rental income from unoccupied or unrented portions

of properties, and rental income from the rented portions of such property under leases, contracts

or agreements in force at the time of the loss. GWU has also sustained losses in the form of

unrealized rent for facilities they have been unable to use because of orders and/or physical loss

or damage as described more fully above.

                                FIRST CAUSE OF ACTION
                       (For Breach of Contract Against Factory Mutual)

        163.   Plaintiff repeats and incorporates by reference the allegations set forth in

·Paragraphs 1 through 162 of this Complaint, inclusive, as though set forth fully he~ein.'

        164.   Factory Mutual's All Risks Policy is a valid and enforceable contract between

Plaintiff and Factory Mutual.

        165.   Plaintiff has satisfied, is excused from performing, or Factory Mutual has waived

or is estopped from insistence upon performance of, all conditions of the All Risks Policy,

including but not limited to payment of required premiums, provision of timely notice of claim,

and submission of a final Proof of Loss.

        166.   Factory Mutual agreed in its insurance contract to provide insurance coverage for

all risks of physical loss or damage not otherwise excluded.




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        167.     The COVID-19 virus have caused and continues to cause physical loss and/or

damage to Plaintiff's properties and to properties within five miles of Plaintiff's insured

locations.

        168.     The Plaintiff has suffered actual losses a~d incurred extra expense due to physical

loss and damage caused by the COVID-19 virus, a risk not excluded by the All Risks Policy.

        169.     No exclusion in the All Risks Policy applies to preclude or limit coverage.

        170.     As is set forth more fully above, Factory Mutual is contractually obligated under

the All Risks Policy to indemnify Plaintiff for the full amount of its losses.

        171.     Factory Mutual refused to indemnify Plaintiff for its losses and expenses in

breach of the All Risks Policy.

        172.     As a direct and proximate result of its breaches of contract, Factory Mutual has

deprived Plaintiff of the benefits of the insurance contract for which substantial premiums were

paid, which entitles Plaintiff to money damages, including interest according to law .

        .173.    Plaintiff's losses as a result of Factory Mutual' s breaches of contract are "

continuing, and Plaintiff reserves the right to seek the full and exact amount of its damages at the

time of trial.

                                 SECOND CAUSE OF ACTION
                         (For Declaratory Relief Against Factory Mutual)

        174.     Plaintiff repeats and incorporates by reference the allegations set forth in

Paragraphs 1 through 162 of this Complaint, inclusive, as though set forth fully herein._

        175.     Plaintiff seeks a declaration of the parties' rights and duties under Factory

Mutual's All Risks Policy in accordance with D.C. Super. Ct. R. Civ. Pro. 57.

        176.     An actual and justiciable controversy exists between Plaintiff and Factory Mutual

concerning Factory Mutual's contractual duties to indemnify Plaintiff's claims for real property



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losses, time element losses, and other losses, costs, and expenses under Factory Mutual's All

Risks Policy.

         177.   The controversy between Plaintiff and Factory Mutual is ripe for judicial review.

         178.   The controversy is of sufficient immediacy to justify the issuance of declaratory

relief

         179.   Plaintiff accordingly seeks a declaration from the Court that:

                •   Each coverage provision identified in the Complaint is triggered by Plaintiffs
                    claims;

                •   No exclusion in the All Risks Policy applies to preclude or limit coverage for
                    Plaintiff's claims;

                •   Plaintiff has satisfied or been excused from satisfying, or Factory Mutual has
                    waived or is estopped from enforcing, all conditions precedent under the All
                    Risks Policy;

                •   Factory Mutual is contractually obligated under its All Risks Policy to
                    indemnify Plaintiff for its claims of real property losses, time element losses,
                    extra expense, and other losses sustained as a result of direct loss or damage to
                    property due to the COVID-19 virus and/or COVID-19;

                •   Factory Mutual is contractually obligated under its All Risks Policy to
                    indemnify Plaintiff for GROSS EARNINGS or GROSS PROFITS loss, at
                    Plaintiff's election, during the Period of Liability;

                •   Factory Mutual is contractually obligated under its All Risks Policy to
                    indemnify Plaintiff for EXTRA EXPENSE incurred to continue business
                    during the Period of Liability;

                •   Factory Mutual is contractually obligated under its All Risks Policy to
                    indemnify Plaintiff for its time element losses and extra expense as a result of
                    orders of civil authority that have limited, restricted, or prohibited access to
                    insured properties as a result of the COVID-19 virus and/or COVID-19 at
                    insured property or other locations within five miles thereof;             ·

                •   Factory Mutual is contractually obligated under its All Risks Policy to
                    indemnify Plaintiff for its time element losses and extra expense wherever
                    ingress to or egress from insured property has been partially or totally
                    prevented as a result of the COVID-19 virus and/or COVID-19 at insured
                    property or other locations;



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       •   Factory Mutual is contractually obligated under its All Risks Policy to.
           indemnify Plaintiff for its lost rent and actual loss sustained with respect to
           rental properties;

       •   Factory Mutual is contractually obligated under its All Risks Policy to
           indemnify Plaintiff for its lost GROSS EARNINGS incurring during the
           Extended Period of Liability after the_ end of the Period of Liability;

       •   Factory Mutual is contractually obligated under its All Risks Poliey to
           indemnify Plaintiff for losses and extra expense associated with physical loss
           of or damage to contingent time element properties;

       •   Factory Mutual is contractually obligated under its All Risks Policy to
           indemnify Plaintiff for actual loss sustained to prevent and costs incurred to
           temporarily protect from actual or impending physical loss or damage to
           insured property; and

       •   Factory Mutual is contractually obligated under its All Risks Policy to
           indemnify Plaintiff for its claims preparation costs. _

                             PRAYER FOR RELIEF

 WHEREFORE, Plaintiff prays for judgment as follows:

 (1)   A declaratory judgment in favor of Plaintiff and against Factory Mutual declaring
       that:                                                                  1


       a) Each coverage provision identified in the Complaint is triggered by Plaintiffs
          claims;

       b) No exclusion in the All Risks Policy applies to preclude or limit coverage for
          Plaintiff's claims;

       c) Plaintiff has satisfied or been excused from satisfying, or Factory Mutual has
          waived or is estopped from enforcing, all conditions precedent under the All
          Risks Policy;

        d) Factory Mutual is contr_actually obligated under their All Risks Policy to
           indemnify Plaintiff for their real property losses, time element losses, extra
           expense, and other losses sustained as a result of direct loss or damage to
           property due to the COVID-19 virus and/or COVID-19;

        e) Factory Mutual is contractually obligated under their All Risks Policy to
           indemnify Plaintiff for GROSS EARNINGS or GROSS PROFITS loss, at
           Plaintiff's election, during the Period of Liability;




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       f) Factory Mutual is contractually obligated under their All Risks Policy to·
          indemnify Plaintiff for EXIRA EXPENSE incurred to continue business
          during the Period of Liability;

       g) Factory Mutual is contractually obligated under their All Risks Policy to
          indemnify Plaintiff for their time element losses and extra expense as a result
          of orders of civil authority that have impaired, limited, restricted, or prohibited
          access to insured properties as a result of the COVID-19 virus and/or
          COVID-19 at insured property or other locations within five miles;

       h) Factory Mutual is contractually obligated under their All Risks Policy to
          indemnify Plaintiff for their time element losses and extra expense wherever
          ingress or access to, or egress from, insured property has been impaired or
          partially or totally prevented as a result of the COVID-19 virus and/or
          COVID-19 at insured property or other locations;

       i) Factory Mutual is contractually obligated under their All Risks Policy to
          indemnify Plaintiff for its lost rent and actual loss sustained with respect to
          rental ·properties;

       j) Factory Mutual is contractually obligated under their All Risks Policy to
          indemnify Plaintiff for its lost GROSS EARNINGS incurring during the
          Ext~nded Period of Liability after the end of the Period of Liability;
                                                                            ,r

       k) Factory Mutual is contractually obligated under their All Risks Policy to
          indemnify Plaintiff for losses and extra expense associated with physical loss
          or damage to contingent time element properties;

       1) Factory Mutual is contractually obligated µnder their All Risks Policy to
          indemnify Plaintiff for actual loss sustained to prevent and costs incurred to
          temporarily protect from actual or impending physical loss or damage to
          insured property; and

       m) Factory Mutual is contractually obligated under their All Risks Policy to
          indemnify Plaintiff for their claims preparation costs;

 (2)   Compensatory and consequential damages in an amount to be proven at trial;

 (3)   Pre-judgment and post-judgment interest as provided by law;

 (4)   An award of court costs and attorneys' fees and costs;

 (5)   Interest on such court costs and attorneys' fees and costs;

 (6)   Exemplary and punitive damages; and

 (7)   Such other and further relief as this Court finds just and proper.




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Dated: October 21, 2021           COVINGTON & BURLING LLP


                                  By:    Isl Matthew J Schlesinger
                                         Matthew J. Schlesinger
                                         D.C. Bar No. 429689
                                         Covington & Burling LLP
                                         One CityCenter -
                                         850 Tenth Street Northwest
                                         Washington, DC 20001
                                         (202) 662-6000
                                         mschlesinger@cov.com

                                         Attorneys for Plaintiff




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                                   JURY TRIAL DEMAND

       Plaintiffs hereby demand a jury trial of all issues so triable pursuant to D.C. Super. Ct. R.

Civ. Pro. 38.


Dated: October 21, 2021                         COVINGTON & BURL1NG LLP


                                                By:    Isl Matthew J Schlesinger .
                                                       Matthew J. Schlesinger

                                                       Attorneys for Plaintiff




                                            \




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               EXHIBIT A'




                                              I
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 ......
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                                 .//,)<·,, .,
                                                                                            NON-ASSESSABLE. POLICY
             .,.•··"'·
(__,,.-                    Factor/ Mutual Insurance Company
                           P.O. Box 7500
                           Jct:nston, Rr,ode Island 02919
                           1-B0G-343-77??

      DECLARATIONS
     Policy No.                                                    Previous Policy No.                   DATE OF ISSUE
           1056630                                                     1041993                            26 June 2019


     Account No.                                                   Replaces Binder No.
           1-56297

      In consideration of this Policy's Provisions, Conditions, Stipulations, Exclusions and Limits of Liability, and of premium charged,
      Factory Mutual Insurance Company, hereafter referred to as the Company, does insure:

                                                INSURED:

                                                The George Washington University
                                                                                                                      "\




                                                                (For Complete Title See Policy)

      The term of this Policy is from the 1st day of July 2019 to the 1st day of July 2020 at 12:01 a.m., Standard Time, at the Locations of
      property involved as provided in this Policy.

      This Policy covers property, as described in this Policy, against ALL RISKS OF PHYSICAL LOSS OR DAMAGE, except as
      hereinafter excluded, while located as described in this Policy.

      By virtue of this Policy and any other policies purchased from the Company being in force, the Insured becomes a member of the
      Company, subject to the provisions of its charter and by-laws, and is entitled to one vote either in person or by proxy at any and all
      meetings of said Company.

          Assignment of this Policy will not be_ valid except with the written consent of the Company.

          This Policy is made and accepted subject to the above provisions and those hereinafter stated, which are made a part of this
          Policy, together with such other provisions and agreements as may be added to this Policy.

          In Witness, this Company has issued this Policy at its office in the city of Johnston, R. I.
          this 26th day of June 2019.




          Authorized Signature                                                           Secretary                 President




          Countersigned (if required) this                    day of
                                                                                                                                        Agent

          Form FMGA DEC                                                                                                    Printed in U.S.A.
          7020 (5/99)
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                                     ,Joh;~~itGn: Rh~xk islar:d
                                     A t-viutu~il C,--::·rx--:rai'ion •




                                     This policy is Non-Assessable.



                                     It is important that the written
                                     portions of all policies covering
                                     the same property read exactly
                                     alike. If they do not, they should
                                     be made uniform at once.




                                     In case of loss notify the company
                                     or its local agent at once in writing.




7019 (9/01)




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                                                                                       (




       This policy is issued by a mutual company having special regulations lawfully applicable to its organization,
membership, policies, or contrac,ts of insurance of which the following shall apply to and form a part of this policy.

                             EXTRACTS FROM CHARTER OF THIS COMPAN;Y
                            Granted by the General Assembly of the State of Rhode Island

          SECTION 5: Except as hereinafter specifically provided, each natural person, partnership, association, corporation or
legal entity insured on the mutual plan by the Corporation shall be a member of the Corporation during the term of its poli_cy but
no longer, and at all meetings of the members shall be entitled to one vote either in person or by proxy, provided, however, that
where there is more than one insured under any policy, such insureds shall nevertheless be deemed to be a single member of the
Corporation for all purposes. The Corporation may issue policies whjch do not entitle the insured to membership in the
Corporation nor to participate in its surplus.

         SECTiON l 0: Upon the termination of the membership of any member, all his or its right and interest in the surplus,
reserves and other assets of the Corporation shall forthwith cease.


                           EXTRACTS FROM THE BY-LAWS OF THIS COMPANY
                                                       Adopted July 13, 2000


         ARTICLE l - MEETINGS OF THE MEMBERS

         SECTION 1. Annual Meeting
         The annual meeting of the members shall be held at the principal offices of the Company, or at such other place as may
be stated in the notice of the mee~ing, at 9:00 a.m. on the second Thursday of April in each year, for the election of directors and
the transaction of such other business as may be bro,ught before the meeting. lf the annual meeting is omitted on the day herein
provided therefor, a special meeting may be held in place thereof; and any business transacted or elections held at' such special
meeting shall be as effective as if transacted or held at the annual meeting.




          7019 (9/01)


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                                                                                                                       Policy No. 1056630


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 /        ,,..,,,,..'/                                                                                      Policy No. 1056630
C---------·




                                                                DECLARATIONS

                 This Policy covers property, as described in this Policy, against ALL RISKS OF PHYSICAL
                 LOSS OR DAMAGE, except as hereinafter excluded, while located as described in this Policy.

1.                NAMED INSURED AND MAILING ADDRESS

                  The George Washington University and any subsidiary, and The George Washington University's
                  interest in any partnership or joint venture in which The George Washington University has
                  management control or ownership as now constituted or hereafter is acquired, as the respective
                  interest of each may appear; all hereafter referred to_ as the "Insured," including legal
                  representatives ..

                  2025 F Street, NW
                  Washington, DC 20052

2.                POLICY DA TES

                                       The term of this Policy is:

                                       FROM:01 July 2019 at 12:01 a.m., Standard Time;
                                       TO:  01 July 2020 at 12:01 a.m., Standard Time,

                                       at the location of property involved as provided in this Policy.

3.                INSURANCE PROVIDED

                  The coverage under this Policy applies to property described on the Schedule of Locations or
                  covered under the terms and conditions of the AUTOMATIC COVERAGE, ERRORS AND
                  OMISSIONS or MISCELLANEOUS PROPERTY provisions, unless otherwise provided.

                  Schedule of Locations are as listed on the Schedule of Locations attached to this Policy.

4.                PREMIUM

                  This Policy is issued in consideration of an initial premium.

5.                 PREMIUM PAYABLE

                   Marsh USA, Inc. pays the premium under this Policy, and any return of the paid premium accruing
                   under this Policy will be paid to the account of Marsh USA, Inc.

6.                 LOSS ADJUSTMENT/PAYABLE

                   Loss, if any, will be adjusted with and payable to The George Washington University, or as may be
                   directed by The George Washington University.                                                     ·

                   Additional insured interests will also be included in loss payment as their interests may appear
                   when named as additional named insured, lender, mortgagee and/or loss payee either on a
                   Certificate of Insurance or other evidence of insurance on file with the Company or named below.


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       When named_ on a Certificate of Insurance or other evidence of insurance, such additional interests
       are automatically added to this Policy as their interests may appear as of the effective date shown
       on the Certificate of Insurance or other evidence of insurance. The Certificate of Insurance or other
       evidence of insurance will not amend, extend or alter the terms, conditions, provisions and limits of
       this Policy.                   ·

7.     TERRITORY

        Coverage as provided under this Policy applies in Canada, the United States of America and the
        Commonwealth of Puerto Rico.

        As respects MISCELLANEOUS PROPERTY, coverage as provided under this Policy applies
        worldwide except docs not apply in:

        Afghanistan; Albania; Algeria; Angola; Armenia; Azerbaijan; Bangladesh; Belarus; Belize; Benin;
        Bhutan; Bolivia; Bosnia and Herzegovina; Botswana; Burkina Faso; Burundi; Cambodia;
        Cameroon; Central African Republic; Chad; Cute D'Ivoire; Cuba; Democratic Republic uf the
        Congo; Djibouti; Egypt; Equatorial Guinea; Eritrea; Ethiopia; Fiji; Gabon; Gambia; Georgia;
        Ghana; Grenada; Guinea; Guinea-Bissau; Guatemala; Guyana; Haiti; Honduras; Jammu and
        Kashmir in India; Iran; Iraq; Israel; Gaza Strip, West Bank and territories north of Latitude 32.80 N
        in Israel; Kenya; Laos; Lebanon; Lesotho; Liberia; Libya; Madagascar; Malawi; Mali; Mauritania;
        Mauritius; Moldova; Mongolia; Montenegro; Montserrat; Mozambique; Myanmar; Namibia;
        Nepal; Niger; Nigeria; North Korea; Pakistan; Papua New Guinea; Aksai Chin and Trans-
        Karakorarn Tract in People's Republic of China; Republic of the Congo; Chechen Republic of the
        Russian Federation; Rwanda; Senegal; Seychelles; Sierra Leone; Somalia; Sri Lanka; South Sudan;
        Sudan; Swaziland; Syria; Tajikistan; Tanzania; Timur-Leste; Tugu; Tunisia; Agri, Batman, Bingul,
        Bitlis, Diyarbak.ir, Elazig, Hakkari, Igdir, Mardin, Mps, Sanliurfa, Siirt, Sirnak and Van in"Turkey;
        Turkmenistan; Uganda; Ukraine; Crimea Region of Ukraine; Uzbekistan; Venezuela; Yemen;
        Zambia; and Zimbabwe.

8.      JURISDICTION

        This Policy will be governed by the laws of the.United States of America.

        Any disputes arising hereunder will be exclusively subject to the jurisdiction of the United States of.
        America.

9.      CURRENCY

        All amounts, including deductibles, premiums and limits of liability, indicated in this Policy shall
        be in the currency represented by the three letter currency designation shown. This three letter
        currency designator is defined in Table A.I-Currency and funds code list, International
        Organization for Standardization (ISO) 4217, edition in effect at the inception of this Policy.

10.     LIMITS OF LIABILITY

        The Company's maximum limit of liability in an occurrence, including any insured TIME
        ELEMENT loss, will not exceed the Policy limit of liability of USO 1,000,000,000, not to exceed
        USDS00,000,000 for TIME ELEMENT loss, subject to the following provisions:

        A.      · Limits of liability and time limits stated below or elsewhere in this Policy are part of, and riot
                  in addition to, the Policy limit of liability.



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                                                                                                         Policy No. 1056630


       B.       Limits of liability apply per occurrence, unless otherwise stated.

       C.       Limits of liability in an occurrence apply to the total loss or damage at all locations and for
                all coverages involved, including any insured TIME ELEMENT loss, subject to the
              . following provisions:

                1)    when a limit of liability applies as an annual aggregate, the Company's maximum
                      amount payable will not exceed such limit of liability during any policy year.

                2)    when a limit of liability applies to a location or other specified property, such limit of
                      liability will be the maximum amount payable for all loss or damage at all locations
                      arising from physical loss or damage at such location or to such othet specified
                      property.

        D.      Should an occurrence result in liability payable under more than one policy issued to the
                Named Insu·rcd by the Company, or its representative company(ies), the maximum amount
                payable in the aggregate under all such policies will be the applicable limit(s) of liability
                indicated in this Policy.                                                              ·

       Applicable Limits of LiabilityfTime Limits:


         ANIMALS                                                USD 10,000,000, nut tu exceed USD 5,000,000 fur
                                                                overhead, laboratory, research and experimentation
                                                                costs, not to exceed USD 50,000 per aniinal

         ATTRACTION PROPERTY                                    30 days

         AUTOMATIC COVERAGE                                     90 days, not to exceed USD 50,000,000 per location

         CIViL OR MILITARY AUTHORITY                            30 days

         CLAIMS PREPARATION COSTS                               USD 500,000

         COMMUNICABLE DISEASE                                   USD 1,000,000 annual aggregate
         RESPONSE
                                                                The Company's maximum limit of liability for
                                                                INTERRUPTION BY COMMUNICABLE DISEASE
                                                                and this coverage comt>ined shall not exceed
                                                                USD 1,000,000 annual aggregate.

         CONTINGENT TIME ELEMENT                                 USD 25,000,000
         EXTENDED

         CRISIS MANAGEMENT                                       30 days

         cyber event                                             l.        USD 1,000,000 annual aggregate for.DATA
                                                                           RESTORATION and OWNED NETWORK
                                                                           TNTERRUPTTONcomhined
                           '
                                                                 2.        USD 1,000,000 annual aggregate for DATA

                                                                                                               /

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                                                                                                         Account No. 1-56297
                                                                                                          Policy No. 1056630
c/
 ......, ,./
           ~


                                                                          SERVICE PROVIDER PROPERTY DAMAGE
                                                                          and DAT A SERVICE PROVIDER TTME
                                                                          ELEMENT combined

                                                                 3.       USD 25,000,000 annual aggregate for physical
                    /
                                                                          loss or damage to stock in process or finished
                                                                          goods manufactured by or for th~ Insured caUSf:d
                                                                          by or resulting from a cyber event that impacts
                                                                          the processing, manufacturing, or testing of such
                                                                          property or while it is otherwise being worked on

                DAT A RESTORATION                                USO 10,000,000 annual aggregate
       /                                           .,
                DATA SERVICE PROVIDER                            USO 5,000,000 annual aggregate
                PROPERTY DAMAGE and DATA
                SERVICE PROVIDER TIME
                ELEMENT combined

                earth movement                                   USO 250,000,000 annual aggregate


                ERRORS AND OMISSIONS                             USO 50,000,000

                EXPEDTTTNG COSTS and EXTRA                       USO 50,000,000
                EXPENSE combined                                                                                        '
                EXTENDED PERIOD OF                               365 days
                LIABILITY

                fines or penalties for breach of                 USO 100,000
                contract or for late or nonc.:ompletion
                of orders combined

                flood                                             USD 250,000,000

                GROSS PROFIT                                      12 months

                historic buildings                                125% of the last reported building value ·

                                                                                           \
                INGRESS/EGRESS                                    30 days

                INTERRUPTION BY                                   365 days, not to exceed USO 1,000,000 annual
                COMMUNICABLE DISEASE                              aggregate

                                                                  The Company's maximum limit of liability for
                                                                  COMMUNICABLE DISEASE RESPONSE and this
                                                                  coverage combined shall not exceed USO 1,000,000
                                                                  annual aggregate.




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        LAND AND WATER                                          USD 250,000 annual aggregate
        CONTAMINANT CLEANUP,
        REMOVAL AND DISPOSAL

         landscape gardening                                    USD 2,500,000

         LEASEHOLD INTEREST                                     USD 50,000,000

         LOGISTICS EXTRA COST                                   1 80 days, not to exceed 200% of the normal cost


         MISCELLANEOUS PROPERTY                                 l.         USD 50,000,000 per location, not to exceed USD
                                                                           2,500,000 per location for property located
                                                                           outside the United States of America, Canada and
                                                                           the Commonwealth of Pue1to Rico for prope1ty at
                                                                           a   location

                                                                2.         USD 12,500,000, not to exceed USD 2,500,000
                                                                           for property located outside the United States of
                                                                           America, Canada and the Commonwealth of
                                                                           Puerto Rico for property not at a location

         racing shells, support launches and                    USD 2,500,000, not to exceed USD 500,000 while on
         sailing dinghies                                       water

         RESEARCH AND DEVELOPMENT                               USO 50,000,000

         SERVICE INTERRUPTION                                   USD 50,000,000
         PROPERTY DAMAGE and
         SER V lCE lNTERRUPTlON TlME
         ELEMENT combined

         TERRORISM                                              USD 5,000,000 annual aggregate, not to exceed the
                                                                following:

                                                                 l.        USO 5,000,000 annual aggregate for
                                                                           AUTOMATIC COVERAGE, ERRORS AND
                                                                           OMISSIONS, MISCELLANEOUS PROPERTY
                                                                           and TEMPORARY REMOVAL OF PROPERTY
                                                                           comhined

                                                                2.         USD 5,000,000 annual aggregate for flood when
                                                                           caused by or resulting from terrorism

                                                                The limits for TERRORISM shall not include the actual
                                                                cash value portion of fire damage caused by terrorism.

                                                                The limits for TERRORISM do not apply to the ·
                                                                SUPPLEMENTAL UNITED STATES CERTIFIED
                                                                ACT OF TERRORISM ENDORSEMENT($).



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         valuable papers and records                            USD 25,000,000, not to exceed USD 50,000 per item for
                                                                irreplaceable valuable papers and records not on a
                                                                schedule on file with the Company



11.     DEDUCTIBLES

        Subject to the deductible general provisions stated below, in each case of loss covered by this
        Policy the following deductibles apply per occurrence, for all coverages involved, unless otherwise
        stated:


         Location No. 15, ID no. 0060 as                        l.    For the combustion turbine unit:
         described on the Schedule of
         Locations                                                    Property Damage: USO 100,000

                                                                     Time Element: 45 day equivalent contribution

                                                                2.    For the steam turbine units:

                                                                      Property Damage: USD 50,000

                                                                     Time Element: 20 day equivalent contribution

         cyber event                                            USD 250,000 for DAT A RESTORATION and OWNED
                                                                NETWORK INTERRUPTION

         DATA SERVICE PROVIDER                                  USD 250,000
         PROPERTY DAMAGE and DATA
         SERVICE PROVIDER TIME
         ELEMENT

         LOGISTICS EXTRA COST                                   USD 100,000

         wind                                                   As respects wind loss associated with or occurring in
                                                                conjunction with a storm or weather disturbance
                                                                identified by name by any meteorological authority,
                                                                whether or not named prior to the loss for property
                                                                located at Location No. 01, ID No. 0166 as described on
                                                                the Schedule of Locations:

                                                                Property Damage: 1%, per building, per location

                                                                Time Element: 1%, per building, per location

                                                                The above are subject to a minimum of USD 100,000 for
                                                                Property Damage and Time Element combined per
                                                                location.

         All Other Loss                                         USO 100,000




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        Deductible General Provisions:

        In each case of loss covered by this Policy, the Company will be liable only if the Insured sustains a
        loss, including any insured TIME ELEMENT loss, in a single occurrence greater than the
        applicable deductible specified above, and only for its share of that greater amount.

        A.      For SERVICE INTERRUPTION loss, when a deductible is not specifically stated as
                applying to SERVICE INTERRUPTION, the deductible applied to the SERVICE
                INTERRUPTION loss will be the deductible that would apply if the cause of the interruption
                happened at the insured location that sustains the interruption of the specified services.

        B.      For CONTINGENT TIME ELEMENT EXTENDED loss, when a deductible is not
                specifically stated as applying to CONTINGENT TIME ELEMENT EXTENDED, the
                deductible for CONTINGENT TlME ELEMENT EXTENDED loss will be determined as
                though the contingent time element location was an insured location under this Policy.

        C.      The stated earthquake deductible will be applied to eaithquak:e loss. The stated flood
                deductible will be applied to flood loss. The stated wind deductible will be applied to wind
                loss. The provisions of item E below will also be applied to each.

        D.      When this Policy insures more than one location, the deductible will apply against the total
                loss covered by this Policy in an occurrence except that a deductible that applies on a per
                location basis, if specified, will apply separately to each location where the physical damage
                happened regardless of the number of locations involved in the occurrence.

        E.       Un less stated otherwise, if two or more deductihles apply to an occurrence, the total to he
                 deducted will not exceed the largest deductible applicable. For the purposes of. this
                 provision, when a separate Property Damage and a separate Time Element deductible apply,
                 the sum of the two deductibles will be considered a single deductible. If two or more
                 deductibles apply on a per location basis in an occurrence, the largest deductible applying
                 to each location will be applied separately to each such location.

        F.       When a % deductible is stated above, whether separately or combined, the deductible is
                 calculated as follows:

                 Property Damage - % of the value, per the Valuation clause(s) of the PROPERTY
                 DAMAGE section, of the property insured at the location where the physical damage
                 happened.

                 Time Element - % of the full Time Element values that would have been earned in the 12
                 month period following the occurrence by use of the facilities at the location where the
                 physical damage happened, plus that proportion of the full Time Element values at all other
                 locations where TIME ELEMENT loss ensues that was directly affected by use of such
                 facilities and that would have heen earned in the 12 month period following the occurrence.

        G.       For insured physical loss or damage:

                 1)   to insured fire prote.ction equipment; or

                 2)   from water or other substance discharged from fire protection equipment of the type
                      insured,



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                the applicable ·deductible applying to items 1 or 2 above only will be reduced by fifty percent
                (50%), per occurrence. However, this provision will not apply to loss or damage resulting
                from fire or earth movement regardless of whether claim is made for such fire or earth
                movement.




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                                                   PROPERTY DAMAGE

1.      INSURED PROPERTY

        This Policy insures the following property, uniess otherwise excluded elsewhere in this Policy, as
        described in the INSURANCE PROVIDED provision or within 1,000 feet/300 metres thereof, to
        the extent of the interest of the Insured in such property:

        A.       Real Property, including new buildings and additions under construction, in which the
                 Insured has an insurable interest.

        B.       Personal Property:.

                 1)    owned by the Insured.

                 2)   consisting of the Insured's interest as a tenant in improvements and betterments. In the
                      ·event of physical loss or damage, the Company agrees to accept and consider the Insured
                       as sole and unconditional owner C>f improvements and betterments, notwithstanding any
                       contract or lease to the contrary.·

                 3)    of officers and employees of the Insured.

                 4)    of others in the Insured's custody to the extent the Insured is under obligation to keep
                       insured for physical loss or damage insured by this Policy.

                 5)     of others in the Insured's custody to the extent of the lnsured's legal liability for insured
                        physical loss or damage to Personal Property. The Company will defend that portion of
                        any suit against the Insured that alleges such liability and seeks damages for such
                      · insured physical loss or damage. The Company may, without prejudice, investigate,
                        negotiate and settle any claim or suit as the Company deems expedient.

        This Policy also insures the interest of contractors and su~contractors in insured property during
        construction at an insured location or within 1,000 feet/300 metres thereof, to the extencof the
        Insured' s legal liability for insured physical loss or damage to such property. Such interest of
        contractors and subcontractors is limited to the property for which they have been hired to perform
        work and such interest will not extend to ;my TIME ELEMENT coverage provided under this
        Policy.

2.      EXCLUDED PROPERTY

        The following exclusions apply unless otherwise stated in this Policy:

        This Policy excludes:

         A.      accounts, bills, currency, deeds, evidences of debt or title, fine arts, money, notes, rare books
                 or securities.

         B.      precious metal in bullion form.

         C.     · land and any substance in or on land. However, this exclusion does not apply to:

                 1)    landscape gardening.



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                 2). car parks, parking lots, pavement, roadways, railways, transformer enclosures or
                     walkways.

                 3)   fill beneath car parks, parking lots, pavement, roadways, railways, transformer
                      enclosures, walkways, or buildings and structures.

        D.       water. However, this exclusion does not apply to:

                 1)   water that is contained within any enclosed tank, piping system or any other processing
                      equipment.

        E.       animals except as provided by the ANIMALS coverage of the Policy, standing timber or
                 growing crops.

        f.       watercraft or aircraft, except when unfueled and manufactured by the insured or watercraft ·
                 consisting of racing shells, support launches and sailing dinghies.

        G.       vehicles of officers or employees of the Insured or vehicles othe1wise insured for physical
                 loss or damage.

        H.       underground mines or mine shafts or any property within such mine or shaft.

        I.       darns or dikes.

        J.       property in transit, except as otherwise provided by this Policy.

        K.       property sold hy the Tnsured under conditional sale, trust agreement, installment plan or other
                 deferred payment plan after delivery to customers, except as provided by the
                 INSTALLMENT OR DEFERRED PAYMENTS coverage of this Policy.

        L.       electronic data, programs or software, except when incorporated into physical goods
                 intended to be sold as:

                1)     finished goods manufactured by the Insurcd;-or

                2)     other merchandise not manufactured by the Insured,

                or as otherwise provided by the DAT A RESTORATION coverage of this Policy.

        M.       personal property of students.

3..     EXCLUSIONS

        In addition to the exclusions elsewhere in this Policy, the following exclusions apply unless
        otherwise stated:

        A.       This Policy excludes:

                 1)    indirect or remote loss or damage.

                 2)    intenuption of husiness, except to the extent provided hy this Policy.

                 3)    loss of market or loss of use.


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                4)    loss or damage or deterioration arising from any delay.

                5)    mysterious disappearance, loss or shortage disclosed on taking inventory, or any
                     ·unexplained loss.

                6)    loss from enforcement of any law or ordinance:

                      a) regulating the construction, repair, replacement, use or removal, including debris
                         removal, of any property; or

                      b) requiring the demolition of any property, including the cost in removing its debris;

                      except as provided by the DECONTAMINATION COSTS and LAW AND
                      ORDINANCE coverages of this Policy.

                7)     loss resulting from the voluntary parting with title or possession of property if induced
                     . by any fraudulent act or by false pretence.

       B.       This Policy excludes loss or damage directly or indirectly caused by or resulting from any of
                the following regardless of any other cause or event, whether or not insured under this
                Policy, contributing concurrently or in·any other sequence to the loss:

                1)    nuclear reaction or nuclear radiation or radioactive contamination. However:

                      a) if physical damage by fire or sprinkler leakage results, then only that resl,llting
                         damage is insured; hut not including any loss or damage due to nuclear reaction,
                         radiation or radioactive contamiriation.

                      b) this Policy does insure physical damage directly caused by sudden and accidental
                         radioactive contamination, including resultant radiation damage, from material used
                         or stored or from processes conducted on the insured location, provided that on the
                         date of loss, there is neither a nuclear reactor.nor any new or used nuclear fuel on
                         the insured location. This coverage docs not apply to any act, loss or damage
                         excluded in item B2f of this EXCLUSIONS clause.

                      This exclusion Bl and the exceptions in Bla and Blb do not apply to any act, loss or
                      damage which also comes within the terms of exclusion B2b of this EXCLUSIONS
                      clause.

                2)    a)   hostile or warlike action in time of peace or war, including action in hindering,
                           combating or defending against an actual, impending or expected attack by any:

                           (i) government or sovereign power (de jure or de facto);

                           (ii) military, naval or air force; or

                           (iii) agent or authority of any party specified in i or ii above.

                      b) discharge, explosion or use of any nuclear device, weapon or material employing or
                         involving nuclear fission, fusion or radioactive force, whether in time of peace or
                         war and regardless of who commits the act.



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                      c) insurrection, rebellion, revolution, civil war, usurped power, or action taken by
                         governmental authority in hindering, combating or defending against such an event.

                      d) seizure or destruction under quarantine or custom regulation, or confiscation by
                         order of any governmental or public authority.

                      e) risks of contraband, or illegal transportation or trade.·

                      f)    terrorism, including action taken to prevent, defend against, respond to or retaliate
                             against terrorism or suspected terrorism, except to the extent provided in the
                             TERRORISM coverage of the Policy. However, if direct loss or damage by fire
                           · results from any of these acts (unJess committed by or on behalf of the Insured),
                             then this Policy covers only to the extent of the actual cash value of the resulting
                             direct loss or damage by fire to property insured. This coverage exception for such
                             resulting fire loss or damage does not apply to:

                            (i) direct loss or damage by fire which results from any other applicable exclusion
                                in the Policy, including the discharge, explosion or use of any nuclear device,
                                weapon or material employing or involving nuclear fission, fusion or radioactive
                                force, whether in time of peace or war and regardless of who commits the act.

                            (ii) any coverage provided in the TIME ELEMENT section of this Policy or to any
                                 other coverages provided in this Policy.                                           ·

                            Any act which satisfies the definition of terrorism shall not be considered to be
                            vandalism, malicious mischief, riot, civil commotion, or any other risk of physical
                            loss or damage covered elsewhere in this Policy.

                            If any act which satisfies the definition of terrorism also comes. within the terms of
                            item B2a of this EXCLUSIONS clause then item B2a applies in place of this item
                            B2f exclusion.

                            If any act which satisfies the definition of terrorism also comes within the terms of
                            item B2b of this EXCLUSIONS clause then item B2b applies in place of this item
                            B2f exclusion. ·

                            If any act which satisfies the definition of terrorism also comes within the terms of
                            item B2c of this EXCLUSIONS clause then item B2c applies in place of this item
                            B2f exclusion .

                           . If any act excluded herein involves nuclear reaction, nuclear radiation or radioactive
                            contamination, this item B2f exclusion applies in place of item B 1 of this
                            EXCLUSIONS clause.

                 3) any dishonest act, including hut not limited to theft, committed alone or in collusion with
                    others, at any time:

                       a) by an Insured or any proprietor, partner, director, trustee, officer, or employee of an
                          Insured; or

                       b) by any proprietor, partner, director, trustee, or officer of any business or entity (other
                          than a common carrier) engaged by an Insured to do anything in connection with
                          property insured under this Policy.


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                      This Policy does insure acts of direct insured physical damage intentionally <;aused by an
                      employee of an Insured or any individual specified in b above, and done without the
                      knowledge of the Insured. This coverage does not apply to any act excluded in B2f of
                      this EXCLUSIONS clause. In no event does this Policy cover loss by theft by any
                      individual specified in a orb above.

                 4)   lack of the following services:

                      a) incoming electricity, fuel, water, gas, steam or refrigerant;

                      b) outgoing sewerage;

                      c) incoming or outgoing voice, data or video,

                      all when caused by an event off the insured location, except as provided in the DAT A
                      SERVICE PROVIDER and SERVICE INTERRUPTION coverages of this Policy. But,
                      if the lack of such a service directly causes insured physical damage on the insured
                      location, then only that resulting damage is insured.

                5)    earth movement for Location No. 23 as described on the Schedule of Locations.

        C.       This Policy excludes the following, but, if physical damage not excluded by this Policy
                 results, then only that resulting damage is insured:

                 1)   faulty workmanship, material, construction or design from any cause.

                 2)   loss or damage to stock or material attributable to manufacturing or processing
                      operations while such stock or material is being processed, manufactured, tested, or
                      otherwise worked on.

                 3)   deterioration, depletion, rust, corrosion or erosion, wear and tear, inherent vice or latent
                      defect.

                 4)   settling, cracking,.shrinking, bulging, or expansion of:

                      a) foundations (including any pedestal, pad, platform or other property supporting
                         machinery).

                      b) floors.

                      c) pavements.

                      d) walls.

                      e) ceilings.

                      f)    roofs.

                 5)   a) changes of temperature damage (except to machinery or equipment); or

                       b) changes in relative humidity damage,



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                       all whether atmospheric or not.

                 6)    insect, animal or vermin damage.

                 7)    loss or damage to the interior portion of buildings under construction'from rain, sleet or
                       snow, whether or not driven by wind, when the installation of the roof, walls or windows
                       of such buildings has not been completed.

        D.       This Policy excludes the following unless directly resulting from other physical damage not
                 excluded by this Policy:

                 1)    contamination, and any cost due to contamination including the inability to use or
                       occupy property or any cost of making property safe or suitable for use or occupancy. If
                       contamination due only to the actual not suspected presence of contaminant(s) directly
                       results from other physical damage not excluded by this Policy, then only physical
                       damage caused by such contamination may be insured. This exclusion D 1 docs not
                       apply to radioactive contamination which is excluded elsewhere in this Policy.

                 2)    shrinkage.

                 3)    changes in color, flavor, texture or finish.

4.      APPLICATION OF POLICY TO DA TE OR TIME RECOGNITION

        With respect to situations caused by any date or time recognition problem by electronic data
        processing equipment or media (such as the so-called Year 2000 problem), this Policy applies as
        follows.                                                                                    ·

        A.       This Policy does not pay for remediation, change, correction, repair or assessment of any
                 date or time recognition problem, including the Year 2000 problem, in any electronic data
                 processing equipment or media, whether preventative or remedial, and whether before or
                 after a loss, including temporary protection and preservation of property. This Policy does
                 not pay for any TIME ELEMENT loss resulting from the foregoing remediation, change,
                 correction, repair or assessment.

        B.       Failure of electronic data processing equipment or media to correctly recognize, interpret,
                 calculate, compare, differentiate, sequence, access ·or process data involving one or more
                 dates or times, including the Year 2000, is not insured physical loss or damage. This Policy
                 does not pay for any such incident or for any TIME ELEMENT loss resulting from any such
                 incident.             ·

        Subject to all of its te1ms and conditions, this Policy does pay for physical loss or damage not
        excluded by this Policy that results from a failure of electronic data processing equipment or
        media to correctly recognize, 1.nterpret, calculate, compare, differentiate, sequence, access or
        process data involving one or more dates or times, including the Year 2000. Such covered resulting
        physical loss or damage does not include any loss, cost or expense described in A or B above. If
        such covered resulting physical loss or damage happens, and if this Policy provides TIME .
        ELEMENT coverage, then, subject to all of its terms and con<4tions, this Policy also covers any
        insured Time Element loss directly resulting therefrom._                   ·            ·




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5.      VALDA TION

        Adjustment of the physical loss amount under this Policy will be computed as of the date of loss at
        the place of the loss, and for no more than the interest of the lnsurcd.

        Unless stated otherwise in an Additional Coverage, adjustment of physical loss to property will be
        subject to the following:

        A.      On stock in process, the value of raw materials and labor expended plus the proper
                proportion of overhead charges.

        B.      On finished goods manufactured by the Insured, the regular cash selling price, less all
                discounts and charges to which the finished goods would have been subject had no loss
                happened.

        C.      .On raw materials, supplies or other merchandise not manufactured by the Insured:

                 1)   if repaired or replaced, the actual expenditure incurred in repairing or replacing the
                      damaged or destroyed property; or

                2)    if not repaired or replaced, the actual cash value.

        D.      On exposed films, records, manuscripts and drawings that are not valuable papers and
                records, the value hlank plus the cost of copying infonnation from hack-up or from originals
                of a previous generation. These costs will not include research, engineering or any costs of
                restoring or ret.:reating lust information.

        E.      .On property that is damaged by fire and such fire is the result of ~errorism, the actual cash
                 value of the fire damage loss. Any remaining fue damage loss shall be adjusted according to
                 the terms and conditions of the Valuation clause(s) in this section of the Policy and shall be
                 subject to the limit(s) of liability for TERRORISM, and if stated the limit of liability for
                 SUPPLEMENTAL UNITED STATES CERTIFIED ACT OF TERRORISM
                 ENDORSEMENT(S), as shown in the LIMITS OF LIABILITY clause in the
                 DECLARATIONS section.

        F.       On books (other than rare books), pre-recorded audio or videotapes, records or laser discs,
                 microforms, periodicals, music scores, pamphlets, slides, maps, photographs and charts that
                 are not valuable papers and records, the cost of repairing or replacing such property with
                 like kind or quality including the costs of acquisition, processing and cataloging

         G.      On the following locations, the actual cash value:

                 Location No. 15, ID No. 0010, 0023, 0078, 0114, 0115 and 0200 as described on the
                 St.:he<lule of Locations.

        H.       On all other property, the lesser of the following:

                 1) The cost to repair.

                 2)   The cost to rebuild or replace on the same site with new materials of like size, kind and
                      quality.




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                3)   The cost in rebuilding, repairing or replacing on the same or another site, but not to
                     exceed the size and operating capacity that existed on the date of loss.

                4)   The selling price of real property or machinery and equipment, other than stock, offered
                     for sale on the date of loss.

                S)   The cost to replace unrepairable electrical or mechanical equipment, including computer
                     equipment, with equipment that is the most functionally equivalent to that damaged or
                     destroyed, even if such equipment has technological advantages and/or represents an
                     improvement in function and/or forms part of a program of system enhancement.

                6) . The increased cost of demolition, if any, directly resulting from insured loss, if such
                     property is scheduled for demolition.

                7)   The unamortized value of improvements and betterments, if such property is not
                     repaired or replaced at the Insured' s expense.

                8)   The actual cash value if such property is:

                      a) useless to the Insured; or

                      b) not repaired, replaced or rebuilt on the same or another site within two years from
                         the_ date of loss, unless such time is extended by the Company.          . -

                The Insured may elect not to repair or replace the insured real or personal property lost,
                damaged or destroyed. Loss settlement may be elected on the lesser of repair or replacement
                cost hasis if the proceed" of such loss settlement are expended on other capital expenditures
                related to the Insured 's operations within two years from the date of loss. As a condition of
                collecting under this item, such expenditure must be unplanned as of the date of loss and be
                made at an insured location under this Policy. This item does not extend to LAW AND
                ORDINANCE.

6.      ADDITIONAL COVERAGES

        This Policy includes the following Additional Coverages for insured physical loss or damage.

        These Additional Coverages:

        l)      are subject to the applicable limit of liability;

        2)      will not increase the Policy limit of liability; and

        3)      a.re subject to the Policy provisions, including applicable exclusions and deductibles,

        all as shown in this section and elsewhere in this Policy.

        CYBER ADDITIONAL COVERAGES

        A.      DATA RESTORATION

                This Policy covers insured physical loss or damage to electronic data, programs or
                software.



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                With respect to physical loss or damage to electronic data, programs or software caused
                by or resulting from a cyber event, this Additional Coverage will apply when the time to
                recreate or restore such data, programs or software with due diligence and dispatch is in
                excess of 48 hours.

                For the purposes of this Additional Coverage, insured data, programs or software can be
                anywhere worldwide, including while in transit, except in Cuba, Iran, North Korea, Sudan,
                Syria or Crimea Region of Ukraine.

                This Additional Coverage also covers:

                1)   the cost of the following reasonable and necessary actions taken by the Insured provided
                     such actions are taken due to actual insured physical loss or damage to electronic data,
                     programs or software:

                     a) actions to temporarily protect and preserve insured electronic data, programs or
                        software.

                     b) actions taken for the temporary repair of insured physical loss or damage to
                        electronic data, programs or software.

                     c) actions taken to expedite the permanent repair or replacement of such damaged
                        property.

                2)   the reasonable and necessary costs incurred by the Insured to temporarily protect or
                     preserve insured electronic data, programs or software against immediately impending
                     insured physical loss or damage to electronic data, programs or software. Tn the
                     event that there is no physical loss or damage, the costs covered under this item will be
                     subject to the deductible that would have applied had there been such physical loss or
                     damage.

                Costs recoverable under this Additional Coverage are excluded from coverage elsewhere in
                this Policy.

                This Additional Cov_erage excludes loss or damage to data, programs or software when
                incorporated into physical goods intended to be sold as:

                1)   finished goods manufactured by the Insured; or

                2)   other merchandise not manufactured by the Insured ..

                DATA RESTORATION Exclusions: As respects DATA RESTORATION_, the following
                applies:

                1)   the exclusions in the EXCLUSIONS clause of this section do not apply except for A 1,
                     A2, A6, Bl, B2, B3a B4 and B5.

                2)    the following additional exclusions apply:

                      This Policy exclug_~s the following, but, if physical damage not excluded by this Policy
                      results, then only that resulting damage is insured:

                      a) errors or omissions in processing or copying.


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                      b) loss or damage to data, programs or software from errors or omissions in
                         programming or machine instructions.

                      c) deterioration, inherent vice, vermin or wear and tear.

                DAT A RESTORATION Valuation: On property covered under this Additional Coverage the
                loss amount will not exceed:

                1) ·the cost to repair, replace or restore data, programs or software including the costs to
                    recreate, research and engineer;

                2)    if not repaired, replaced or restored within two years from the date of loss, the blank
                      value of the media.

        B.      DATA SERVICE PROVIDER PROPERTY DAMAGE

                This Policy covers insured physical loss or damage to insured property at an insured location
                when such physical loss or damage results from·the interruption of off-premises data
                processing or data transmission services by reason of any accidental event at the facilities
                of the provider of such services that immediately prevents in whole or in part the delivery. of
                such provided services.

                For the purposes of this Additional Coverage:

                1)    fac..:ilities of the provider of off-premises data processing or data transmission
                      services can be located worldwide except in Cuba, Iran, North Korea, Sudan, Syria or
                      Crimea Region of Ukraine, and

                2)    an accidental event to satellites will be considered an accidental event at the facilities of
                      the provider.

                This Additional Coverage will apply when the period of interruption of off-premises data
                processing or data transmission services as described below is in excess of 24-hours.

                The period of interruption of off-premises data processing or data transmission services
                is the period starting with the time when an interruption of provided services happens; and
                ending when with due diligence and dispatch the service could be wholly restored.

                Additional General Provisions:

                 1)   The Insured will immediately notify the company providing off-premises data
                      processing or data transmission services of any interruption of such services.

                 2)   The Company will not be liable if the interruption of such services is caused directly or
                      indirectly by the failure of the Insured to comply with the terms and conditions of ariy
                      contracts the Insured has entered into for such specified services.

                 DATA SERVICE PROVIDER PROPERTY DAMAGE Exclusions: As respects DATA
                 SERVICE PROVIDER PROPERTY DAMAGE, the following applies:

                 1) Items B4 and C5 of the EXCLUSIONS clause in this section do not apply except for B4
                 with respect to:


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                     a) incoming electricity, fuel, water, gas, steam or refrigerant; and

                     b) outgoing sewerage.

                2)   The following additional exclusions apply:

                     This Policy excludes loss or damage directly or indirectly caused by or resulting from
                     the following regardless of any other cause or event, whether or not insured under this
                     Policy, contributing concurrently or in any other sequence to the loss:

                     a) earth movement for property located in California, in the New Madrid Seismic
                        Zone or in the Pacific Northwest Seismic Zone.           ·

                     b) terrorism.

       OTHER ADDITIONAL COVERAGES

       A.      ACCIDENTAL INTERRUPTION OF SERVICES

                This Policy covers physical damage resulting from changes in temperature or relative
                humidity to insured property at an insured location when such ·changes in temperature or
                relative humidity result from the interruption of services consisting of electricity, gas, fuel,
                steam, water or refrigeration by reason of any accidental event, other than insured physical
                loss or damage, at the insured location.

                This Additional Coverage will apply ~hen the period of service interruption as described
                below is in excess of 24 hours.

                The period of service interruption is the period starting with the time when an interruption of
                specified services happens; and ending when with due diligence and dispatch the serv_ice
                could be wholly restored.

        B.      ACCOUNTS RECEIVABLE

                This Policy covers the following directly resultingfrom insured physical loss or damage to
                accounts receiyahle records while anywhere within this Policy's TERRITORY, including
                while in transit: .

                1)    any shortage in the collection of accounts receivable.

                2)   the interest charges on any loan to offset such impaired collection pending repayment of
                     such uncollectible sum. Unearned interest and service charges on deferred payment
                     accounts and normal credit losses on bad debts will be deducted in determining the
                     amount recoverable.

                3)    the reasonable and necessary cost incurred for material and time required to re-establish
                      or reconstruct accounts receivable records excluding any costs covered by any other
                      insurance.

                4)    any other necessary and reasonable cos~ incurred to reduce the loss, to the extent the
                      losses are reduced.



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                Accounts receivable records will include accounts receivable records stored as electronic
                data.

                In the event of loss, the Insured will:

                 1)   use all reasonable efforts, including legal action, if necessary, to effect collection of
                      outstanding accounts receivable.

                2)    reduce loss by use of any suitable prope1ty or service:

                      a) owned or controlled by the Insured; or

                      b) obtainable from other sources.

                3)    reconstruct, if possible, accounts receivable records so that no shortage is sustained.
                                        .                                            .

                The settlement of loss will be made within 90 days from the date of physical· loss or damage.
                All amounts recovered by the Insured on outstanding accounts receivable on the date of loss
                will belong and be paid to the Company _up to the amount of loss paid by the Company. All
                recoveries exceeding the amount paid will belong to the Insured.

                 ACCOUNTS RECEIVABLE Exclusions: As respects ACCOUNTS RECEIVABLE, the
                 following additional exclusions apply:

                This Policy does not insure against shortage resulting from:

                 1)   hookkeeping, accounting or hilling enors or omissions; or

                 2)   a) alteration, falsification, manipulation; or

                      b) concealment, destruction or disposal,

                      of accounts receivable records committed to conceal the wrongful giving, taking,
                      obtaining or withholding of money, securities or other property; but only to the extent of
                      such wrongful giving, talcing, obtaining or withholdin~.

        C.       ANIMALS

                 This Policy covers insured physical loss or damage to animals.

                 ANIMALS Exclusions: As respects ANIMALS, the following additional exclusions apply:

                 This Policy excludes the following unless directly resulting from other physical damage not
                 excluded by this Policy:

                 1)   death, destruction, or injury from natural causes.

                 2) escape.

                 3) sickness, disease, infection, infestation or illness.

                 4)    error or omission in processing and/or failure-on the part of the Insured to prnvide
                       nourishment, medicine or sanitary conditions.


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                5)    contamination of animals, food or medicine.

                ANIMALS Valuation: Ort property covered_ under this Additional Coverage the loss amount
                will not exceed:

                1)    the purchase price of commercially available laboratory animals, including overhead,
                      laboratory, research and experimentation costs.

        D.      AUTOMATICCOVERAGE

                This Policy covers insured physical loss or damage to insured property at any location
                purchased, leased, rented or otherwise acquired by the Insured after the inception date of this
                Policy.

                This Additional Coverage applies:

                1)    from the date of purchase, lease, rental or acquisition.

                2)    until the frrst of the following:

                      a) the location is bound by the Company.

                      h) agreement is reached that the location will not he insured under this Policy.

                      L:)   the time limit shown in the LIMITS OF LIABILITY dause in the
                            DECLARATIONS section has been reached. The time limit begins on the date that
                            University Risk Manager has received notification of the purchase, lease, rental,
                            acquisition or utilization of the property.

        E.      BRANDS AND LABELS

                If branded or labeled insured property is physically da.IIJ.aged and the Company elects to take
                all or any part of that property, the Insured may at the Company's expense:

                 1)   stamp "salvage" on the property or its containers; or

                 2) remove or obliterate the brands or labels,

                 if doing so will not damage the prope11y.

                 The Insured must relabel such property or its containers to be in compliance with any
                                                        1
                 applicable law.

        F.       CLAIMS PREPARATION COSTS

                 This Policy covers the actual costs incurred by the Insured:

                 1)   of reasonable fees payable to the lnsured's: accountants, architects, auditors, engineers,
                      or other professionals; and

                 2) the cost of using the Insured's employees,



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                for producing and certifying any particulars or details contained in the Insured's books or
                documents, or such other proofs, information or evidence required by the Company resulting
                from insured loss payable under this Policy for which the Company has accepted liability.

                This Additional Coverage will not cover the fees and costs of:

                1)    attorneys, public adjusters, and loss appraisers, all including any of their subsidiary,
                      related or associated entities either-partially or wholly owned by them or retained by
                      them for the purpose of assisting them,

                2)    loss consultants who provide consultation on coverage or negotiate claims.

                This Additional Coverage is subject to the deductible that applies to the loss.

        G.      COMMUNICABLE DISEASE RESPONSE

                If a location owned, leased or rented by the Insured has the ac.:tual not suspec.:ted presenc.:e of
                communicable disease and access to such location is limited, restricted or prohibited by:

                1)    an order of an authorized governmental agency regulating the actual not suspected
                      presence of communicable disease; or

                2)    a decision of an Officer of the Insured as a result of the actual not suspected presence of
                      communicable disease,

                this Polic.:y c.:overs the reasonable and nec.:essary c.:osts inc.:urred by the Insured at suc.:h
                location with the actual not suspected presence of communicable disease for the:

                1)    cleanup, removal and disposal of the actual not suspected presence of communicable
                      diseases from insured property; and

                2)    actual costs of fees payable to public relations services or actual costs of using the
                      lnsured's employees for reputation management resulting from the actual not suspected
                      presence of communicable diseases on insured property:

                This Additional Coverage will apply when access to such location is limited, restricted or
                prohibited in excess of 48 hours.   ·

                This Additional Coverage does not cover any costs incurred due to any law or ordinance
                with which the lnsurcd was legally obligated to comply prior to the actual not suspected
                presence of communicable disease.                                    ·

                COMMUNICABLE DISEASE RESPONSE Exclusions: As respects COMMUNICABLE
                DISEASE RESPONSE, the following additional exdusion applies:

                This Policy excludes loss or damage directly or indirectly caused by or resulting from the
                following regardless of any other cause or event, whether or not insured under this Policy,
                contributing concurrently or in any other sequence to"the loss:

                 1)   terrorism.




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        H.      CONSEQUENTIAL REDUCTION IN VALUE

                This Policy covers the reduction in value of insured merchandise that is a part of pairs, sets,
                or components, directly resulting from insured physical loss or damage to other insured parts
                of pairs, sets or componerits of such merchandise. If settlement is based on a constructive
                total loss, the Insured will surrender the undamaged parts of such merchandise to the
                Company.

        I.      CONTROL OF DAMAGED PROPERTY

                This Policy gives control of physically damaged property consisting of finished goods
                manufactured by or for the Insured as follows:

                 1)   the Insured will have full rights to the possession and control of damaged property in the
                      event of insured physical damage to such property provided proper testing is done to
                      show which property is physically damaged_.

                 2)   the Insured using reasonable judgment will decide if the physically damaged property
                      can be reprocessed or sold.

                 3)   property so judged by the Insured to be unfit for reprocessing or selling will not be sold
                      or disposed of except by the Insured, or W1th the Tnsured's consent.

                 4)   any salvage proceeds received will go to the:

                      a) Company at the time of loss settlement; or

                      b) lnsured if received prior to loss settlement and such proceeds wiU reduce the amount
                         of loss payable accordingly.

        J.       DEBRIS REMOVAL

                 This Policy covers the reasonable and necessary. costs incurred to remove debris from an
                 insured location that remains as a direct result of insured physical loss or damage.

                 This Additional Coverage does not cover the costs of removal of:

                 1)   contaminated uninsured prope1ty; or

                 2)   the contaminant in or on uninsured property,

                 whether or not the contamination results from insured physical loss or damage. This
                 Additional Coverage covers the costs of removal of contaminated insured property or the
                 contaminant in or on insured property only if the contamination, due to the actual not
                 suspected presence of contaminant(s), of the debris resulted directly from other physical
                 damage not excluded hy the Policy.

        K.       DECONTAMINATION COSTS

                 lf insured property is contaminated as a direct result of insured physical damage and there is
                 in force at the time of the Loss any law or ordinance regulating contamination due to the
                 actual not suspected presence of contaminant(s), then this Policy covers, as a direct result of
                 enforcement of such law or ordinance, the increased cost of decontamination and/or removal


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                of such contaminated insured property in a manner to satisfy such law or ordinance. This
                Additional Coverage applies only to that part of insured property so contaminated due co the
                actual not suspected presence of contaminant(s) as a direct result of insured physical
                damage.

                The Company is not liable for the costs required for removing contaminated uninsured
                property or the contaminant therein or thereon, whether or not the contamination results
                from an insured event.

        L.      ERRORS AND OMISSIONS

                If physical loss or damage is not payable under this Policy solely due to an error or
                unintentional omission:

                1)    in the description of where insured property is physically located;

                2)    to indude any location:

                      a) owned, leased or rented by the Insured on ·the effective date of this Policy; or

                      b) purchased, leased or rented by the Insured during ·the term of this Policy; or

                3)    that results in cancellation of the property insured under this Policy;

                this Policy covers such physical loss or damage, to the extent it would have provided
                coverage had such errµr or unintentional omission not been made.

                It is a condition of this Additional Coverage that any error or unintentional omission be
                reported by the Insured to the Company when discovered and corrected.

        M.      EXPEDITING COSTS

                This ·Policy covers the reasonable and necessary costs incurred:

                 1)   for the temporary repair of insured physical damage to insured property;

                2)    for the temp~rary replacement of insured equipment suffering insured physical damage;
                      and

                 3)   to expedite the permanent repair or replacement of such damaged prope1ty.

                This Additional Coverage does not cover costs recoverable elsewhere in this Policy,
                including the cost of permanent repair or replacement of damaged property.

        N.       INSTALLMENT OR DEFERRED PAYMENTS

                 This Policy covers insured physical loss or damage to personal property of the type insured
                 sold by the Insured under a conditional sale or trust agreement or any installment or deferred
                 payment plan and after such property has been delivered to the buyer. Coverage is limited to
                 the unpaid balance for such property.




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                 In the event of loss to property sold under deferred payment plans, the Insured will use all
                ·,reasonable efforts, including legal action, if necessary, to effect collection of outstanding
                 amounts due or to regain possession of the property.

                There is no liability under this Policy for loss:

                1)    pertaining to products recalled including, but not limited to, the costs to recall, test or to
                      advertise such recall by the Insured.

                2)    from theft or conversion by the buyer of the property after the buyer has taken
                      possession of such property.

                3)    to the extent the buyer continues-payments.

                4)    not within the TERRlTOR Y of this Policy.

                INSTALLMENT OR DEFERRED PAYMENTS Valuation: On property covered under this
                Additional.Coverage the loss amount will not exceed the lesser of the following:

                1)    total amount of unpaid installments less finance charges.

                2)    actual cash value of the property at the time of loss.

                3)    cost to repair or replace with material of like size, kind and quality.

        0.      LAND AND WATER CONTAMINA.NT CLEANUP, REMOVAL AND
                DISPOSAL

                This Policy covers the reasonable and necessary cost for the cleanup, removal and disposal
                of the actual not suspected presence of contaminant(s) from uninsured property consisting
                of land, water or any other substance in or on land at the insured location if the release, .
                discharge or dispersal of such contaminant(s) is a direct result of insured physical loss or
                damage to insured property.

                This Policy does not cover the cost to cleanup, remove and dispose of contamination from
                such property:

                 1)   at any location insured for Personal Property only.

                2)    at any property insured under AUTOMATIC COVERAGE, ERRORS AND
                      OMISSIONS or MISCELLANEOUS PROPERTY coverage provided by this Policy.

                 3)   when the Insured fails to give written notice of loss to the Company within 180 days
                      after inception of the loss.

        P.      LAW AND ORDINANCE

                This Policy covers the costs as described herein resulting from the Insured's obligation to
                comply with a law or ordinance, provided that:

                 1) such law or ordinance is enforced as· a direct result of insured physical loss or damage at an
                    insured location;



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                2)    such law or ordinance is in force at the time of such loss or damage; and

                3)    such location was not required to be in compliance with such law or ordinance prior to the
                      happening of the insured physical loss or damage.

                Coverage A:

                The reasonable and necessary costs incurred by the Insured to comply with the enforcement
                of the minimum requirements of any law or ordinance that regulates the demolition,
                construction, repair, replacement or use of buildings, structures, machinery or equipment.

                As respects insured property, this Coverage A covers the reasonable and necessary coses co:

                1)    demolish any physically damaged and undamaged portions of the insured buildings,
                      structures, machinery or equipment.

                2)    repair or rebuild the physically damaged and undamaged portions, whether or not
                      demolitio!l is required, of such insured buildings, stmctures, machinery or equipment.

                The Company's maximum liability for this Coverage A at each insured location in any
                occurrence will not exceed the actual costs incurred in demolishing the physically damaged
                and undamaged portions of the insured property plus the lesser of:

                1)    the reasonable and necessary cost, excluding the cost of land, to rebuild on another site;
                      or

                2)    the cost to rehuild on the same site.

                Coverage B:

                The reasonable estimated cost to repair, replace or rebuild insured property consisting of
                buildings, structures, machinery or equipment that the. Insured is legally prohibited from
                repairing, replacing or rebuilding to the same height, floor area, number of units, configuration,
                occupancy or operating capacity, because of the enforcement of any law or ordinance that
                regulates the construction, repair, replacement or use of buildings, structures, machinery or
                equipment.

                LAW AND ORDINANCE Coverage B Valuation: On property covered under this Coverage
                B that cannot legally be repaired or replaced, the loss amount will be the difference between:

                 l) _the actual cash value; and

                2)    the cost that would have been incurred to repair, replace or rebuild such lost or damaged
                      property had such law or ordinance not been enforced at the time of loss.

                LAW AND ORDINANCE Exclusions: As respects LAW AND ORDINANCE, the
                followi11g additional exclusions apply:

                This Policy does not cover:

                 1)   any cost incurred as a direct or indirect result of enforcement of any law or ordinance
                      regulating any form of contamination.



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                 2)   any machinery or equipment manufactured by or for _the Insured, unless used by the
                      Insured in its operation at the location suffering the physical loss or damage.

        Q.       LOSS PAYMENT INCREASED TAX LIABILITY

                This Policy covers the increase in tax liability as described herein incurred by the Insured.

                Coverage A:

                The increase in tax liability from an insured loss at an insured location if the tax treatment
                of:

               · 1)   the profit portion of a loss payment under this Policy involving finished stock
                      manufactured by the Insured; and/or

                 2)   the pro±:i-t portion of a TIME ELEMENT loss payment under this Policy; .

                 is greater than the tax treatment of profits that would have been incurred had no loss
                 happened.

        R.       MACHINERY OR EQUIPMENT STARTUP OPTION

                 After insured machinery or equipment that has sustained insured physical loss or damage is
                 repaired or replaced and such machinery or equipment is undergoing startup, the following
                 applies:

                 If physical loss or damage of the type insured directly results to such machinery or
                 equipment from such startup, the Insured shall have the option of claiming such resulting
                 insured damage as part of the original event of physical loss or damage or as a separate
                 occurrence.

                 This Additional Coverage applies only:

                 1)    to the first startup event after the original repair or replacement; and

                 2)     when the first startup event happens during the term of this Policy or its renewal.issued
                      . by the Company.                                                ·

                 For the purposes of this Additional Coverage, startup means:

                 1)    the introduction into machinery or equipment of feedstock or other materials for
                       processing or handling;

                 2)    the commencement of fuel or energy supply to machinery or equipment.

        S.       MISCELLANEOUS PROPERTY

                 This Policy covers insured physical loss or damage to:

                 1)    insured property;

                 2)    property of the type insured that is under contract to be used in· a construction project at
                       an insured location:


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                      a) from the time such property is delivered to the Insured or their contractor (with
                         respect to the property under construction) _by the manufacturer or supplier;

                      b) while such property is located at a storage site; and

                      c) while such property is in transit from a storage site,to another storage site or.to a
                         construction project at an insured location,

                      that does not include any such property owned or rented by the contractor;

                while anywhere within this Policy's TERRITORY, including while in transit,

                This Additional Coverage excludes property covered elsewhere in this Policy.

                MISCELLANEOUS PROPERTY Exclusions: As respects MISCELLANEOUS
                PROPERTY, the following additional exclusions apply:

                 1)   This Policy excludes:

                      a) transmission and distribution systems not at a location.

                      b) property insured under import or export ocean marine insurance.

                      c) property shipped between continents.

                      d) airhome shipments unless hy regularly scheduled passenger airlines or air freight
                         carriers.

                      e) property of others, including the Insured's legal liability for it, hauled on vehicles
                         owned, leased or operated by the Insured when acting as a common or contract
                         carrier.

                 2)- This Policy excludes loss or damage directly or indirectly caused by or resulting from
                     the following regardless of any other cause or event, whether or not insured under this
                     Policy, contributing concurrently or in any other sequence to the loss:

                      a) earth movement for property located in California, in the New Madrid Seismic
                         Zone or in the Pacific Northwest Seismic Zone.                    ·

        T.       OPERATIONAL TESTING

                 This Policy ::overs insured physical loss or damage to insured property during the period of
                 operational testing.

                 This Additional Coverage excludes property, including stock or material, manufactured or
                 processed by the Insured.

        U.       PROTECTION AND PRESERVATION OF PROPE_RTY

                 This Policy covers:




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                1) reasonable and necessary costs incurred for actions to temporarily protect or preserve
                   insured property; provided such actions are necessary due to ~ctual, or to prevent
                   immediately impending, insured physical loss or damage to such insured property.

                2)    reasonable and necessary:

                      a) . fire department firefighting charges imposed as a result of responding to a fire in, on
                           or exposing the insured property.

                      b) costs incurred of restoring and recharging fire protection systems following an
                         insured loss.

                      c) costs incurred for the water used for fighting a fire in, on or exposing the insured
                         property.

                This Additional Coverage docs not cover costs incurred for actions to temporarily protect or
                preserve insured property from actual, or to prevent immediately impending, physical loss or
                damage covered by TERRORISM coverage as provided in this section of the Policy.

                This Additional Coverage is subject to the deductible provisions that would have applied had
                the physical loss or damage happened.

        V.      SERVICE INTERRUPTION PROPERTY DAMAGE

                This Policy covers insured physical loss or damage to insured property at an insured location
                when such physical loss ur damage results from the interruption of iri.cuming services
                consisting of electricity, gas, fuel, steam, water, refrigeration or. from the lack of outgoing
                sewerage service by reason of any accidental event at the facilities of the supplier of such
                service located within this Policy's TERRITORY, that immediately prevents in whole or in
                part the delivery of such usable service.

                This Additional Coverage will apply when the period of service interruption as described
                below is in excess of 24 hours.

                The period of service interruption is the period starting with the time when an interruption of
                specified services happens; and ending when with due diligence and dispatch the service
                could be wholly restored.

                 Additional General Provisions:

                 1)   The Insured will immediately notify the suppliers of services of any interruption of such
                      services.

                 2)   The Company will nut be liable if the interruption uf such services is caused directly ur
                      indirectly by the failure of the Insured to comply with the terms and conditions of any
                      contracts the Insured has for the supply of such specified services.

                 SERVICE INTERRlWfION PROPERTY DAMAGE Exclusions: As respects SERVICE
                 INTERRUPTION PROPERTY DAMAGE, the following applies:

                 1)   The exclusions in the EXCLUSIONS clause in this section do not apply except for:

                      a) Al, A2, A3, A6, Bl, B2, and


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                      b) B4 with respect to incoming or outgoing voice, data or video, and

                      c) 01 except with respect to fungus, mold or mildew.

                 2)   The following additional exclusions apply:

                      This Policy excludes loss or damage directly or indirectly caused by or resulting from
                      the following regardless of any other cause or event, whether or not insured under this
                      Policy, contributing concurrently or in any other sequence to the loss:

                      a)• earth movement for property located in California, in the New Madrid Seismic
                          Zone or in the-Pacific Northwest Seismic Zone.

                       b) terrorism.

        W.       TEMPORARY REMOVAL OF PROPERTY

                 When insured property is removed from an insured location for the purpose of being
                 repaired or serviced or in order to avoid threatened physical loss or damage of the type
                 insured by this Potier, this Policy covers such property:

                 1) while at the premises to which such property has been moved; and

                 2)    for physical loss or damage as provided at the insured location from which such
                       property was removed.

                 This Additional Coverage does not apply to property:

                 1)    insured, in whole or in part, elsewhere in this Policy.

                 2)    msured, in whole or in part, by any other insurance policy.

                 3)    removed for normal storage, processing or preparation for sale or delivery.

        X.       TERRORISM

                 This Policy covers physical loss or damage to property as described in the INSURANCE
                 PROVIDED provision caused by or resulting from terrorism.

                 Any act which satisfies the definition of terrorism shall not be considered to be vandalism,
                 malicious mischief, riot, civil commotion, or any other risk of physical loss or damage
                 covered elsewhere in this Policy.

                 Amounts recoverable under this Additional Coverage are excluded from coverage elsewhere
                 in this Policy.

                 This Additional Coverage does not cover loss or damage which also comes within the terms
                 of either item B2a or B2c of the EXCLUSIONS clause in this section of the Policy.

                 This Additional Coverage does not in any event cover loss or damage directly or indirectly
                 caused by or resulting from any of the following, regardless of any other cause or event,



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                whether or not insured under this Policy contributing concurrently or in any other sequence
                to the loss:

                1)    that involves the use, release or escape of nuclear materials, or that directly or indirectly
                      results in nuclear reaction or radiation or radioactive contamination or that involves the
                      discharge, explosion or use of any nuclear device, weapon or material employing or
                      involving nuclear fission, fusion, or radioactive force, whether in time of peace or war
                      and regardless of who commits the act; or

                2)" that is :carried out by means of the dispersal or. application of pathogenic or poisonous
                    biological or chemical materials; or

                3)    in which pathogenic or poisonous biological or chemical materials are released, and it
                      appears that one purpose of the terrorism was to release such materials; or

                4)    that involves action taken to prevent, defend against, respond to or retaliate against
                      terrorism or suspected terrorism.

        Y.      TRANSPORTATION

                This Policy covers the following personal property, except as excluded by this Policy, while
                in transit within the TERRITOR Yof this Policy:

                 1)   owned hy the Insured.

                2)    shippe<l to customers un<ler F.O.B., C & For similar terms. The Insured's contingent
                      interest in such shipments is admitted.

                3)    of others in the actual or constructive custody of the Insured to the extent of the
                      Insured's interest or legal liability.

                4)    of others sold by the Insured, that the Insured· has agreed prior to the loss to insure
                      during course of delivery including:

                      a) when shipped by the Insured's direct contract service provider or by the Insured's
                         direct contract manufacturer to the Insured or to the Insured's customer.

                      b) when shipped by the Insured' s customer to the Insured or to the Insured' s contract
                         service provider or to the Insured's contract manufacturer.

                 Coverage Attachment and Duration:

                 1) This Additional Coverage covers from the time the property leaves the original point of
                    shipment for transit until the property arrives at the <lestinatiun.

                 2)   However, coverage on export shipments not insured under ocean cargo policies ends
                      when the property is loaded on board overseas vessels or aircraft. Coverage on import
                      shipments not insured under ocean cargo policies begins after discharge from overseas
                      vessels or aircraft.

                 This Additional Coverage:

                 1)   covers general average and salvage charges on shipments covered while waterborne.


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                2)    insures physical loss or damage caused by or resulting from:

                      a) unintentional acceptance of fraudulent bills of lading, shipping or messenger
                         receipts.

                      b) improper parties having gained possession of property through frau<;I or deceit.

                Additional General Provisions:

                1) This Additional Coverage will not inure directly or indirectly" to the benefit of any carrier
                   or bailee.

                2)    The Insured has permission, without prejudicing this insurance, to accept:

                      a) ordinary bills of lading used by carriers;

                      b) released bills of l~ding;

                      c) undervalued bills of.lading; and

                      d) shipping or messenger receipts.

                3) The insured may waive subrogation against railroads under side track agreements.

                Except as otherwise stated, the Insured will not enter into any special agreement with carriers
                releasing them from their common law or statutory liahility. ·

                TRANSPORTATION Exclusions: As respects TRANSPORTATION, the f~llowing applies:

                1)    the exclusions in the EXCLUSIONS clause of this section do not apply except for Al
                      through A4, Bl through B5, Cl, C3, CS, C6, Dl through D3.

                2)    the following additional exclusions apply:

                      This Policy excludes:

                      ·a) samples in the custody of salespeople or selling agents.

                      b) property insured under import or export ocean marine insurance.

                      c) waterborne shipments, unless:

                           (i) by inland water; or

                           (ii) by coastal shipments.

                      d) waterborne shipments via Panama Canal or co and from Alaska, the Commonwealth
                         of Puerto Rico, and Hawaii.

                      e) airborne shipments unless by regularly scheduled passenger airlines or air freight
                         carriers.



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                      f)   property of others, including the Insured's legal lial?ility for it, hauled on vehicles
                           owned, leased or operated by the Insured when acting as a common or contract
                           carrier.

                      g) any transporting vehicle.

                TRANSPORTATION Valuation: On property covered under this Additional Coverage the
                loss amount will not exceed:

                 1)     Property shipped to or for the account of the Insured will be valued at actual invoice to
                        the Insured. Included iri the value are accrued costs. and charges legally due. Charges
                      · may include the Insured's commission as selling·agent.

                2)    Property sold by the Ins·ured and shipped to or for the purchaser's account will be valued ·
                      at the lnsured's selling invoice amount. Prepaid or advanced freight costs are included.

                3)    Property not under invoice will be valued:

                      a) for property of the Insured, at the valuation provisions of this Policy applying at the
                         place from which the property is being transported; or

                      b) for other property, ..at the actual cash market value at the destination point on the date
                         of loss,

                      less any charges saved which would have become due and payable upon arrival at
                      destination.

        Z.      VALUABLE PAPERS AND RECORDS

                This Policy covers insured physical loss or damage to valuable papers and records while
                an)'\vhcrc within this Policy's TERRITORY, including while in transit.

                 VALUABLE PAPERS AND RECORDS Exclusions: As respects VALUABLE PAPERS
                 AND RECORDS, the following appFes:

                 1)    the exclusions in the EXCLUSIONS clause of this section do not apply except for Al,
                       A2, A6, A7, Bl, B2, B3a and B4.

                 2)    the following additional exclusions apply:

                      This Policy excludes:

                       a) currency, money, securities.

                       b) errors or omissions in processing or copying of valuable papers and records, but, if
                          physical damage not excluded by this Policy results, then only that resulting damage
                          is insured.

                       c) deterioration, inherent vice, or wear and tear, but, if physical damage not excluded
                          by this Policy results, then only .that resulting damage is insured.

                       d) fungus, mold or mildew unless ·directly resulting from other physical damage not
                          excluded by this Policy.


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                VALUABLE PAPERS AND RECORDS Valuation: On property covered under this
                Additional Coverage the Loss amount will not exceed the lesser of the following:

                 1)   the cost to repair or restore such property to the physical ·condition that existed on the
                      date of loss.

                2)    the cost to replace.

                3)    the value, if any, designated for the item on the schedule on file with the Company.




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                                                       TIME ELEMENT

        TIME ELEMENT loss as provided in the TIME ELEMENT COVERAGES and TIME ELEMENT
        COVERAGE EXTENSIONS of this section of the Policy:

        A.      is subject to the applicable limit of liability that applies to the insured physical loss or
                damage but in no event for more than any limit of liability that is stated as applying to the
                specific TIME ELEMENT COVERAGE and/or TIME ELEMENT COVERAGE
                EXTENSION; and

        B.      will not increase the Policy limit of liability; and

        C.      is subject to thcPolicy provisions, including applicable exclusions and deductibles,

        all as shown in this section and elsewhere in this Policy.

1.      LOSS INSURED

        A.      This Policy insures TlME ELEMENT loss, as provided in the TlME ELEMENT
                COVERAGES, directly resulting from physical loss or damage of the type insured:

                 1)   to property descrihed elsewhere in this Policy and not otherwise excluded hy this Policy
                      or otherwise limited in the TIME ELEMENT COVERAGES below;

                 2)   used by the Insured, 'or for which the Insured has contracted use;

                 3)   while located as described in the INSURANCE PROVIDED provision or within 1,000
                      feet/300 metres thereof, or as described in the TEMPORARY REMOY AL Or
                      PROPERTY provision; or

                 4)   while in transit as provided by this Policy, and

                 5)   during the Periods of Liability described in this section,

                 provided such loss or damage is not at a contin~ent time element location.

        B.       This Policy insures TlME ELEMENT loss only to the extent it cannot be reduced through:

                 1)   the use of any property or service owned or controlled by the Insured;

                 2)   the use of any property or service obtainable from other sources;

                 3)   working extra time or overtime; or

                 4)   the use of inventory,

                 all whether at an insured location or at any other premises. The Company reserves the right
                 to take into consideration the combined operating results of all associated, affiliated or
                 suhsidiary companies of the Insured in determining the TTME ELEMENT loss. ·

        C.       This Policy covers expenses reasonably and necessarily incurred by the Insured to reduce.the
                 loss otherwise payable under this section of this Policy. The amount of such recoverable
                 expenses will not exceed the amount by which the loss_has been reduced.


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        D.      In determining the amount of loss payable, the Company will consider the experience of the
                business before and after and the probable experience during the PERIOD OF !-,!ABILITY.
                The probable experience will consider any increase or decrease in demand for the Insured's
                goods or services during the PERIOD OF LIABILITY, even if such increase or decrease is
                from the same event that caused physical loss or damage starting the PERIOD OF
                LIABILITY.

2.      TIME ELEMENT COVERAGES

        A.      INSURED. OPTION

                The Insured has the option to make claim based on either

               . a)   GROSS EARNINGS and EXTENDED PERIOD OF LiABILITY; or

                 b)   GROSS PROFIT,

                 as described in the TlME ELEMENT section of this Policy and subject to the applicable
                 terms and conditions as may be shown elsewhere.

                 Such option may he exercised at any time p1ior to the conditions set forth in the
                 SETTLEMENT OF CLAIMS clause in the LOSS ADJUSTMENT AND SETTLEMENT
                 section of this Policy.

                 If such claim involves more than one insured location, including interdependency at one or
                 more insured locations, such claim will be adjusted by using the single coverage option
                 chosen above.

        B.       GROSS EARNINGS

                 Measurement of Loss:

                 1)   The recoverable GROSS EARNINGS loss is the Actual Loss Sustained by the Insured
                      of the following during the PERIOD OF LIABILITY:

                      a) C':rross Earnings;

                       b) less all charges and expenses that do not necessarily continue during the interruption
                          of production or suspension of business operations or services;

                      c) plus all other earnings derived from the operation of the business.

                 2)    For the purposes of the Measurement of Loss, Gross Earnings is:

                      for manufacturing operations: the net sales value of production less the cost of all raw
                      stock, materials and supplies used in such production; or

                       for mercantile or non-manufacturing operations: the total net sales less cost of
                       merchandise sold, materials and supplies consumed in the operations or services
                       rendered _by the Insured.




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                     Any amount recovered under property damage coverage at selling price will be
                     considered to have been sold to the Insured's regular customers and will be credited
                     against net sales.

                3)   In determining the indemnity payable as the Actual Loss Sustained, the Company will
                     consider the continuation of only those normal charges and expenses that would have
                     been earned had there been no interruption of production or .suspension of business
                     operations or services.

                4)   There is recovery hereunder to the extent that the Insured is:

                      a)   wholly or partially prevented from producing goods or continuing busin~ss
                           operations or services;

                      b) unable to make up lost production within a reasonable period of time, not limited to
                         the period during which pro~uction is interrupted;
                                                                                              '
                      c) unable to continue such operations or , services during the PERIOD OF LIABILITY;
                         and

                      d) able to demonstrate a loss of sales for the operations, services or production
                         prevented.

        C.      GROSS PROFIT

                Measurement of Loss:

                1) The recoverable GROSS PROFIT loss is the Actual Loss Sustained by the Insured of the
                   following due to the necessary interruption of business during the PERIOD OF
                   LIABILITY: a) Reduction in Sales and b) Increase in Cost of Doing Business. The
                   amount payable as indemnity hereunder will be:

                      a) with respect to Reduction in Sales: The sum produced by applying the Rate of Gross
                         Profit to the amount by which the sales during the PERIOD OF LIABILITY will fall
                         short of the Standard Sales. ·1n determining the Reduction in Sales, any amount
                         recovered under property damage coverage at selling price will be credited against
                         lost sales.

                      b) with respect to Increase in Cost of Doing Business:

                           (i) the additional expenditure necessarily and reasonabfy incurred for the sole
                               purpose of avoiding or diminishing the reduction in sales which, hut for that
                               expenditure, would have taken place during the PERIOD OF LIABILITY; but

                           (ii) not exceeding the sum produced by applying the Rate of Gross Profit to the
                                amount of the reduction thereby avoided,

                      all less any sum saved during the PERIOD OF LIABILITY with respect to such of the
                      Insured Fixed Charges as may cease or be reduced because of such interruption of
                      business.

                2)    For the purposes of the Measurement of Los$:



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                      Gross Profit is:

                      The amount produced by adding to the Net Profit the amount of the Insured Fixed
                      Charges, or if there be no Net Profit the amount of the Insured Fixed Charges less that
                      proportion of any loss from business operations as the amount of the Insured Fixed
                      Charges bears to all fixed charges.

                      Net Profit is:

                      The net operating profit (exclusive of all capital receipts and accruals and all outlay
                      properly chargeable to capital) resulting from the business of the Insured at the insured
                      locations after due provision has been made for all fixed charges and other expenses
                      including depreciation but before the deduction of any taxes on profits.

                      lnsured rixed Charges is:

                      All fixed charges unless specifically excluded herein.

                      Sales is:

                      The money paid or payable to the Insured for goods sold and delivered and for services
                      rendered in the conduct of the business at an insured location.

                      Rate of Gross Profit is:

                      The rate of Gross Profit earned on the sales during the twelve full calendar months
                      immediately hefore the date of the physical loss or damage to the desc1ihed property.

                      Standard Sales is:

                      The sales during that period in the twelve months immediately before the date of the
                      physical loss or damage to the· described property which corresponds with the PERIOD
                      OF LIABILITY.

                 3) In determining the indemnity payable as the Actual Loss Sustained: ,

                      a) if any fixed charges of the business are not insured hereunder, then, in computing the
                         amount recoverable hereunder as Increase in Cost of Doing Business, that proportion
                         only of the additional expenditure will be recoverable hereunder which the sum of
                         the Net Profit and the Insured Fixed Charges bears to the sum of the Net Profit and
                         all the fixed charges.

                      b) if during the PERIOD OF LIABILITY goods will be sold or services will be
                         rendered elsewhere than at the insured locations for the benefit of the business,
                         either hy the Insured or hy others on the Tnsured's behalf, the money paid or payahle
                         in respect of such sales or services will be included in arriving at the amount of sales
                         during the PERIOD OF LIABILITY.                                                  .

                 4) The Insured will act with due diligence and dispatch in repairing or replacing physically
                    damaged buildings and equipment to the same or equivalent physical and operating
                    conditions that existed prior to the damage; and take whatever actions are necessary and
                    reasonable to minimize the loss payable hereunder.



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                GROSS PROFIT Exclusions: As respects GROSS PROFIT, the TIME ELEMENT
                EXCLUSIONS B and C of this section do not apply and the following applies instead:

                 This Policy.does not insure against any increase in loss due to damages for breach of
               · contract or for late or noncompletion of orders, or fines or penalties of any nature except.
                 fines or penalties for breach of contract or for late or noncompletion of orders.

                Coverage under GROSS PROFIT for the reduction in sales due to contract cancellation will
                include only those sales that would have been earned under the contract during the PERIOD
                OF LIABILITY.

        D;      EXTRA EXPENSE

                Measurement of Loss:

                The recoverable EXTRA EXPENSE loss will be the reasonable and necessru-y extra costs
                incurred by the Insured of the following during the PERIOD OF LIABILITY:

                1)    extra expenses to temporarily continue as nearly normal as practicable the conduct of
                      the lnsured's business;

                2)    extra costs of temporarily using property or facilities of the Insured or others; and

                3)    cost<; to purchase finished goods from third parties to fulfill orders when such orders
                      cannot be met due to physical loss or damage to the Insured's finished goods, less
                      payment received for the sale of such finished goods.

                less any value remaining at the end of the PERIOD OF LIABILITY for property obtained in
                connection with the above.

                If the Insured makes claim in accordance with the terms and conditions of the iNSURED
                OPTION clause, the PERIOD OF LIABILITY for EXTRA EXPENSE coverage will be the
                PERIOD _OF LIABILITY applicable to the Time Element coverage option selected. ·

                EXTRA EXPENSE Exclusions: As respects EXTRA EXPENSE, the following applies:

                 1) TIME ELEMENT.EXCLUSIONS C does not apply to item 3 above.

                2)    The following additional exclusions apply:

                      This Policy does not insure:

                      a)   any loss of income.

                      b) costs that usually would have been incurred in conducting the business during the
                         same period had no physical loss or damage happened.

                      c) costs of permanent repair or replacement of property that has been damaged or
                         destroyed. However, this exclusion docs not apply to item 3 above.

                      d) any expense recoverahle elsewhere in this Policy.




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       E.       LEASEHOLD INTEREST
                Measurement of Loss:

                The recoverable LEASEHOLD lNTEREST incurred by the Insured of the following:

                1)    If the lease agreement requires continuation of rent; and if the property is wholly
                      untenaritable or unusable, the actual rent payable for the unexpired term of the lease; or
                      if the property is partially untenantable or unusable, the proportion of the rent payable
                      for the unexpired term of the lease.                '

                2)    If the lease is cancelled by the lessor pursuant to the lease agreement or by the operation
                      of law; the Lease Interest for the first three months following the loss; and the Net Lease
                      Interest for the remaining unexpired term of the lease.

                3) . As used above, the following terms me~n:

                      Net Lease Interest:
                      That sum which placed at 6% interest rate compounded annually would equal the Lease
                      Interest (less any amounts other~ise payable hereunder).

                      Lease Interest:
                      The excess rent paid for the same or similar replacement property over actual rent
                      payahle plus cash honuses or advance rent paid (including maintenance or operating
                      charges) for each month during the unexpired tem1 of the Insured's lease.

                LEASEHOLD INTEREST Exclusions: As respects LEASEHOLD INTEREST, the
                following applies:

                1)    This Policy does not insure loss directly resulting from physical loss or damage to
                      Personal Property.

                2)    TIME ELEMENT EXCLUSIONS A, B. and C do not apply and the following applies
                      instead:

                      This Policy does not insure any increase in loss resulting from the suspension, lapse or
                      cancellation of any license, or from the Insured exercising an option to cancel the lease;
                      or from any act or omission of the Insured that constitutes a default under the lease.

        F.      RENTAL INSURANCE

                Measurement of Loss:

                The recoverable RENTAL INSURANCE loss is the Actual Loss Sustained by the Insured of
                the following during the PERIOD OF LIABILITY:

                 l)   the fair rental value of any portion of the property occupied by the Insured;

                2)    the income reasonahly expected from rentals of unoccupied or unrented portions of such
                      property; and                                                   ·

                3)    the rental income from the rented portions of such property according to bona fide
                      leases, contracts or agreements in force at the time of loss,


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                                all not to include noncontinuing charges and expenses.

                            RENTAL INSURANCE Exclusions: As respects RENTAL INSURANCE, TIME
                            ELEMENT EXCLUSIONS· A does not apply and the following applies instead:

                                This Policy does not insure any loss of rental income during any period in which the insured
                                property would not have been tenantable for any reason other than an insured loss.

    3.        PERIOD OF LIABILITY

              A.            The PERIOD OF LIABILITY applying to all TIME ELEMENT COVERAGES, except
                            GROSS PROFIT and LEASEHOLD INTEREST and as shown below or if otherwise
                            provided under any TIME ELEMENT COVERAGE EXTENSION, and subject to any Time.
                            Limit provided in the LTMTTS OF LTABTLTTY clause in the DECLARATIONS section, is as
                            follows:

                                1)   For building and equipment, the period:

                                     a) starting from the time of physical loss or damage of the type insured; and
                                                                                         '
                                     b) ending when with due diligence and dispatch the building and equipment could be:
I
                                         (i) repaired or replaced; and

                                         (ii) made ready for operations,

                                         under the same or equivalent physical and operating conditions that existed prior to
                                         the damage.

                                     c) not to be limited by the expiration of this Policy.

                                2)   For building and equipment under construction:

                                     a) the equivalent of the above period of time will be applied to the level of business that
                                        would have been reasonably achieved after construction and startup would have
                                        been completed had no physical damage happened; and

                                     b) due consideration will be given to the actual experience of the business compiled
                                        after completion of the construction and startup.

                                3) For stock-in-process and mercantile stock, including finished goods not manufactured hy'
                                   the Insured, the time required with the exercise of due diligence and dispatch:

                                     a) to restore stock in process to the same state of manufacture in which it stood at the
                                        inception of the interruption of production or suspension of business operations or
                                        services; and

                                     b) to replace physically damaged mercantile stock.

                                     This item does not apply to RENTAL INSURANCE.

                                4)   For raw materials and supplies, the period of time:


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                       a)" of actual interruption of production or suspension of operations or services resulting
                           from the inability to get suitable raw materials and supplies to replace similar ones
                           damaged; but

                       b) limited to that period for which the damaged raw materials and supplies would have
                          supplied operating needs.

                5)     If water:

                       a) used for any manufacturing purpose, including but not limited to as a raw material or
                          for power;

                      · b) stored behind dams or in reservoirs; and

                       c) on any insured location,

                       is released as the result of physical damage of the type insured to such dam, reservoir or
                       connected equipment, the Company's liability for the actual interruption of production
                       or suspension of operations or services due to inadequate water supply will not extend
                       beyond 30 consecutive days after the damaged dam, reservoir or connected equipment
                       has been repaired or replaced.

                       This item does not apply to RENTAL INSURANCE.

                6)     For physically damaged exposed films, records, manuscripts and drawings, the time
                       required to copy from hackups or from originals of a previous generation. This time
                       does not include research, engineering or_ any other time necessary to restore or recreate
                       lost information.

                       This item does not apply to RENTAL INSURANCE.

                 7)    For physically damaged or destroyed property covered under DATA RESTORATION,
                       the period:

                       a) struting from the time of physical loss or damage to electronic data, programs or
                          software; and

                       b) ending when with due diligence and dispatch the electronic data, programs or
                          software could have been recreated or restored under the same or equivalent physical
                          and operating conditions that existed prior to the physical loss or damage.

                       This item does not apply to RENT AL INSURANCE.

        B.       The PERIOD OF LTABTLTTY applying to GROSS PROFIT is as follows:

                 1) The period:

                       a) starting from the time of physical loss Qr damage of the type insured; and

                       b) ending not later than the period of time shown in the LIMITS OF LIABILITY clause
                          of the DECLARATIONS section,



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                      during which period the results of the business shall be directly affected by such
                      damage.

                      c) not to be limited by the expiration of this Policy.

                2)    For property under construction, the period:

                      a) starting on the date that production, business operation or service would have
                         commenced if physical damage of the type insured had not happened; and

                      b) ending noc lacer than the period ofcime shown in the LIMITS OF LIABILITY clause
                         of the DECLARATIONS section,

                      during which period the results of the business shall be directly affected by such
                      damage.

                      c) not to be limited by the expiration of this Policy.

                      The Rate of Gross Profit and Standard Sales will be based on the experience of the
                      business after construction is completed and the probable experience during the
                      PERIOD Of' LIABILITY.

        C.      The PERIOD OF LIABILITY does not include any additional time due to the lnsured's
                inability to resume operations for any reason, including but not limited to:

                1)    making changes to the buildings, structures, machinery or equipment except as provided
                      in the LAW AND ORDINANCE clause in the PROPERTY DAMAGE section.

                2)    restaffing or retraining employees. However, this item does not apply to additional time
                      needed to train staff to use new machinery or· equipment that replaces machinery or
                      equipment that suffered insured physical loss or damage, provided such training is
                      completed within 90 consecutive days after the new machinery or equipment has been
                      installed.

                If two oi:- more Periods of Liability apply such periods will not be cumulative.

4.      TIME ELEMENT EXCLUSIONS

        In addition to the exclusions elsewhere in this Policy, the following exclusions apply to TIME                       ...
        ELEMENT loss:

        This Policy does not in.sure:

        A.      Any loss during any idle period, including but not limited to when production, operation,
                service or delivery or receipt of goods would cease, or would not have taken place or would
                have been prevented due to:                                                ·

                 1) physical loss or damage not insured by this Policy on or off of the insured location.

                 2)   planned or rescheduled shutdown.

                 3) strikes or other work stoppage.



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                4)    any other reason other than physical loss or damage insured under this Policy.

        B.       Any increase in loss due to:

                 1)   suspension, cancellation or lapse of any lease, contract, license or orders.

                 2)   damages for breach of contract or for late or noncompletion of orders.

                 3)   fines or penalties of any nature except fines or penalties for breach of contract or for late
                      or noncompletion of orders.                                                    ·

                 4)   any other consequential or remote loss.

        C.       Any loss resulting from physical Loss or damage to finished goods manufactured by the
                 insured, or the time required for their reproduction.

        D.       Any loss resulting from.the actual cash value portion of direct physical loss or damage by
                 fire caused by or resulting from terrorism. ·

5.      TIME ELEMENT COVERAGE EXTENSIONS

        This Policy also insures TIME ELEMENT loss, as provided by the TIME ELEMENT
        COVERAGES of this Policy, for the TIME ELEMENT COVERAGE EXTENSIONS described
        helow.

        CYBER TIME ELEMENT COVERAGE EXTENSIONS

        A.       DATA SERVICE PROVIDER TIME ELEMENT

                 This Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by the
                 Insured during the period of interruption at an insured location of off-premises data
                 processing or data transmission services, when the interruption is caused by any accidental
                 event at the facilities of the provider of such services that immediately prevents in whole or
                 in part the delivery of such provided services.

                 For the purposes of this Extension:

                 1)    facilities of the provider of off-premises data processing or data transmission
                       services can be located worldwide except in Cuba, Iran, North Korea, Sudan, Syria or
                       Crimea Region of Ukraine, and

                 2)    an accidental event to satellites will be considered an accidental event at the facilities of
                       the provider.

                 This Extension will apply when the period of interruption of off-premises dat~ processing
                 or data transmission services is in excess of 24 hours.

                 Additional General Provisions:

                 1) The Insured will immediately notify the company providing off-premises·data
                    processing or data transmission services of any interruption of such services.




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                2) .The Company wiH not be liable if the interruption of such services is caused directly or
                   indirectly by the failure of the Insured to comply with the terms and conditions of any
                   contracts the Insured has entered into for such specified services.

                Coverage provided in this Extension is excluded from coverage elsewhere in this Policy.

                This Extension does not cover Actual Loss Sustained and EXTRA EXPENSE incurred by
                the Insured covered by OWNpD NETWORK INTERRUPTION coverage as provided in this
                section of the Policy.

                DATA SERVICE PROVIDER TIME ELEMENT Exclusions: As respects DATA SERVICE
                PROVIDER TIME ELEMENT, the following applies:

                1)    Item B4 of the EXCLUSIONS clause in the PROPERTY DAMAGE section does not
                      apply except for B4 with respect to:

                      a) incoming electricity, fuel, water, gas, steam or refrigerant; and

                      b) outgoing.sewerage.

                2)    The following additional exclusions apply:

                      This Policy excludes loss or damage directly or indirectly caused by or resulting from
                      the following regardless of any other cause or event, whether or not insured under this
                      Policy, contributing concurrently or in any other sequence to the loss:

                      a) earth movement for property located in California, in the New Madrid· Seismic
                         Zone or in the Pacific Northwest Seismic Zone.

                      b) terrorism.

                As used above, the period of interruption of off-premises data processing or data
                transmission services:·              ··

                1)    is the period starting with.the time when an interruption of provided services happens;
                      and ending when with due diligence and dispatch the service could be wholly restored
                      and the location receiving the service could or would have resumed nom1al operations
                      following the restorations of service under the same or equivalent physical and operating
                      conditions as provided by the PERIOD OF LIABILITY clause in this section.

                2)    is limited to only those hours during which the Insured would or could have used
                      service(s) if it had been available.

                3) does not extend to include the interruption of operations caused by any reason other than
                   intenuption of the provided service(s).

        B.      OWNED NETWORK INTERRUPTION

                This Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by the
                Insured during the period of interruption directly resulting from:




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                 1)   the failure of the Insured's electronic data processing equipment or medfa to operate,
                      provided that such failure is the direct result of a cyber event directed at the NAMED
                      INSURED; or

                 2)   the Insured's reasonable action to temporarily protect the Insured's electronic data
                      processing equipment or media against an actual or immediately impending cyber
                      event directed at the NAMED INSURED, provided such action is necessary to prevent
                      failure of the Insured's electronic data processing equipment or 111edia to operate.

                 For the purposes of this Extension, the Insured's electronic data processing equipment or
                 media can be located worldwide except in Cuba, Iran, North Korea, Sudan, Syria or Crimea
                 Region of Ukraine.

                 As respects item 1 above, this Extension will apply when the period of interruption is in
                 excess of 48 hours.                                                                ·

                 As used above, the period of interruption:·

                 1)   is the period starting when the Insured's electronic data processi~g equipment or
                      media fails to operate and ending when with due diligence and dispatch, the Insured' s
                      electronic data processing equipment or media could be restored to the same or
                      equivalent operating condition that existed prior to the failure.

                 2)   does not includ~ the additional time to make changes to the lnsured's electronic data
                      processing equipment or media.

        SUPPLY CHAIN TIME ELEMENT COVERAGE EXTENSIONS

        A.       CIVIL OR MILITARY AUTHORITY

                 This Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by the
                 Insured during the PERIOD OF LIABILITY if an order of civil or military authority limits,
                 rt,'!stricts or prohibits partial or total access to an insured location provided such order is the
                 direct result of physical damage of the type insured at the insured location or within five
                 statute miles/eight kilometres of it.

                 This Extension does not apply to LEASEHOLD lNTEREST.

                 The PERIOD OF LIABILITY for this· TIME ELEMENT COVERAGE EXTENSION will
                 be:

                 The period of time:

                 1)    starting at the time of such physical damage; and

                 2)    ending not later than the number of consecutive days shown in the LlMlTS OF
                       LIABILITY clause in the DECLARATIONS section,

                 this period of time is part of and no( in addition to any PERIOD OF LTABTLJTY applying to
                 any coverage provided in the TIME ELEMENT section.




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        B.       CONTINGENT TIME ELEMENT EXTENDED

                This Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by the
                Insured during the PERIOD OF LIABILITY directly resulting from physical loss or damage
                of the type insured to property of the type insured at contingent time element locations
                located within the TERRITORY of this Policy.

                 As respects CONTINGENT TIME ELEMENT EXTENDED:

                 1)   Time Element loss recoverable under this Extension is extended to include the following
                      TIME ELEMENT COVERAGE EXTENSIONS:

                      CIVIL OR MILITARY AUTHORITY
                      CONTINGENT TIME ELEMENT EXTENDED
                      DAT A SERVICE PROVIDER TTME ELEMENT
                      DELAY IN STARTUP
                      EXTENDED PERIOD OF LIABILITY
                      INGRESS/EGRESS
                      ON PREMISES SER VICES
                      SERVICE INTERRUPTION TIME ELEMENT

                 2)   The Insured will influence and cooperate with the contingent time element location in
                      every way and take any reasonable and necessary action to mitigate the loss payable
                      hereunder.

                 3) TIME ELEMENT EXCLUSIONS C does not apply.

                 CONTINGENT TIME ELEMENT EXTENDED Exclusions: As respects CONTINGENT
                 TIME ELEMENT EXTENDED, the following additional exclusions apply:

                 This Policy docs not insure loss resulting from:

                .1)   lack of incoming or outgoing transmission of voice, data or video.

                 2)   earth movement as respects a direct or indirect customer, supplier, contract
                      manufacturer or contract service provider located in California, in the New Madrid
                      Seismic Zone or in the Pacific Northwest Seismic Zone.

                 3)   physical loss or damage caused by or resulting from terrorism, regardless of any other
                      cause or event; whether or not insured under this Policy, contributing concurrently or in
                      any other sequence of loss.

        C.       INGRESS/EGRESS

                 This Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by the
                 insured during the PERlOD OF LlABlLlTY due to the necessary interruption of the
                 Insured's business due to partial or total physical prevention of ingress to or egress from an
                 insured location, whether or not the premises or property of the Insured is damaged,
                 provided that such prevention is a direct result of physical damage of the type insured to
                 property of the type insured.

                 INGRESS/EGRESS Exclusions: As respects INGRESS/EGRESS, the following additional
                 exclusions apply:                                ·


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                This Policy does not insure loss resulting from:

                1)    lack of incoming or outgoing service consisting of electric, fuel, gas, water, steam,
                      refrigerant, sewerage and voice, data or video ..

                2)    picketing or other action by strikers except for physical damage not excluded by this
                      Policy.

                3)    physical loss or damage caused by or resulting from terrorism, regardless of any other
                      cause or event, whether or not_ insured under this Policy, contributing concurrently or in
                      any other sequence to the loss.

                The PERIOD OF LIABILITY for this TIME ELEMENT COVERAGE EXTENSION will
                be:

                The period of time:

                 1)   starting at the time of such physical damage; and

                2)    ending not later than the number of consecutive days shown in the LIMITS OF
                      LIABILITY clause in the DECLARATIONS section,

                this period of time is part of and not in addition to any PERIOD Or LlABlLITY apply1ng to
                any coverage provided in the TIME ELEMENT section.

        D.      LOGISTICS EXTRA COST

                This Policy covers the extra cost incurred by the Insured during the PERIOD OF
                LIABILITY due to the disruption of the normal movement of goods or materials:

                 1)   directly between insured locations; or

                 2)   directly between an insured location and a location of a direct customer, supplier,
                      contract manufacturer or contract service provider to the Insured,

                 provided that such disruption is a direct result of physical los~ or damage of the type insured
                 to property of the type insured located within the TERRITORY of this Policy.

                 Measurement of Loss:

                 The recoverahle extra cost loss will he the reasonahle and necessary extra costs incurred hy ·
                 the Insured of the following:

                 1)   extra costs to temporarily continue as nearly normal as practicable the movement of
                      goods or materials.

                 This Extension will apply when the PERIOD OF LIABILITY is in excess of 48 hours except
                 168 hours applies for earth movement and/or flood and/or wind.

                 LOGTSTTCS EXTRA COST Exclusions: As respects LOGTSTTCS EXTRA COST, the
                 following additional exclusions apply:



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               , This Policy does not insure:

                1)    any loss resulting from disruption in the movement of goods or materials between
                      contingent time element locations.

                2)    any loss resulting from disruption of incoming or outgoing services consisting of
                      electricity, gas, fuel, steam, water, refrigeration, sewerage and voice, data or video.

                3)    any loss of income.

                4)    costs that usually would have been incurred in conducting the business during the same
                      period had there been no disruption of normal movement of goods or materials.

                5)    costs of permanent repair or replacemeqt of property that has been damaged or
                      destroyed.                                                               ·

                6)    any expense recoverable elsewhere in this Policy.

                7)      any loss resulting from disruption caused by or resulting from terrorism, regardless of
                      . any other cause or event, whether or not insured under this Policy, contributing
                        concurrently or in any other sequence to the loss.

                 8)   any loss resulting from disruption caused by loss or damage from earth movement in
                      California, in the New Madrid Seismic Zone or in the Pacific Northwest Seismic
                      Zone.

                9)    ahy loss resulting from· disruption caused ·hy physical loss or damage to personal
                      property of the Insured while in transit.

                The PERIOD OF LIABILITY for this TIME ELEMENT COVERAGE EXTENSION will
                be:

                The period of time:

                 1)   star'ting at the time of physical loss or damage causing the disruption of the normal
                      movement of goods or materials directly between insured locations; or directly between
                      th·e insured location and the location of the direct customer, supplier, contract
                      manufacturer or contract service provider to the Insured, and

                 2)   ending not later than:

                       a)       when w1th due diligence and dispatch the normal movement of goods or materials
                                directly between insured locations; or directly between the insured location and the
                                location ·of the direct customer, supplier, contract manufacturer or contract service
                                provider to the Tnsured could he resumed; OT

                       b) the number·of consecutive days shown in the LIMITS OF LIABILITY clause of the
                          DECLARATIONS section.

        E.       SERVICE INTERRUPTION TIME ELEMENT

                 This Policy covers the,Actual Loss Sustained and EXTRA EXPENSE incurred by the
                 Insured during the period of service interruption at an insured location when the loss is


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                caused by the interruption of incoming services consisting of electricity, gas, fuel, steam,
                water, refrigeration or from the lack of outgoing sewerage service by reason of any
                accidental event at the facilities of the supplier of such service located within this Policy's
                TERRITORY, that immediately ,prevents in whole or in part the delivery _of such usable
                services.

                This Extension will apply when the period of service interruption is in excess of 24 hours.

                Additional General Provisions:

                 1) The Insured will immediately notify the suppliers of services of any interruption of such
                    ·services.

                2)    The Company will not be.liable if the interruption of such services is caused directly or
                      indirectly by the failure of the Insured to comply with the terms and conditions of any
                      contracts the Insured has for the supply of such specified services.

                SERVICE INTERRUPTION TIME ELEMENT Exclusions: As respects SERVICE
                INTERRUPTION TIME ELEMENT, the following applies:

                 1) The exclusions in the EXCLUSIONS clause in the PROPERTY DAMAGE section do
                    not apply except for:

                      a) Al, A2, A3, A6, Bl, B2, and

                      b) B4 with respect to incoming or outgoing voice, data or video, and

                      c) Dl except with respect to fungus, mold or mildew.

                2)    The following additional exclusions apply:

                      This Policy excludes loss or damage directly or indirectly caused by or resulting from
                      the following regardless of any other cause or event, whether or not insured under this
                      Policy, contributing concurrently or i_n any other sequence to the loss:

                      a) earth movement for property located in California,. in the New Madrid Seismic
                         Zone or in the Pacific Northwest Seismic Zone.

                      b) terrorism.

                 As used above, the period of service interruption:

                 1)   is the period starting with the time when an interruption of specified services happens;
                      and ending when with due diligence and dispatch the service could be wholly restored
                      and the location receiving the service could or would have resumed normal operations_
                      following the restorations of service under the same or equivalent physical and operating
                      conditions as provided by the PERIOD OF LIABILITY clause in this section.

                 2)   is limited _to only those hours during which the Insured would or could have used
                      service(s) if it had been available.

                 3) does not extend to include the interruption of operations caused by any reason other than
                    interruption of the specified service(s).


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        ADDITIONAL TIME ELEMENT COVERAGE EXTENSIONS

        A.      ATTRACTION PROPERTY

                This Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by the
                Insured during the PERIOD OF LIABILITY directly resulting from physical loss or damage
                of the type insured to property of the type insured that attracts business to an insured .
                location and is within 1 statute mile/1.6 kilometres of the insured location.

                ATTRACTION PROPERTY Exclusions: As respects ATTRACTION PROI>ERTY, the
                following additional exclusion applies:              ·

                This Policy does not insure loss resulting from:

                 1). physical loss or damage caused by or resulting from terrorism, regardless of any other
                      cause or event, whether or not insured under this Policy, contributing concurrently or in
                      any other sequence to the loss.

                The PERIOD OF LIABILITY for this TIME ELEMENT COVERAGE EXTENSION will
                be:

                The period of time:

                 1)   starting at the time of such physical damage; arid

                2)    ending not later than the number of consecutive days shown in ):he LIMITS OF
                      LlABlLITY clause in the DECLARATIONS section.

        B.       CRISIS MANAGEMENT

                This Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by the
                Insured during the PERIOD OF LIABILITY if'an order of civil or military authority limits,
                restricts or prohibits partial or total access to an insured location, provided such order is a
                direct result of:

                 1)   a violent crime, suicide, attempted suicide, or_ armed rohhery; or

                 2)   a death or bodily injury caused by a workplace accident;

                 at such insured location.

                 For the purposes of this Extension only, a workplace accident shall be considered a sudden,
                 fortuitous event that happens during working-hours and arises out of work performed in the
                 course and the scope of employment.

                 This Extension of coverage will apply when the PERIOD OF LIABILITY is in excess of 4
                 ~~-                                                                                             .

                 CRISIS MANAGEMENT Exclusions: As respects CRISIS MAN'AGEMENT, the following
                 additional exclusion applies:                           ·




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                 This Policy excludes loss or damage directly or indirectly caused by or resulting from the
                 following regardless of any other cause or event, whether or not insured under this Policy,
                 contributing concurrently or in any other sequence to the loss:

                 1)   terrorism.

                 The PERIOD OF LIABILITY for this TIME ELEMENT COVERAGE EXTENSION will
                 be:

                 The period of time:

                 1)   starting with the time the civil or military authority prohibits access; and

                 2)   ending not later than the number o~ consecutive days shown in the LIMITS OF
                      LIABILITY clause in the DECLARATIONS section.

        C.       DELAY IN STARTUP

                 GROSS EARNINGS or GROSS PROFIT and EXTRA EXPENSE are extended to cover the
                 Actual Loss Sustained incurred by the Insured during the PERIOD OF LIABILITY due to
                 the reasonable and necessary delay in startup of business operations directly resulting from
                 physical loss or damage of the type insured to insured property under construction at an
                 insured location.

        D.       EXTENDED PERIOD OF LIABILITY

                 The GROSS EARNINGS coverage is extended to cover the reduction in sales resulting
                 from:

                 1) -the interruption of business as covered by GROSS EARNINGS;

                 2)   for such additional length of time as would be required with the exercise of due
                      diligence and dispatch to restore the Insured's business to the condition that would have
                      existed had no loss happened; and

                 3) commencing with the date on which the liability of the Company for loss resulting from
                    interruption of business would terminate if this Extension had not been included in this
                    Policy.

                 However, this Extension does not apply to GROSS EARNINGS loss resulting from physical
                 loss or damage caused by or resulting from terrorism.

                 EXTENDED PERIOD OF LIABILITY Exclusions: As respects EXTENDED PERIOD OF
                 LIABILITY, the TIME ELEMENT EXCLUSIONS B of this section does not apply and the
                 following applies instead:

                 This Policy does not insure against any increase in loss due to damages for breach of
                 contract or for late or noncompletion of orders, or fines or penalties of any nature except
                 fines or penalties for hreach of contract or for late or noncompletion of orders.

                 Coverage under this Extension for the reduction in sales due to contract cancellation w_ill
                 include only those sales that would have been earned under the contract during the extended
                 period of liability.


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                Coverage under this Extension does not apply for more than the number of consecutive days
                shown in the LIMITS OF LIABILITY clause of the DECLARATIONS section.

        E.      INTERRUPTION BY COMMUNICABLE DISEASE

                If a location owned, leased or rented by the Insured has the actual not suspected presence of
                communicabie disease and access to such location is limited, restricted or prohibited by:

                 1)   an order of an authorized governmental agency regulating the actual not suspected
                      presence of communicable disease; or

                2)    a decision of an Officer of the Insured as a result of the actual not suspected presence of
                      communicable disease,

                this Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by the Insured
                during the PERIOD OF LIABILITY at such location with the actual not suspected presence
                of communicable disease.

                This Extension will apply when access to such location is limited, restricted, or prohibited in
                excess of 48 hours.

                INTERRUPTION BY COMMUNICABLE DISEASE Exclusions: As respects
                INTERRUPTION BY COMMUNICABLE DTSEASE, the following additional exclusions
                apply:

                This Policy does not insure loss resulting from:

                 1)   the enforcement of any law or ordinance with which the Insured was legally obligated to
                      comply prior to the time of the actual spread of communicable disease.

                 2)   loss or damage caused by or resulting from terrorism, regardless of any other cause or
                      event, whether or not insured under this Policy, contributing concurrently or in any
                      sequence of loss.

                 The PERIOD OF LIABILITY for this TIME ELEMENT COVERAGE EXTENSION will
                 be:

                 The period of time:

                 1)   starting at the time of the order of the authorized governmental agency or the Officer of
                      the Insured; and .

                 2)   ending not later than the number of consecutive days shown in the LIMITS OF
                      LIABILITY clause in the DEC LARA TIO NS section,

                 this period of time is part of and not in addition to any PERIOD OF LIABILITY applying to
                 any coverage provided in the ·TIME ELEMENT section.

        F. · ON PREMISES SERVICES

                 This Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by the
                 Insured during the PERIOD OF LIABILITY directly resulting from physical loss or damage


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                of the type insured to the following property located within 1,000 feet/300 metres of the
                insured location:

                1)    Electrical equipment and equipment used for the transmission of voice, data or video.

                2)    Electrical, fuel, gas, water, steam, refrigeration, sewerage, voice, data or video
                      transmission lines.

        G.      PROTECTION AND PRESERVATION OF PROPERTY TIME ELEMENT

                This Policy covers the Actual Loss Sustained by the Insured for a period of time not to
                exceed 48 hours prior to and 48 hours after the Insured first taking reasonable action for the
                temporary protection and preservation of property insured by this Policy provided such
                action is necessary to prevent immediately impending insured physical loss or damage to
                such insured property.

                This Extension dues nut cover the Actual Luss Sustained by the Insured to temporarily
                protect or preserve insured property from actual, or to prevent immediately impending,
                physical loss or damage covered by TERRORISM coverage ~s provided in the PROPERTY
                DAMAGE section.

                This Extension is subject to the deductible provisions that would have applied had the
                physical loss or damage happened.

        H.      RELATED REPORTED VALUES

                 If reported TIME ELEMENT values include:

                 1)   locations used by the Insured (such as branch stores, sales outlets and other plants) but
                      not listed on a schedule under this Policy; and

                 2)   a TIME ELEMENT loss would result at such locations,

                 3)   from insured physical loss or damage at an insured location,

                 then this Policy provides coverage for such resulting TIME ELEMENT loss in accordance
                 with the coverage applicable at such insured location.

        I.       RESEARCH AND DEVELOPMENT

                 The GROSS EARNINGS and GROSS PROFIT coverages are extended to insure the Actual
                 Loss Sustained by the Insured of continuing fixed charges and ordinary payroll directly
                 attributable to the interruption of research and development activities that in themselves
                 would not have produced income during the PERIOD OF LIABILITY, however, this
                 additional coverage does not cover any overhead, laboratory, research and experimental
                 costs insured elsewhere in this Policy.

                 The PERIOD OF LIABILITY for this Extension will be the period from the time of direct
                 physical loss or damage of the type _insured to the time when the property could be repaired
                 or replaced and made ready for operations, but not to be limited by the date of expiration of
                 this Policy.




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        J.      SOFT COSTS

                This Policy covers the Actual Loss Sustained incurred by the Insured of soft costs during the
                PERIOD OF LIABILITY arising out of the delay of completion of buildings and additions
                under construction directly resulting from physical loss or o.amage of the type insured to
                insured property under construction at an insured location.




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                                    LOSS ADJUSTMENT AND SETTLEMENT

I.      REQUIREMENTS IN CASE OF LOSS

        The Insured will:

        1)       give immediate written notice to the Company of any loss.

        2)       protect the property from further loss or damage.

        3)       promptly separate the damaged and undamaged property; put it in the best p·ossible order;
                 and furnish a complete inventory of the lost, destroyed, damaged and undamaged property
                 showing in detail the quantities, costs, actual cash value, replacement value and amount of
                 loss claimed.

        4)       give a signed and sworn proof of loss to the Company within 90 days after the loss, unless
               · that time is extended in writing by the Company. The proof of loss must state the knowledge
                 and belief of the Insured as to:                      ·           ·

                 a)    the time and origin of the loss.

                 h)    the Tnsured's interest and that of all others in the property.

                 c)    the actual cash_ value and replacement value of each item and the amount of loss to each
                       item; all encumbrances; and all other contracts of insurance, whether valid or not,
                       covering any of the property.

                 d)    any changes in the title. use, occupation. location. possession or exposures of the
                       property since the effective date of this Policy.

                 e)    by whom and for what purpose any location insured by this Policy was occupied on the
                       date of loss, and wh.ether or not it then stood on leased ground.

        5)       include a_ copy of all the descriptions and schedules in all policies and, if required, provide
                 verified plans and specifications of any buildings, fixtures, machinery or equipment
                 destroyed or damaged.

        6)       further, the Insured, will as often as may be reasonably required:

                 a)    exhibit to any person designated by the Company all that remains of any prope•ty;

                 b)    submit to examination u_nder oath by any person designated by the Company and sign
                       the written records of examinations; and

                 c)    produce for examination at the request of the Company:

                       (i) all books of accounts, business records, bills, invoices and other vouchers; or

                       (ii) cettified copies if originals are lost,

                 at such reasonable times and places that may be designated by the Company or its
                 representative and permit extracts and machine copies to be made.



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2.      CURRENCY FOR LOSS PAYMENT

        Losses will be adjusted and paid in· the currency of the United States of America, except in Canada
        where losses-will be paid in Canadian currency, unless d!-fcctcd othciwisc by the Insured.

3.      PARTIAL PAYMENT OF LOSS SETTLEMENT

        In the event of insured physical loss or damage determined by the Company's representatives to be
        in excess of the applicable Policy deductible, the Company will advance mutually agreed upon
        partial paynient(s), subject to the Policy's provisions. To obtain such partial payments, the lnsured
        will submit a signed and sworn Proof of Loss as describt;:d in this Policy, with adequate supporting
        documentation.

4.      COLLECTION FROM OTHERS

        The Company will not be liable for any loss to the extent that the Insured has collected for such
        loss from others.

5.      SUBROGATION

        The Insured is required to cooperate in any subrogation proceedings. The Company may require
        from the Insured an assignment or other transfer of all rights of recovery against any party for loss
        to the extent of the Compariy's payment.

        The Company will not acquire any rights of recovery that the Insured has expressly waived prior to
        a loss, nor will such waiver affect the Insured's rights under this Policy.

        Any recovery from subrogation proceedings, less costs incurred by the Company in such
        proceedings, will be payable to the Insured in the proportion that the amount of:

        l)      any applicable deductible; and/or

        2)      any provable uninsured loss,

        bears to the entire provable loss amount.

6.      COMPANY OPTION

        The Company has the option to take all or any part of damaged property at the agreed or appraised
        value. The Company must give notice to the Insured of its intention to do so within 30 days after
        receipt of Proof of Loss.

7.      ABANDONMENT

        There may be no abandonment 'of any property to the Company.

8. .    APPRAISAL

        If the Insured and the Company fail to agree on the amount of loss, each will, on the written .
        demand of either; select a competent and disinterested appraiser after:

        1)       the Insured has fully complied with all provisions of this Policy, including
                 REQUIREMENTS IN CASE OF LOSS; and

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        2)      the Company has received a signed and sworn Proof of Loss from the Insured.

        Each will notify the other of the appraiser selected w1thin 20 days of such demand.

        The appraisers will first select a competent and disinterested umpire. If the appraisers fail to agree
        upon an umpire within 30 days then, on the request of the Insured or ·the Company, the umpire will
        be selected by a judge of a court of record in the jurisdiction in which the appraisal is pending. The
        appraisers will then appraise the amount of loss, stating separately the actual cash value and
        replacement cost value as of the date of loss and the amount of loss, for each item of physical loss
        or damage or if, for TIME ELEMENT loss, the amount of loss for each TIME ELEMENT
      · coverage of this Policy.               ·

        If the appraisers fail to agree, they will submit- their differences to the umpire. An award agreed to
        in writing by any two will determine the amount of loss.
                                                       \
        The Insured and the Company will each:

        1)      pay its chosen appraiser; and

        2)      bear equally the other expenses of the appraisal and· umpire.

        A demand for APPRAISAL shall not relieve the Insured of its continuing obligation to comply
        with the terms and conditions of this Policy, including as provided under REQUIREMENTS 1N
        CASE OF LOSS.

        The Company will not he held to have waived any of its right<; hy any act relating to appraisal.

9.      SUIT AGAINST THE COMPANY

        No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or
        equity unless:

        1)      the Insured has fully complied with all the provisions of this Policy; and

        2)      legal action is started within twelve months after i_nception of the loss.

        If under the insurance laws of the jurisdiction in which.the property is located, such twelve months'
        limitation is invalid, then any such legal action must be started within the shortest limit of time
        permitted by such laws.

10.     SETTLEMENT OF CLAIMS

        The amount of loss for which the Company may be liable will be paid within 30 days after:

        A.      proof of loss as described in this Policy is received by the Company; and

        B.       when a resolution of the amount of loss is made either by:·

                 1)   written agreement between the Insured and the Company; or

                 2)   the filing with the Company of an award as provided in the APPRAISAL clause of this
                      section.


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                                                   GENERAL PROVISIONS

I.      CANCELLATION/NON-RENEWAL

        This Policy may be:

      · A.       cancelled at any time at the request of the Insured by surrendering this Policy to the
                 Company or by giving wrinen notice to the Company stating when such cancellation will
                 take effect; or

        B.       cancelled by the Company by giving the Insured not less than:

                 1) 60 days' written notice of cancellation; or

                 2)    10 days,. written notice of cancellation if the Insured fails to remit, when due, payment
                       of premium for this Policy; or

        C.       non-renewed by the Company by giving the Insured not less than 60 days' written notice of
                 non-renewal.

        Return of any unearned premium will be calculated on the customary short rate basis if the Insured
        cancels and on a pro-rata hasis if the Company cancels this Policy. Return of any unearned
        premium will be made by the Company as soon as practicable.

2.      INSPECTIONS

        The Company, at all reasonable times, will be permitted, but will nofhave the duty, to inspect
        insured property. The Company does not address life, safety or health issues.

        The Company's:

        A.       right to make inspections;

        B.       making of inspections; or

        C.       providing recommendations or other information in connection with any inspections,

        will not constitute an unde11aking, on behalf of or for the benefit of the Insured or others. The
        Company will have no liability to the Insured or any other person because of any inspection or
        failure to inspect.

        When the Company is not providing jurisdictional inspections, the Owner/Operator has the
        responsibility to assure that jurisdictional inspections are performed as required, and to assure that
        required jurisdictional Operating Certificates arc current for their pressure equipment.

3.      PROVISIONS APPLICABLE TO SPECIFIC JURISDICTIONS

        A.       If the provisions of this Policy conflict with the laws of any jurisdictions in which this Policy
                 applies, and if certain provisions are required by law to be stated in this Policy, this Policy
                 will be read so as to eliminate such conflict or deemed to include such provisions for insured
                 locations within such jurisdictions.




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        B.       The Company will provide to the Insured copies of endorsements mandated for use by the
                 laws of provinces in Canada. The endorsements modify this Policy with respect to any
                 insured property located in the province in which the endorsement applies.

        C.       The Company will provide to the Insured copies of endorsements mandated for use by the
                 laws of states in the United States of America. The endorsements modify this Policy with
                 respect to any insured property located in the state in which the endorsement applies.

        D.      · In respect of any insured property located in France or in French territories, coverage is
                  provided for loss or damage caused by or resulting from acts of terrorism committed within
                  France or within French territories, in accordance with articles L126-2, R126-l and R126-2
                  of the Insurance Code and decree 2001-1337 dated 28 December 2001.

        E.       Notwithstanding anything contained in this Policy to the contrary, there is no coverage for
                 loss or damage and any resulting TIME ELEMENT loss, as provided in the TIME
                 ELEMENT section of this Policy, caused by or resulting from the following regardless of
                 any other cause or event contributing concurrently or in any other sequence to the loss:

                 1) terrorism fur property located in Great Britain.

        F.       Coverage is provided for physical loss or damage and any resulting TIME ELEMENT loss
                 as provided in the TIME ELEMENT section of this Policy to insured property in Northern
                 Ireland occasioned by or happening through or in consequence directly or indirectly of:

                 1) riot, civil commotion and (except in respect of loss or damage and resulting TIME
                    ELEMENT loss by fire or explosion) strikers, locked-out workers or persons taking part
                    in lahor disturhances or malicious persons; and

                 2)   terrorism,

                 subject to liability of the Company only to be for the extent of the loss not recoverable by the
                 Insured under the "Criminal Damage (Compensation) (Northern Ireland) Order·1977" or
                 subsequent legislation; and to all other terms, c.onditions and limits of this Policy.

        G.       For any insured property located in Norway, this Policy insures against loss or damage to
                 insured prope11y resulting from Natural Catastrophe perils as designated in the Act of
                 Natural Perils of June 16th, 1989.

        H.       With respect to any insured property in South Africa, the following conditions additionally
                 apply:

                 Notwithstanding anything contained herein to the contrary:

                 1) This Policy does not cover loss of or damage directly or indirectly to property related to
                    or caused hy:

                       a) civil commotion, labour disturbances, riot, strike, lockout or public disorder or any
                          act or activity which is calculated or directed to bring about any of the above;

                       b) war, invasion, act of foreign enemy, hostilities or warlike operations (whether war
                          be declared or not) or civil war;                                        ·

                       c) (i) mutiny, military rising, military or usurped power, ·martial law or sta!e of siege,


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                           or any other event or cause which determines the proclamation or maintenance of
                           martial law or siege;

                           (ii) insurrection, rebellion or revolution .

                    . d) any act (whether on behalf of any organization, body or person, or group of persons)
                         calculated or directed to overthrow or influence any state or government, or any
                         provincial, local or tribal authority with force, or_by means of fear, terrorism or
                         violence;

                      e) any act which is calculated or directed· to bring about loss or damage in order to
                         further any political aim, objective or cause or to bring about any social or economic
                         change, or in protest against any state or government, or any provincial, local or
                         tribal authority, or for the purpose of inspiring fear in the public, or any section
                         thereof;

                      f)    any attempt to perform any act referred to in clause d or e above;

                      g) The act of any lawfully established authority in controlling, preventing, suppressing
                         or in any other way dealing with any event referred to in clause a, b, c, d, e or f
                         above.

                      If the Insurers allege that by reason of clauses a, b, c, d, e, f, or g of this exclusion, loss
                      or damage is not covered by this Policy, the burden of proving the c·ontrary will rest on
                      the Insured.

                 2) · This Policy does not cover loss or damage caused directly or indirectly hy or through or
                      in consequ·ence of any event for which a fund has been established in terms of the War
                      Damage Insurance and Compensation Act 1976 (No. 85 of 1976) or any similar Act
                      operative in any of the territories to which this Policy applies.

        I.       As respects the United States, its territories and possessions and the Commonwealth of
                 Puerto Rico, the definition of terrorism is declared null and void and it is agreed that an .
                 event defined as a Certified Act of Terrorism under the terms of the SUPPLEMENT AL
                 UNITED STATES CERTIFIED ACT OF TERRORISM ENDORSEMENT(S) attachc::d to
                 this Policy shall be considered an act of terrorism within the terms of this Policy. Coverage
                 recoverable under the SUPPLEMENTAL UNITED STATES CERTIFIED ACT OF.
                 TERRORISM ENDORSEMENT(S) is excluded from any other coverage under this Policy.
                 Any difference in limit between loss recoverable under the SUPPLEMENT AL UNITED
                 STATES CERTIFIED ACT OF TERRORISM ENDORSEMENT(S) and this Policy is not
                 recoverable under this Policy.

4.      LIBERALIZATION

        If during the period that insurance is in force under this Policy, any filed rules or regulations
        affecting the same are revised by statute so as to broaden the insurance without additional premium
        charge, such extended or broadened insurance will inure to the benefit of the Insured within such
        jurisdiction, effective the date of the change specified in such statute.

5.      MISREPRESENTATION AND FRAUD

         This entire Policy will be void if, whether before or after a loss, an Insured has:



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         A.     willfully concealed or misrepresented any material fact or circumstance concerning this
                insurance, the subject thereof, any insurance claim, or the interest of an Insured.

         B.     made any attempt to defraud the Company.

         C.     made any false swearing.

6.      LENDERS LOSS PAYEE AND MORTGAGEE INTERESTS AND OBLIGATIONS

        A.      The Company will pay for loss to specified property insured under this Policy to each
                specified Lender Loss Payee (hereinafter referred to as Lender) as its interest may appear,
                and to each specified Mortgagee as its interest may appear, under all present or future
                mortgages upon such property, in order of precedence of the mortgages.

        B.      The interest of the Lender or Mortgagee (as the case may he) 111 property insured under this
                Policy will not be invalidated by:

                 1)   any act or neglect of the debtor, mortgagor, or owner (as the case may be) of the
                      property.

                 2)   foreclosure, notice of sale, or similar proceedings with respect to the property.

                 3)   change in the title or ownership of the property.

                 4)   change to a more hazardous occupancy.

                 The Lender or Mortgagee will notify the Company of any known change in ownership,·
                 occupancy, or hazard and,. within 10 days of written request by the Company, may·pay the
                 increased premium associated with such known change. If the Lender or Mortgagee fails to
                 pay the increased premium, all coverage under this Policy will cease.

        C.       If this Policy is cancelled at the request of the Insured or its agent, the coverage for the
                 interest of the Lender or Mortgagee will terminate 10 days after the Company sends to the
                 Lender or Mo11gagee written notice of cancellation, unless:

                 1)    sooner terminated by authorization, consent, approval, acceptance, or ratification of the
                       Insured's action by the Lender or Mortgagee, or its agent.

                 2)    this Policy is replaced by the Insured, with a policy providing coverage_ for the inter_est of
                       the Lender or Mortgagee, in which event coverage under this Policy with respect to such
                       interest will terminate as of the effective date of the replacement policy, notwithstanding
                       any other provision of this Policy.

        D.       The Company may cancel this Policy and/or the interest of the Lender or Mortgagee under
                 this Policy, by giving the Lender or Mortgagee written notice 60 days prior to the effective
                 date of cancellation, if cancellation is for any reason other than non-payment. If the debtor,
                 mortgagor, or owner has failed to pay any premium due under this Policy, the Company may
                 cancel this Policy for such non-payment, but will give the Lender or Mortgagee written
                 notice 10 days prior to the effective date of cancellation. If the Lender or Mortgagee fails to
                 pay the premium due by the specified cancellation date, all coverage under this Policy will
                 cease.




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        E.      The Company has the right to invoke this J:>olicy's SUSPENSION clause. The suspension of
                insurance will apply to the interest of the Lender or Mortgagee in any machine, vessel, or
                part of any machine or vessel, subject to the suspension. The Company will provide the
                Lender or Mortgagee at the last known address a copy of the suspension notice.

        F.       If the Company pays the Lender or Mortgagee for any loss, and denies payment to the
                 debtor, mortgagor or owner, the Company will, to the extent of the payment made to the
                 Lender or Mortgagee be subrogated to" the rights of the Lender or Mortgagee under all
                 securities held as collateral to the debt or mortgage. No subrogation will impair the right of
               . the Lender or Mortgagee to sue or recover the full amount of its claim. At its option, the
                 Company may pay to the Lender or Mortgagee the whole principal due on the debt or
                 mortgage plus any accrued interest. In this event, all rights and securities will be assigned
                 and transferred from the Lender or Mortgagee to the Company, and the remaining debt or
                 mortgage will be paid to the Company.

        G.      If the Insured fails to render proof-of loss, the Lender or Mortgagee, upon notice of the
                Insured's failure to do so, will render proof of loss within 60 days of riotice and will be
                subject to the provisions of this Policy relating to APPRAISAL, SETTLEMENT OF .
                CLAIMS, and SUIT AGAINST THE COMPANY.

        H.      Other provisions relating to the interests and obligations of the Lender or Mortgagee may be
                added to this Policy by agreement in writing.

7.      OTHER INSURANCE

        A.      If there is any other insurance that would apply in the absence of this Policy, this Policy wi:11
                apply only after such insurance whether collectible or not.

        B.      In no event will this Policy apply as contributing insurance.

        C.      The Insured is permitted to have other insurance over any limits or sublimits of liability
                specified elsewhere in this Policy without prejudice to this Policy. The existence of any such
                insurance will not reduce any limit or sublimit of liability in this Policy. Any other insurance
                that would have provided primary coverage in the absence of this Policy will not be
                considered excess.            ·

        D.      The Insured is permitted to have other insurance for all, or any part, of any deductible in this
                Policy. The existence of such other insurance will not prejudice recovery under this Policy.
                If the limits of liability of such other insurance are greater than this Policy's applicable
                deductible, this Policy's insurance will apply only after such other insurance has been
                exhausted.

        E.      If this Policy is deemed to contribute with other insurance, the limit of liability applicable at
                each location, for the purposes of such contribution with other insurers, will be the latest
                amount described in this Policy or the latest location value on file with the Company.

8.      POLICY MODIFICATION

         This Policy contains all of the agreements hetween the Tnsured and the Company concerning this
         insurance. The Insured and the Company may request changes to this Policy. This Policy can be
         changed only by endorsements issued by the Company and made a part of this Policy.

         Notice to any agent or knowledge possessed by any agent or by any other person will not:


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        A.     . create a waiver, or change any part of this Policy; or

        B.      prevent the Company from asserting any rights under the provisions of this Policy.

9.      REDUCTION BY LOSS

        Claims paid under this Policy will not reduce its limit of liability, except claims paid will reduce
        any annual aggregate limit.                                                        ·

IO.     SUSPENSION

        On discovery of a dangerous condition, the Company may immediately suspend this insu_rance on
        any machine, vessel or part thereof by giving written notice to the Insured. The suspended
      . insurance may be reinstated by the Company. Any unearned premium resulting from such
        suspension will be returned by the Company.

11.     TITLES

        The titles in this Policy are only for reference. The titles do not in any way affect the provisions of
        this Policy.

12.     ASSIGNMENT

        Assignment of this Polity will not be valid except with the written consent of the Company.
                                                                                                                              r'

13.     DEFINITIONS

        The following terms when appearing in boldface in this Policy mean:

        actual cash value:
        the amount it would cost to repair or replace insured property, on the date of loss, with material of .
        li_ke kind and quality,_with proper deduction for obsolescence and physical depreciation.

        annual aggregate:
        the Company's maximum.amount payable during any policy year.

        communicable disease:
        disease which is:

        A.      transmissihle from human to human hy direct or indirect contact with an affected individual
                or the individual's discharges, or

        B.       Legionellosis.

        contaminant:
        anything that causes contamination.

        contamination:
         any condition of property due to the actual or suspected presence of any foreign substance,
         impurity, pollutant, hazardous material, poison, toxin, pathogen or pathogenic organism, bacteria,
       . virus, disease causing or illness causing agent, fungus, mold or mildew.



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        contingent time element location:
        A.    any location:

               . 1)   of a direct customer, supplier, contract manufacturer or contract service provider to the
                      Insured;

                2)    of any company under a royalty, Licensing fee.or commission agreement with the
                      Insured;

        B.      any location of a company that is a direct or indirect customer, supplier, contract
                manufacturer or contract service provider to a location described in Al above,

        not including locations of any company directly or indirectly supplying to, or receiving from, the
        Insured, electricity, fuel, gas, water, steam, refrigeration, sewage, voice, data or video.

        cyber event:
        any act involving the malicious or unauthorized acc·ess to, operation of, or use of electronic data
        processing equipment or media, regardless of any other cause or event contributing concurrently
        or in any other sequence of loss. However, physical loss or damage by fire, explosion or sprinkler
        leakage resulting from cyber event will not be considered to be loss by cyber event within the
        terms and conditions of this Policy.

        date or time recognition:
        the recognition, interpretatio'n, calculation, comparison, differentiation, sequencing, accessing or
        processing of data involving one or more dates or times, including the Year 2000.

        day equivalent contribution:
        an ·amount equivalent to the number of days stated times the following:

        the 100% daily Time Element value for the property experiencing the physical loss or damage
        including all dependent operations impaired as a result of the physical loss or damage. The 100%
        daily Time Element value of the property experiencing the physical damage will be its percentage
        contribution to the daily Time Element value that would have been earned following the
        occurrence at the location where the physical damage happened and all other locations where
        TIME ELEMENT loss ensues.

        earth movement:
        any natural or man-made earth movement including; but not limited to earthquake or landslide,
        regardless of any other cause or event contributing concurrently or in any other sequence of loss.
        However, physical loss or damage by fire, explosion, sprinkler leakage, or flood resulting from
        earth movement will not be considered to be loss by_earth movement within the terms and
        conditions of this Policy.

        electronic data processing equipment or media:
        any computer, computer system or component, hardware, network, microprocessor, microchip,
        integrated circu{t or similar devices or components in computer or non-computer equipment,
        operating systems, data, programs or other software stored on electronic, electro-mechanical,
        electro-magnetic data processing or production equipment, whether the property of the Insured or
        not.

        flood:
        flood; surface waters; rising waters; storm surge, sea surge, wave wash; waves; tsunami; tide or
        tidal water; the release of water, the rising, overflowing or breaking of boundaries of natural or


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        mane made bodies of water; or the spray therefrom; all whether driven by wind or not; or sewer
        back-up resulting from any of the foregoing; regardless of any other cause or event, whether natural
        or man-made, contributing concurrently or in any other sequence of loss. Physical loss or damage
        from flood associated with a storm or weath'er disturbance whether or not identliied by name by
        any meteorological authority, is considered to be flood within the terms of this Policy. However,
        physical loss or damage by fire; explosion or sprinkler leakage resulting from flood is not
        considered to be loss by flood within the terms and conditions of this Policy.

        historic buildings:
        buildings which are declared by a local, state or federal authority to be of historical significance or
        historical value and such property. is regulated by the enforcement of any law or ordinance
        regulating the construction, repair, replacement or use of buildings or structures at an insured
        location.

        location:
        A.     i;i.s specified in the Schedule of Locations, or

        B.      if not so specified in. the Schedule of Locations:

                1)    a building, yard, dock, wharf, pier or bulkhead (or any group of the foregoing),

                      a) bounded on all sides by public streets, clear land space or open waterways, each not
                         less than 50 feet/15 metres wide. Any bridge or tunnel crossing such street, space or
                         waterway will render such separation inoperative for the purpose of this definition.

        New Madrid Seismic Zone:
        Arkansas, United States of America, counties of:
        Arkansas, Clay, Craighead, Crittenden, Cross, Fulton, Greene, Independence, Izard, Jackson,
        Lawrence, Lee, Lonoke, Mississippi, Monroe, Phillips, Poinsett, Prairie, Randolph, Sharp, St.
        Francis, White, Woodruff

        Illinois. United States of America. counties of:
        Alexander, Bond, Clay, Clinton, Crawford, Edwards, Effingham, Fayette, Franklin, Gallatin,
        Hamilton, Hardin, Jackson, Jasper, Jefferson, Johnson, Lawrence, Madison,,Marion, Massac,
        Monroe, Perry, Pope, Pulaski, Randolph, Richland, Saline, St. Clair, Union, Wabash, Washington,
        Wayne, White, Williamson

        Indiana, United States of America, counties of:
        Gibson, Knox, Pike, Posey, Spencer, Vanderburgh, Warrick

        Kentucky, United States of America, counties of:
        Ballard, Caldwell, Calloway, Carlisle, Christian, Crittenden, Daviess., .fulton, Graves, Henderson,
        Hickman, Hopkins, Livingston, Lyon_, Marshall, McCracken, McLean, Muhlenberg, Todd, Trigg,
        Union, Webster

        Mississippi. United States of America. counties of:
        Alcorn, Benton, Coahoma, De Soto, Lafayette, Marshall, Panola, Quitman, Tate, Tippah, Tunica

        Missouri. United States of America. counties of:
        Bollinger, Butler, Cape Girardeau, Carter, Dunklin, Iron, Jefferson, Madison, Mississippi, New
        Madrid, Oregon, Pemiscot, Perry, Reynolds, Ripley, Scott, Shannon; St. Francois, St. Louis, City of
        St. Louis, Ste.-Genevieve, Stoddard, Washington, Wayne



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        Tennessee, United States of America, counties of:
        Benton, Carroll, Chester, Crockett, Decatur, Dyer, Fayette, Gibson, Hardeman, Hardin, Haywood,
        Henderson, Henry, Houston, Humphreys, Lake, Lauderdale, Madison, McNairy, Montgomery,
        Obion, Perry, Shelby, Stewart, Tipton, .Weakley

        normal:
        the condition that would have existed had no physical loss or damage happened.

        normal cost:
        the cost associated with the movement of goods or materials suffering the. disruption that the
        Insured would have incurred had no physical loss or damage causing disruption happened.

        occurrence:
        the sum total of all loss or damage of the type insured, including any insured TIME ELEMENT
        loss, arising out of or caused by one discrete event of physical loss or damage, except as respects
        the following:

        A.       terrorism: occurrence shall mean the sum total of all loss or damage of the type insured,
                 including any insured TTh;1E ELEMENT loss, arising out of or caused by all acts of
                 terrorism during a continuous perioc_i of seventy-two (72) hours.

        B.       earth movement: occurrence shall mean the sum total of all loss or damage of the type
                 insured, including any insured TIME ELEMENT loss, arising out of or caused by all earth
                 movement(s) during a continuous period of sev~nty-two (72) hours.

        off-premises data processing or data transmission services:
        the storage or processing of data performed off-premises of the Tnsured's property, including the
        transmission of voice, data or video over a single, or combination of, computer or communication
        networks.

         Pacific Northwest Seismic Zone:
         Oregon, United States of America, counties of:
         Benton, Clackamas, Clatsop, Columbia, Coos, Curry, Douglas, Hood River, Jackson, Josephine,
       · Klamath, Lane, Lincoln, Linn, Marion, Multnomah, Polk; Tillamook, Washington, Yamhill

        Washington. United States of America, counties of:
        Chelan, Clallam, Clark, Cowlitz, Grays Harbor, Island, Jefferson, King, Kitsap, Kittitas, Lewis,
        Mason, Pacific, Pierce, San Juan, Skagit, Skamania, Snohomish, Thurston, Wahkiakum, Whatcom·

        British Columbia (includes Vancouver Island), Canada:
        South of 50° N latitude and west of 120° W longitude.

        period of operational testing:
        the period of time beginning 24 hours prior to the earlier of the following:

        A.       introduction, into a system, of feedstock or other materials for processing or handling;

        B.       commencement of fuel or energy supply to a system,

        and ending with the earlier of the following:

        A.       the expiration date or cancellation date of this Policy.


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        B.       if specified, the number of consecutive days shown in the LIMITS OF LIABILITY clause in
                 the DECLARATIONS section.

        physical loss or damage to electronic data, programs ·or software:
        the destruction, distortion or corruption of electronic data, programs or software.

        representative company(ies):                                                      .
        Factory Mutual Insurance Company, FM Insurance Company Limited or FM Insurance Europe
        S.A.; Affiliated FM Insurance Company; Appalachian Insurance Company or any other company
        issuing a local policy at the direction of the Company.

        soft costs:
        costs over and above those that are normal at an insured location undergoing renovation or in the
        course of construction, limited to the following:

        A.       construction loan foes - the additional cost incurred to rearrange loans necessary for the
                 completion of construction, repairs or reconstruction including; the cost to arrange
                 refinancing, accounting work necessary to restmcture financing, legal work necessary to
                 prepare new documents, charges by the lenders for the extension _or renewal of loans
                 necessary.

        B.       commitment fees, le·asing and marketing expenses - the cost of returning any commitment
                 fees received from prospective tenant(s) or purchaser(s), the cost of re-leasing and marketing
                 due to loss of tenant(s) or purchaser(s).

        C:       additional fees for architects, engineers, consultants, attorneys and accountants needed for
                 the completion of construction, repairs or reconstruction.

        D.       property taxes, building permits, additional interest on loans, realty taxes and insurance
                 premiums.

        terrorism:
        any act, involving the use or threat of: force, violence, dangerous conduct, interference with_ the
        operations of any business, government or other organization or institution, or any similar act,

        when the effect or apparent purpose is:

        A.       to influence or instill fear in any government (de jure or de facto) or the public, or any
                 segment of either; or

        B.       to further or to express support for, or opposition to, any political, religious, social,
                 ideological or similar type of objective or position.

        transmission and distribution systems:
        transmission and,distrihution.systems including hut not limited to electricity, gas, fuel, steam,
        water, refrigeration, sewerage, voice, data, and video. Such systems shall include poles, towers and
        fixtures, overhead conductors and devices, underground and underwater conduit, underground and
        underwater conductors and devices, line transformers, service meters, street lighting and signal
        systems.

        turbine unit:
        any turbine unit including any:



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        A.       driving turbine(s);

        B.       electric generator or other driven object;

        C.       combustor, precboler, intercooler, regenerator or heat exchanger of any gas turbine unit;

        D.       any auxiliary apparatus, mounted on the turbine unit, or in the· vicinity of the unit and used
                 predominantly in support of the turbine unit;                                   ·

        E.       shaft which forms a part of the unit or which connects parts of the unit, together with any
                 coupling, clutch, bearing, gear or gear set on said shaft; and

        F.       interconnecting wiring, piping or ducts between parts of the unit and which are mounted on
                 the unit;                                                 .

        but shall not include any:

        A.       electronic computer or electronics data processing equipment used to govern or control the
                 unit;

        B. ·     machine or apparatus except as included in section A-F above;

        C.       condenser, its connecting pipe or adapter;

        D.       penstock or draft tube; nor

        E.       hoiler utilizing exhaust gases from any gas turhine unit.

        valuable papers and: records:
        written, printed or otherwise inscribed documents and records, including maps, films, drawings,
        abstracts, deeds, mortgages and manuscripts, all of which must be of value to the Insured.

        :wind:
        direct action of wind including substance driven by wind . .. Wind docs not mean or include anything
        defined as flood in this Policy.




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Loe.No. ID Index No. Name                           Street Address               City          State    Postal Code County                     Country
1              0166          GWU Hampton Roads 1Old Oyster Point Road Suite Newport News Virginia 23602-7121 Newport News                      United States
                             Center              200                                                           (City)                          of America
2              0138 04387L24 Washington Research 901 Commerce Drive         Upper Marlboro Maryland 20774-8701 Prince George's                 United States
                             Library Consortium                                                                                                of America
                             Warehouse, Upper
3              0141 044430.81 Northern VA Campus - 44983 Knoll Square            Ashburn       Vir~nia 20147-2692 Loudoun                    · United States
                              The Virginia Science                                                                                             of America
                              &Technology Campus
          ~




               0198 044430,81 Northern VA Campus - 44930 Knoll Square ,          Ashburn       Virginia 20147-2692 Loudoun                     United States
                              VSTC Incubator and                                                                                               of America
                              Conservation Facility

                                                                                                                                       _,,
               0142 044430.81 Northern VA Campus - 20101 Academic Way            Ashburn       Virginia 20147-2604 Loudoun                     United States
                              The Virginia Science                                                                                             of America
                              &Technology Campus
                              -Exploration Hall
                          '
               0143 044430.81- Northern VA Campus - 45085 University Drive        Ashburn      Virginia 20147-2766 Loudoun                     United States
                               The Virginia Science                                                                                            of America
                               & Technology Campus
                               -Innovation Hall
                                                                                                                     '

4              0162 001434.81 Biostatistics Center 6110 Executive Boulevard Rockville          Maryland 20852-3903 Montgomery        United States
                              Asset Leaming                                                                                          of America
07             0163 001791.71 College of Profes_sional 1925 Ballenger Avenue #250 Alexandria   Virginia 22314-6820 Alexandria (City) United States
                              Studies                                                                                                of America
09             0165                                    8712 Spectrum Drive        Landover     Maryland 20785      Prince George's United States
                                                                                                                                 '-'

                                                                                                                                     of America
12             0169 002349.52 The Regent             950 North Glebe Road         Arlington    Virginia 22203-1824 Arlington         United States
                                                                                                                                     of America
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13       0170 002349.53 University Professional 45155 Research Place, Suite   Ashburn    Virginia 20147-4192 Loudoun            United States
                                                                                                                     r
                        Center Condo            100                                                                             of America.

         0171 002349.53 University Professional 45155 Research Place, Suite   Ashburn    Virginia 20147        Loudoun          United States
                        Center Condo.           105                                                                             of America

         0172 002349.53 University Professional 45155 Research Place, Suite   Ashburn    Virginia 20147        Loudoun          United States
                        Center Condo.           115                                                                             of America

         0173 002349.53 University Professional 45155 Research Place, Suite   Ashburn    Virginia 20147        Loudoun          United States
                       · Center Condo.          140                                                                             of America

         0174 002349.53 University Professional 45155 Research Place, Suite   Ashburn    Virginia 20147         Loudoun          United States
                        Center Condo.           150                                                                              of America

         0175 002349.53 University Professional 45155 Research Place, Suite   Ashburn     Virginia 20147        Loudoun          United States
                        Center Condo.           145                                                                              of America

         0176 002349.53 University Professional 45155 Research Place, Suite   Ashburn     Virginia 20147        Loudoun          United States
                        Center Condo.           155                                                                              of America

         0177 002349.53 University Professional 45155 Research Place, Suite   Ashburn     Virginia 20147        Loudoun          United States
                        .Center Condo.          160                                                                              of America

         0178 002349.53 University Professional 45155 Research Place, Suite   Ashburn     Virginia . 20147      Loudoun        · United States
                        Center Condo.           165                                                                              of America

         0179 002349.53 University Professional 45155 Research Place, Suite   Ashburn     Virginia 20147        Loudoun          United States
                        Center Condo.           205                                                                              of America
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Loe.No. ID Index No. Name                                Street Address                City      State    Postal Code County           Country
                0180 002349.53 University Professional 45155 Research Place, Suite     Ashburn   Virginia 20147       Loudoun          United States
                               Center Condo.           210/220                                                                         of America

                0181 002349.53 University Professional 45155 Research Place, Suite     Ashburn   Virginia 20147       Loudoun          United States
                               Center Condo.           215                                                                             of America

                0182 002349.53 University Professional 45155 Research Place, Suite     Ashburn   Virginia 20147       Loudoun          United States
                               Center Condo.           225                                                                             of America

                0183 002349.53 University Professional 45155 Research Place, Suite     Ashburn   Virginia 20147       Loudoun          United States
                               Center Condo.           235                                                                             of America

                0184 002349.53 University Professional 45155 Research Place, Suite     Ashburn   Virginia 20147       Loudoun          United States
                               Center Condo. ·         240                                                -                            of America

                  0185 002349.53 University Professional 45155 Research Place, Suite   Ashburn   Virginia 20147       Loudoun          United States
                                 Center Condo.           245                                                                           of America

                  0186 002349.53 University Professional 45155 Research Place, Suite   Ashburn   Virginia 20147       Loudoun          United States
                                 Center Condo.           250                                                                           of America

                  0187 002349.53 University Professional 45155 Research Place, Suite   Ashburn   Virginia 20147       Loudoun          United States
                                 Center Condo.           255                                                                           of America

                  0188 002349.53 University Professional 45155 Research Place, Suite   Ashburn   Virginia 20147       Loudoun          United States
                                 Center Condo.           260                                                                           of America

                  0189 002349.53 University Professional 45155 Research Place. Suite   Ashburn   Virginia 20147       Loudoun         . United States
                                 Center Condo.           265                                                                            of America
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Loe. No. ID Index No. Name                                Street Address                City         State     Postal Code County             Country
                 0190 002349.53 University Professional 45155 Research Place, Suite     Ashburn      Virginia 20147          Loudoun          United States
                                Center Condo.           275                                                                                   of America

              · 0191 002349.53 University Professional 45155 Research Place, Suite      Ashburn      Virginia 20147          Loudoun          United States
                               Center Condo.           300                                                                                    of America

                 0192 002349.53 University Professional 45155 Research Place,. SuiteI   Ashburn      Virginia 20147          Loudoun          United States
                        ,
                                Center Condo.           340                                                                                   of America

                 0193 002349.53 University Professional 45155 Research Place, Suite     Ashburn.     Virginia 20147          Loudoun          United States
                                Center Condo.           350                                                                                   of America

                 0194 002349.53 University Professional 45155 Research Place, Suite     Ashburn      Virginia 20147          Loudoun          United States
                                Center Condo.           355                                                                                   of America

                 0195 002349.53 University Professional 45155 Research Place, Suite     Ashburn      Virginia 20147          Loudoun          United States
                                Center Condo.           360                                                                                   of America

                  0196 002349.53 University Professional 45155 Research Place, Suite    Ashburn      Virginia 20147          Loudoun          United States
                                 Center Condo.           365                                                                                  of America

                  0197 002349.53 University Professional 45155 Research Place, Suite    Ashburn      Virginia 20147          Loud9un          United States
                                 Center Condo.           375                                                                                  of America

14                0199 002945.96 Corcoran School of the 500 17th Street Northwest       Washington   District of 20006-4899 District of       United States
                                 Arts and Design                                                     Columbia               Columbia          of America
15                0001 043732.07 Main Campus -          51419th Street Northwest        Washington   District of 20052-0047 District of       United States
                                 Mitchell Hall Dorm.                                                 Columbia               Columbia          of America
                  0161 043732.07 United                 812 &814 20th Street            Washington   District of 20006      District of       United States
                                 Church/Building YY &                                                Columbia               Columbia          of America
                                   xx
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Loe.No. ID Index No. Name                       Street Address                City          State          Postal Code County             Country
           0137 043732.07 Main Campus           2142 FStreet Northwest         Washington   District of    20037-2709 District of         United States
                                                                                            Columbia                  Columbia          · of America
           0135 043732.07 Main Campus           2146 FStreet Northwest         Washington   District of    20037-2712 District of       ·United States
                                                                                            Columbia                  Columbia            of America
           0136 043732.07 Main Campus           2150 FStreet Northwest         Washington   District of    20037-2712 District of         United States
                                                                                            Columbia                  Columbia            of America
           0200 043732.07 District House        2121 HStreet Northwest         Washington   District of    20052-0080 District of         United States
                                                                                            Columbia                  Columbia            of America
           0002 043732.07 Main Campus -Burns 716 20th Street Northwest, 700 Washington      District of    20052-0035 District of         United States
                          Memorial Law Library 20th Street                                  Columbia                  Columbia            of America

           0003 043732.07 Main Campus -       720 20th Street Northwest        Washington    District of   20052-0036 District of         United States
                          Stockton ·Hall                                                     Columbia                 Columbia            of America
           0004 043732.07 Main Campus -Key 600 20th Street Northwest           Washington    District of   20052-0005 District of         United States
                          Hall                                                               Columbia                 Columbia            of America
           0005 043732.07 Main Campus -Law 650 20th Street Northeast           Washington    District of   20002-4718 District of         United States
                          Clinic                                                             Columbia                 Columbia            of America .
           0006 043732.07 Main Campus -       605 21st Street Northwest        Washington    District of   20052-0049 District of         United States
                          Scholar Village                                                    Columbia                 Columbia            of America
                          Townhouse E
           0007 043732.07 Main Campus -Strong 620 21St &2100 GSt               Washington   . District of 20006         District of       United States
                          Hall Dorm                                                           Columbia                  Columbia          of America
           0008 043732.07 Main Campus -Man~n 800 21st Street Northwest         Washington     District of 20052-0028    District of       United States
                          Center                                                              Columbia                  Columbia          of America
           0010 043732.07 Main Campus -Davis- 609 21st Street Northeast        Washington     District of 20002-4721    District of       United States
                          Hodgkins House                                                      Columbia                  Columbia          of America

            OOll 043732.07 Main Campus          600 21st Street Northwest      Washington    District of 20052-0048 District of           United States
                                                                                             Columbia               Columbia              of America
            0012 043732.07 Main Campus -P/0     606 21st Street Northeast      Washington    District of 20002-4722 District of           United States
                           Lenthall Houses                                                   Columbia               Columbia              of America

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            0013 043732.07 Main Campus -          607 21st Street Northwest    Washington   District of 20052-0049 District of           United States
                           Scholar Village                                                  Columbia               Columbia              of America
                           Townhouse
            0014 043732.07 Main Campus -PIO · 610 21st Street Northwest        Washington   District of 20052-0048 District of           United States
                           Lenthall Houses                                                  Columbia               Columbia              of America
            0015 043732.07 Main Campus -          619 21st Street NW, 2036 G . Washington   District of 20052-0096 District of           United States
                           Quigley's              Street                                    Columbia               Columbia              of America
           .0016 043732.07 Main Campus -GWU 701 21st Street Northeast          Washington   District of 20002-4107 District of           United States
                           Museum And Textile                                               Columbia               Coluinbia             of America
                           Museum
            0017 043732.07 Main Campus -Hall 710 21st Street Northwest . Washington         District of   20052-0050 District of         United States
                           Of Government                                                    Columbia                 Columbia            of America
            0018 043732.07 Main Campus -New 714 21st Street Northwest          Washington   District of   20052-0050 District of         United States
                           Alumni House Off                                                 Columbia                 Columbia            of America
            0019 043732.07 Main Campus -Lisner 730 21st Street Northwest, 725 Washington    District of   20052-0053 District of         United States
                           Auditorium             21st Street                               Columbia                 Columbia            of America
            0020 043732.07 Main Campus -Media 805 21st Street Northwest        Washington   District of   20052-0031 District of         United States
                           & Public Affairs -Jack                                           Columbia                 Columbia            of America
                           Morton Auditorium

             0021 043732.07 Main Campus -         719-35 21St St               Washington   District of 20006          District of       United States
                                                                                                                                           I


                            Corcoran Hall Offices                                           Columbia                   Columbia          of America
                            and Classroom
                                           -
             0023 043732.07 Main Campus            609 22nd Street Northwest   Washington   District of 20052-0056 District of           United States
                                                                                            Columbia               Columbia              of America
              0024 043732.07 Main Campus -Smith 600 22nd Street Northwest      Washington   District of 20052-0055 District of           United States
                             Center Ogg/Gym                                                 Columbia               Columbia              of America
              0025 043732.07 Main Campus -      605 22nd Street Northwest      Washington   District of 20052-0056 District of           United States
                             Townhouse                                                      Columbia               Columbia              of America
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                         0026 043732.07 Main Campus -Abba 607 22nd Street Northwest         Washington   District of   20052-0056 District of        United States
                                        Eban House                                                       Columbia                 Columbia           of America
                         0027 043732.07 Main Campus -     61122nd Street Northwest          Washington   District of   20052-0056 District of        United States
                                        Townhouse                                                        Columbia                 Columbia           of America
                         0028 043732.07 Main Campus       613 22nd Street Northwest         Washington   District of   20052-0056 District of        United States
                                                                                                         Columbia                 Columbia           of America
                         0029 043732.07 Main Campus             615 22nd Street Northwest   Washington   District of   20052-0056 District of        United States
                                                                                                         Columbia                 Columbia           of America
                         0030 043732.07 Main Campus             617 22nd Street Northwest   Washington   District of   20052-0056 District of        United States
                                                                                                         Columbia                 Columbia           of America
                         0031 043732.07 Main Campus -           619 22nd Street Northwest   Washington   District of   20052-0056 District of        United States
                                        Scholar Village                                                  Columbia                 Columbia           of America
                                        Townhouse A
                         0032 043732.07 Main Campus -           707 22nd Street Northwest   Washington   District of 20052-0057 District of          United States
                                        Staughton Hall Office                                            Columbia               Columbia             of America
                         0033 043732.07 Main Can1pus -          736 22nd Street Northwest   Washington   District of 20052-0059 District of          United States
                                        Madison Hall Donn                                                Columbia               Columbia             of America
                         0034 043732.07 Main Campus -           800 22nd Street Northwest   Washington   District of 20052-0066 District of          United States
                                        Science and                                                      Columbia               Columbia             of America
                                        En~neering Hall
                         0035 043732.07 Main Campus -           800 22nd Street Northwest   Washington   District of 20052-0066 District of          United States
                                        Science And                                                      Columbia               Columbia             of America
                                        En~neering Parking
                                        Garage
                          0036 043732.07 Main Campus -         80122nd Street Northwest · Washington     District of 20052-006~ District of          United States
                                         Academic Center                                                 Columbia               Columbia             of America
                                         Office and Classrooms

                          0037 043732.07 Main Campus            837 22nd Street·Northwest   Washington   District of 20052-0058 District of          United States
                                                                                                         Columbia               Columbia             of America
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Loe.No. ID Index No. Name                        Street Address                 City         State         Postal Code County            Country
           0038 043732.07 Main Campus            522 22nd Street Northwest      Washington   District of 20052-0054 District of          United States
                                                                                             Columbia               Columbia             of America
           0039 043732.07 Main Campus            603 22nd Street Northwest      Washington   District of 20052-0056 District of          United States
                                                                                             Columbia               Columbia             of America
           0040 043732.07 Main Campus -         526 22nd Street Northwest       Washington   District of 20037-2710 District of          United States
                          Scholar Village                                                    Columbia               Columbia             of America
                          Townhouse C
           0041 043732.07 Main Campus -         520 22nd Street Northwest       Washington   District of 20052-0054 District of          United States
                          Scholar Village                                                    Columbia               Columbia             of America
                          Townhouse
           0042 043732.07 Main Campus -         607 23rd Street Northwest       Washington   District of 20052-0061 District of          United States
                          Townhouse Row                                                      Columbia               Columbia             of America
           0043 043732.07 Main Campus -Mark 616 23rd Street Northwest           Washington   District of 20037-2714 District of          United States
                          Shenkman Hall                                                      Columbia               Columbia             of America
           0044 043732.07 Main Campus -         725 23rd Street Northwest       Washington   District of 20052-0064 District of          United States
                          Tompkins Hall -                                                    Columbia               Columbia             of America
                          En~neering
           0045 043732.07 Main Campus -         922 24th Street Northwest       Washington   District of 20037-2203 District of          United States
                          Jefferson House Condo                                              Columbia               Columbia             of America
                          Unit#217
           0046 043732.07 Main Campus -Elliott 1957 EStreet Northwest           Washington   District of   20052-0041 District of        United States
                          School                                                             Columbia                 Columbia           of America
           0047 043732.07 Main Campus -Elliott 1959 EStreet Northwest           Washington   District of   20052-0041 District of        United States
                          Hall                                                               Columbia                 Columbia           of America
           0049 043732.07 Main Campus -         2100 IStreet Northeast          Washington   District of   20002-3220 District of        United States
                          Lafayette Hall                                                     Columbia                 Columbia           of America
           0050 043732.07 Main Campus -Rice 212 l IStreet Northeast             Washington   District of   20002-3249 District of        United States
                          Hall Off                                                           Columbia                 Columbia           of America
           0051 043732.07 Main Campus           2129-3 3IStreet                 Washington   District of   20006      District of        United States
                                                                                             Columbia                 Columbia           of America


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Loe.No.      m-             Index No. Name         Street Address               City           State      Postal Code County               Country
             0053 043732.07 Main Campus -The       2141 IStreet Northwest       Washington     District of 20037-2320 · District of       United States
                            Presidents Condo                                                   Columbia                 Columbia          of America
                            Unite#513
             0054 043732.07 Main Campus -          2212 IStreet Northwest       Washington     District of 20052-0013   District of        United States
                            Munson Hall Dorm                                                   Columbia                 Columbia           of America
             0055 043732.07 Main Campus -          2222 IStreet Northwest       Washington     District of 20052-0014   District of        United States
                            Kennedy Onassis                                                    Columbia                 Columbia           of America
             0056 043732.07 Main Campus            2011 IStreet Northwest       Washington     District of 20006-1808   District of        United States
                                                                                               Columbia                 Columbia           of America
             0057 043732.07 Main Campus -Ross      2300 IStreet Northwest       Washington     District of 20052-0011   District of        United States
                            Hall Medical School                                                Columbia                 Columbia           of America
             0058 043732.07 Main Campus -          2300 IStreet Northwest       Washington     District of 20052-0011   District of        United States
                            Animals -Ross Hall                                                 Columbia                 Columbia           of America
             0059 043732.07 Main Campus -Ross      2300 IStreet Northwest       Washington   . District of 20052-0011   District of        United States
                            Hall Central Utility                                               Columbia                 Columbia           of America
                            Plant
             0060 043732.07 Main Campus -Ross      2300 IStreet Northwest       Washington     District of 20052-0011 District of          United States
                            Hall Cogeneration                                                  Columbia               Columbia             of America
             0061 043732.07 Main Campus -Paul      2300 IStreet Northwest       Washington     District of 20052-0011 District of          United States
                            Himmelfarb Medical                                                 Columbia               Columbia             of America
                            Library
             0062 043732.07 Main Campus -GW        1918 FStreet Northwest       Washington     District of 20052-0042 District of          United States
                            University Club                                                    Columbia               Columbia             of America
             0063 043732.07 Main Campus -          203 l FStreet Northwest      Washington     District of 20052-0045 District of          United States
                            Building J-Dorm &                                                  Columbia               Columbia             of America
                            Sororities
             0064 043732.07 Main Campus            2121 FStreet Northwest       Washington     District of 20037-2753 District of          United States
                                                                                               Columbia               Columbia             of America
             0065 043732.07 Main Campus            2123 FStreet Northwest       Washington     District of 20037-2729 District of .        United States
                                                                                               Columbia               Columbia             of America


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1-0c.No. ID Index No. Name                               Street Addre~                 City         State     Postal Code County               Country
                    0066 043732.07 Main Campus -       1900-06 FStreet Northwest       Washington   District of 20006        District of       United States
                                   Thurston Hall Dorm                                               Columbia                 Columbia          of America
                    0067 043732,07 Main Campus -The F 1925 FStreet Northwest           Washington   District of 20052-0067   District of       United States
                                   Street House                                                     Columbia                 Columbia          of America
                    0068 043732.07 Main Campus -Square 2135 FStreet Northwest          Washington   District of 20037-2729   District of       United States
                                   80 -South Hall                                                   Columbia                 Columbia          of America

                    0069 043732.07 Main Campus -         2025 FStreet Northwest        Washington   District of 20052-0044   District of ·     United States
                                   Support Building                                                 Columbia                 Columbia          of America
                    0070 043732.07 Main Campus           2033 FStreet Northwest        Washington   District of 20052-0044   District of       United States
                                                                                                    Columbia                 Columbia          of America
                    0071 043732.07 Main Campus           2035 FStreet Northwest        Washington   District of 20052-0044   District of       United States
                                                                                                    Columbia                 Columbia          of America
                    0072 043732.07 Main Campus           2037 FStreet Northwest        Washington   District of 20052-0044   District of       United States
                                                                                                    Columbia                 Columbia          of America
                    0073 043732.07 Main Campus -Hillel   2101 FStreet Northwest        Washington   District of 20052-0069   District of       United States
                                   at the GWU                                                       Columbia                 Columbia          of America
                    0074 043732,07 Main Campus -         2109 FStreet Northwest        Washington   District of 20037-2713   District of       United States
                                   Student Occupancy                                                Columbia                 Columbia          of America
                    0075 043732,07 Main Campus -         2115 FStreet Northwest        Washington   District of 20052-0069   District of       United States
                                   Guthridge Hall Dorm                                              Columbia                 Columbia          of America
                    0076 043732.07 Main Campus           2147 FStreet. NW
                                                                      1                Washington   District of 20006        District of       United States
                                                                                                    Columbia                 Columbia          of America
                    0077 043732.07 Main Campus -         202 l FStreet Northwest       Washington   District of 20052-0044   District of       United States
                                   Potomac House                                                    Columbia                 Columbia          of America
                    0078 043732.07 Main Campus -The      2100 FStreet Northwest        Washington   District of 20052-0068   District of       United States
                                   Dakota                                                           Columbia                 Columbia          of America
                    0079 043732:07 Main Campus -Old      1922 FStreet Northwest      , Washington   District of 20052-0042   District of       United States
                                   Main                                                             Columbia                 Columbia          of America




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Loe.No. ID Index No. Name                            Street Address                City          State         Postal Code County            Country
                0080 043732.07 Main Campus -         2208 FStreet Northwest        Washington    District of 20037-2728 District of          United States
                               Scholar Village                                                   Columbia               Columbia             of America
                               Townhouse B
                0081 043732.07 Main Campus           2140 FStreet Northwest        Washington    District of   20037-2712 District of        United States
                                                                                                 Columbia                 Columbia           of America
                0082 043732.07 Main Campus -         2206 FStreet Northwest        Washington    District of   20037-2728 District of        United States
                               Townhouse                                                         Columbia                 Columbia           of America
                0083 043732.07 Main Campus           2112 FStreet Northwest        Washington    District of   20037-2715 District of        United States
                                                                                                 Columbia                 Columbia           of America
                0084 043732.07 Main Campus           2144 FStreet Northwest        Washington    District of   20052-0090 District of        United States
                                                                                                 Columbia                 Columbia           of America
                0085 043732.07 Main Campus           2145 GStreet Northwest        Washington    District of   20037-2731 District of ·      United States
                                                                                                 Columbia                 Columbia           of America
                 0086 043732.07 Main Campus -Lisner 2023 GStreet Northwest         Washington    District of   20052-0023 District of        United States
                                Hall                                                             Columbia                 Columbia           of America
                 0087 043732.07 Main Campus -Funger 220 I GStreet Northwest        Washington    District of   20052-0037 District of        United States
                                Hall Classrooms                                                  Columbia                 Columbia           of America

                 0088 043732.07 Main Campus -      2110 GStreet Northwest         . Washington   District of 20052-0072 District of          United States
                                Hortense Amsterdam                                               Columbia               Columbia             of America
                                House
                 0089 043732.07 Main Campus -         2025-26 GStreet Northwest     Washington   District of   20002-4212 District of        United States
                                Building W                                                       Columbia                 Columbia           of America
                 0090 043732.07 Main Campus           2000 GStreet Northwest        Washington   District of   20052-0007 District of        United States
                                                                                                 Columbia                 Columbia           of America
                 0092 043732.07 Main Campus -Bell     2029 GStreet Northwest        Washington   District of   20052-0024 District of        United States
                                Hall                                                             Columbia                 Columbia           of America
                 0093 043732.07 Main Campus -         2033 GStreet Northwest        Washington   District of   20052-0025 District of        United States
                                Woodhull House                                                   Columbia                 Columbia           of America
                 0094 043732.07 Main Campus           2106 GStreet Northwest        Washington   District of   20052-0072 District of        United States
                                                                                                 Columbia                 Columbia           of America

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Loe.No. ID Index No. Name                            Street Address            City         State     Postal Code County               Country
                 0095 043732.07 Main Campus          2108 GStreet Northwest    Washington   District of 20052-0072   District of       United States
                                                                                  (
                                                                                            Columbia                 Columbia          of America
                 0096 043732.07 Main Campus         · 2112 GStreet Northwest   Washington   District of 20052-0072   District of       United States
                                                                                            Columbia                 Columbia          of America
                 0097 043732.07 Main Campus          2114 GStreet Northwest    Washington   District of 20052-0072   District of       United States
                                                                                            Columbia                 Columbia        . of America
                 0098 043732.07 Main Campus -        2115 GStreet Northwest    Washington   District of 20052-0073   District of       United States
                                Monroe Hall                                                 Columbia                 Columbia          of America
                 0099 043732.07 Main Campus           2125 GStreet Northwest   Washington   District of 20052-0073   District of       United States
                                                                                            Columbia                 Columbia          of America
                 0100 043732.07 Main Campus           2127 GStreet Northwest   Washington   District of 20052-0073   District of       United States
                                                                                            Columbia                 Columbia          of America
                  0101 043732.07 Main Campus          2129 GStreet Northwest   Washington   District of 20052-0073   District of       United States
                                                                                            Columbia                 Columbia          of America
                  0102 043732.07 Main Campus          2131 GStreet Northwest   Washington   District of 20052-0075   District of       United States
                                                                                            Columbia                 Columbia          of America
                  0103 043732.07 Main Campus          2136 GStreet Northwest   Washington   District of 20052-0072   District of       United States
                                                                                            Columbia                 Columbia          of America
                  0104 043732.07 Main Campus          2138 GStreet Northwest   Washington   District of 20052-0072   District of       United States
                                                                                            Columbia                 Columbia          of America
                  0105 043732.07 Main Campus          2140 GStreet Northwest   Washington   District of 20052-0072   District of       United States
                                                                                            Columbia                 Columbia          of America
                  0106 043732.07 Main Campus -Judaic 2142 GStreet Northwest    Washington   District of 20052-0072   District of        United States
                                 Studies                                                    Columbia                 Columbia           ofAmerica
                  0107 043732.07 Main Campus -Health 2301 GStreet Northwest    Washington   District of 20052-0079   District of        United States
                                 &Wellness Center                                           Columbia                 Columbia           of America

                  0108 043732.07 Main Campus -Stuart 2013 GStreet Northwest Washington      District of 20052-0022 District of         United States
                                 Hall                                                       Columbia               Columbia            of America
                  0110 043732.07 Main Campus -The 1129 New Hampshire Avenue Washington      District of 20037-1533 District of         United States
                                 Aston               Northwest ·                            Columbia               Columbia            of America
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Loe.No. ID Index No. Name                           Street Address              City          State         Postal Code County             Country
              0111 043732.07 Main Campus            2004 GStreet Northwest      Washington    District of 20006-4200    District of        United States
                                                                                              Columbia                  Columbia           of America
              0112 043732.07 Main Campus            2129 GStreet Northwest Rear Washington    District of 20052-0076    District of        United States
                                                                                              Columbia                  Columbia           of America
              0113 043732.07 Main Campus -          2201 GStreet Northwest      Washington    District of 20052-0037    District of        United States
                             Duques Hall                                                      Columbia                  Columbia           of America
              0114 043732.07 Main Campus -The       2002 GStreet Northwest, 2003 Washington   District of 20052-0003    District of        United States
                             Jacob Burns            GStreet Northwest                         Columbia                  Columbia           of America
                             Community Legal
                             Clinic
              0115 043732.07 Main Campus -          2134 GStreet Northwest      Washington    District of   20052-0072 District of         United States
                                                                                              Columbia                 Columbia            of America
              0116 043732.07 Main Campus -Lerner    2000 HStreet Northwest      Washington    District of   20052-0027 District of         United States
                             Hall                                                             Columbia                 Columbia            of America
              0117 043732.07 Main Campus -          2130 HStreet Northwest      Washington    District of   20052-0081 District of         United States
                             Gelman Library                                                   Columbia                 Columbia            of America
              0118 043732.07 Main Campus -          2223 HStreet Northwest      Washington    District of   20052-0082 District of         United States
                             Fulbright Hall                                                   Columbia                 Columbia            of America
              0119 043732.07 Main Campus -New       2350 HStreet Northwest      Washington    District of   20052-0083 District of         United States
                             Hall -Amsterdam Hall                                             Columbia                 Columbia            of America

              0120 043732.07 Main Campus -         2036 HSt &729 21St St        Washington    District of 20037          District of       United States
                             Samson Hall Office                                               Columbia                   Columbia          of America
              0091 043732.07 Main Campus -G 2028 GStreet Northwest              Washington    District of 20052-0008     District of       United States
                             Street Parking Garage                                            Columbia                   Columbia          of America

              0109            Main Campus           1776GSt NW                  Washington    District of 20006-4705 District of           United States
                                                                                              Columbia               Columbia              of America
              0121 043732.07 Main Campus            2033 KStreet Northwest      Washington    District of 20006-1002 District of           United States
                                                                                              Columbia               Columbia              of America
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Loe.No. ID Index No. Name                          Street Address               City         State      Postal Code County              Country
               0123 043732.07 Main Campus          214 l KStreet Northwest      Washington   District of 20037-1810   District of       United States
                                                                                             Coluinbia                Columbia          of America
               0124 043732.07 Main Campus          2175 KStreet Northwest       Washington   District of 20037-1831   District of       United States
                                                                                             Columbia                 Columbia          of America
               0126 043732.07 Main Campus          2029 KStreet Northwest       Washington   District of 20006-1004   District of       United States
                                                                                             Columbia                 Columbia          of America
               0130 043732.07 Main Campus          2021 LStreet Northwest       Washington   District of 20036-4977   District of       United Stales
                                                                                             Columbia                 Columbia          of America
               0133 043732.07. Main Campus -       2201 Virginia
                                                           u
                                                                 Avenue         Washington   District of 20052,0093   District of       United States
                               International House Northwest                                 Columbia ·               Columbia          of America
               0132 043732.07 Main Campus -Milken 950 New Hampshire Avenue      Washington   District of 20037-2301   District of       United States
                               School Of Public    NW                                        Columbia                 Columbia          of America
                               Health
16             0139 043732.20 Medical Faculty      2150 Pennsylvania Avenue     Washington   District of 20037-2396 District of         United States
                               Associates- Burns   Northwest                                 Columbia               Columbia            of America
                               Memorial Building
               0140 043732.20 Medical Faculty      123A 22nd and IStreets NW,   Washington   District of 20037        District of       United States
                               Association/Bums    2140 Pennsylvania NW                      Columbia                 Columbia          of America
                               Memorial Building -
                               Ambulatory Care
                               Center
               0226            Medical Faculty     9715 Medical Center Drive 2nd Rockville   Maryland 20850-6305 Montgomery             United States
                               Associates          floor, suite 202                                                                     of America
               0227            Medical Faculty     9715 Medical Center Drive 2nd Rockville   Maryland 20850-6303 Montgomery             United States
                               Associates          floor, suite 230                                                                     of America
               0228            Medical Faculty     7321 Hanover Pkwy Ste A Greenbelt         Maryland 20770-3616 Prince George's        United States
                               Associates                                                                                               of America
               0229            Medical Faculty      7321 Hanover Pkwy Ste B     Greenbelt    Maryland 20770-3616 Prince George's        United States
                               Associates                                                                                               of America




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1-0c.No. ID Index No. Name                        Street Address               City            State     Postal Code County              Country
               0230          Medical Faculty   4920 Elm Street, suite 225      Bethesda        Maryland 20814-2924 Montgomery            United States
                             Associates -OBGYN                                                                                           of America

               0231          Medical Faculty      4920 Elm St Ste 250          Bethesda        Maryland 20814-2995 Montgomery·           United States
                             Associates -                                                                                                of America
                             Dermatology
               0232          Medical Faculty . 8807 Colesville Rd Ste 400 Silver Spring        Maryland 20910-4346 Montgomery            United States
                             Associates                                                                                                  of America
               0233          Medical Faculty     1800 Town Center Drive Ste Reston             Virginia 20190-3238 Fairfax               United States
                             Associates          218                                                                                     of America
               0234          Medical Faculty     1800 Town Center Drive Ste Reston             Virginia 20190-3238 Fairfax               United States
                             Associates          222                                                                                     of America
               0235          Medical Faculty     19785 Crystal Rock Drive Ste Germantown       Maryland 20874-4715 Montgomery            United States
                             Associates          208                                                                                     of America
               0236          Medical Faculty     11500 Old Georgetown Road, Rockville          Maryland 20852-2735 Montgomery            United States
                             Associates          suite A-B                                                                               of America
               0237          Medical Faculty     8700 Georgia Avenue Ste 400 Silver Spring·    Maryland 209!0-3605 Montgomery            United States
                             Associates                                                                                                  of America
               0238          Medical Faculty     6355 Walker Lane Ste 408       Alexandria     Virginia 22310-3250 Fairfax               United States
                             Associates                                                                                                  of America
               0239          Medical Faculty     5513 Connecticut Avenue NW Washington         District of 20015-2649 District of        United States
                             Associates          Ste 210                                       Columbia               Columbia           of America
               0240          Medical Faculty   · 106 Irving St NW Ste 4IOO Washington .        District of 20010-2971 District of        United States
                             Associates                                                        Columbia               Columbia           of America
               0241          Medical Faculty     3580 Joseph Siewick Drive Ste Fairfax         Virginia 22033~764 Fairfax                United States
                             Associates          401                                                                                     of America
               0242          Medical Faculty     2902 Porter Street, NW, unit 1 Washington      District of 20008-3286 District of       United States
                             Associates                                                         Columbia               Columbia          of America
               0243          Medical Faculty     110 I 15th Street, NW, suite Washington        District of 20005-5002 District of      •United States
                             Associates          150                                          . Columbia               Columbia          of America


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Loe.No. ID Index No. Name                     Street Address                  City          State     Postal Code County               Country
               0244         Medical Faculty   15215 Shady Grove Rd Ste 306 Rockville        Maryland 20850-0202 Montgomery             United States
                            Associates                                                                                                 of America
               0245         Medical Faculty   4910 Massachusetts Avenue       Washington    District of 20016-4382   District of       United States
                            Associates        NW Ste 307                                    Columbia                 Columbia          of America
               0246         Medical Faculty   7901 Maple Avenue, 1st floor,   Takoma Park   Maryland 20912-6331      Montgomery        United States
                            Associates        suite A                                                                                  of America.
               0247         Medical Faculty   7902 Maple Avenue, 1st floor,   Takoma Park   Maryland 20912           Montgomery        United States
                            Associates        suite B                                                                                  of America
               0248         Medical Faculty   7901 Maple Avenue, 2nd floor    Takoma Park   Maryland 20912-6331      Montgomery        United States
                            Associates                                                                                                 of America
               0249         Medical Faculty   7500 Hanover Pkwy, suite 204 Greenbelt        Maryland 20770           Prince George's United States
                            Associates                                                                                                 of America
               0250         Medical Faculty   123419th St NW Ste 900          Washington    District of 20036-2439   District of       United States
                            Associates                                                      Columbia                 Columbia          of America
               0251         Medical Faculty   2300-2350 Washington Pl NE, Washington        District of 20018-1071   District of       United States
                            Associates        suite 110-1 lN                                Columbia                 Columbia          of America
               0252         Medical Faculty   277 SWashington St Ste 100 Alexandria         Virginia 22314-3678      Alexandria (City) United States
                            Associates                                                                                                 of America
               0253         Medical Faculty   1011 New Hampshire Avenue Washington          District of 20037-1803   District of       United States
                            Associates        NW                                            Columbia                 Columbia          of America
               0254         Medical Faculty   1500 NBeauregard St Ste 100 Alexandria        Virginia 22311-1715      Alexandria (City) United States
                            Associates                                                                                                 of America
               0211         Medical Faculty   2150 Pennsylvania Avenue        Washington    District of 20037-2396   District of       United States
                            Associates        NW                                            Columbia                 Columbia          of America
               0212       - Medical Faculty   3811 Fairfax Dr, 10th floor     Arlington     Virginia 22203           Arlington         United States
                            Associates                                                                                                 of America
               0213         Medical Faculty   3811 Fairfax Dr, 8th floor      Arlington     Vir~nia 22203            Arlington         United States
                            Associates                                                                                                 of America
               0214         Medical Faculty   3811 Fairfax Dr, 5th floor      Arlington     Virginia 22203           Arlington         United States
                            Associates                                                                                                 of America
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Loe.No. ID Index No. Name                                 Street Address                City         State         Postal Code County             Country
                0215                    Medical Faculty   900 23rd Street NW, 1st floor Washington   District of 20037-2342    District of        United States
                                        Associates                                                   Columbia                  Columbia           of America
                0216                    Medical Faculty   202 l KSt NW Ste 104          Washington   District of 20006-1059    District of        United States
                                        Associates                                                   Columbia                  Columbia           of America
                                                                                                                                              -
                0217                    Medical Faculty   2021 KSt NW Ste 408           Washington   District of 20006-1003    District of        United States
                                        Associates                                                   Columbia                  Columbia           of America
                0218                    Medical Faculty   2300MStNW                     Washington   District of 20037-1434    District of        United States
                                        Associates                                                   Columbia                  Columbia           of America
                0219                    Medical Faculty   2120 LSt NW Ste 200           Washington   District of 20037-1554    District of        United States
                                        Associates                                                   Columbia                  Columbia           of America
                0220                    Medical Faculty   2120 LSt NW Ste 450           Washington   District of 20037-1541    District of        United States
                                        Associates          '                                        Columbia                  Columbia           of America
                0221                    Medical Faculty   2120 LStreet, suite 530       Washington   District of 20037         District of        United States
                                        Associates                                                   Columbia                  Columbia           of America
                 0222                   Medical Faculty   2120 LSt NW Ste 600           Washington   District of 20037-1540    District of        United States
                                      . Associates                                                   Columbia                  Columbia           of America
                0223                    Medical Faculty   1860 Town Center Drive Ste · Reston        Virginia 20190-5901       Fairfax            United States
                                        Associates        420                                                                                     of America
                 0224                   Medical Faculty   10215 Fernwood Rd Ste 404 Bethesda         Maryland 20817-1191 Montgomery               United States
                                        Associates                                                                                                of America
                 0225                   Medical Faculty   5215 Loughboro Rd NW Ste Washington        District of   20016-2625 District of         United States
                                        Associates        210                                        Columbia                 Columbia            of America
17               0127        003248.40 Main Campus        3524 KStreet Northwest   Washington        District of   20007-3503 District of         United States
                                                                                                     Columbia                 Columbia            of America
                 0128 003248.40 Main Campus               3526 KStreet Northwest        Washington   District of   20007-3503 District of         United States
                                                                                                     Columbia                 Columbia            of America
18               0131 003248.41 Main Campus · GW          2300 MStreet Northwest        Washington   District of   20037-1434 District of         United States
                                 Medical Faculty                                                     Columbia                 Columbia            of America
                               · Associates




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                                                          SCHEDULE OF LOCATIONS                                                 AccountNo.1-56297
                                                               APPENDIX A                                                        Policy No. 1056630

Loe.No. ID Index No. Name                       Street Address                City              State         Postal Code County            Country
19          0144 000463.79 Mount Vernon College 2100 Foxhall Road Northwest Washington          District of 20007-1150 District of        . United States
                           -Academic Building                                                   Columbia               Columbia             of America

            0145 000463.79 Mount Vernon College 2100 Foxhall Road Northwest Washington          District of 20007-1199 District of          United States
                           -Acheson Hall                                                        Columbia               Columbia             of America

            0146 000463.79 Mount Vernon College 2100 Foxhall Road Northwest   Washington        District of 20007-1199 District of          United States
                           -Ames Hall                                                           Columbia               Columbia             of America
            0148 000463.79 Mount Vernon College 2100 Foxhall Road Northwest   Washington        District of 20007-1199 District of          United States
                           -Athletic Parking                                                    Columbia               Columbia             of America
                           Garage
            0149 000463.79 Mount Vernon College 2100 Foxhall Road Northwest   Washington        District of   20007-1199 District of        United States
                           -Chapel                                                              Columbia                 Columbia           of America
            0150 000463.79 Mount Vernon College 2100 Foxhall Road Northwest   Washington        District of   20007-1199 District of        United States
                           -Clark Dorm                                                          Columbia                 Columbia           of America
            0151 000463.79 Mount Vernon College 2100 Foxhall Road Northwest   Washington        District of   20007-1199 District of        United States
                           -Cole Hall                                                      ..   Columbia                 Columbia           of America
            0152 000463.79 Mount Vernon College 2100 Foxhall Road Northwest   Washington        District of   20007-1199 District of        United States
                           -Eckles Library                                                      Columbia                 Columbia           of America

            0153 000463.79 Mount Vernon College 2100 Foxhall Road Northwest Washington          District of 20007-1199 District of          United States
                           -Gate House                                                          Columbia               Columbia             of America
            0154 000463.79 Mount Vernon College 2100 Foxhall Road Northwest Washington          District of 20007-1199 District of          United States
                           -Hensley Dorm
                                                             -                                  Columbia               Columbia             of America

            0155 000463.79 Mount Vernon College 2100 Foxhall Road Northwest Washington          District of 20007-1199 District of          United States
                           -Lloyd Hall (Gym)                                                    Columbia               Columbia             of America

            0156 000463.79 Mount Vernon College 2100 Foxhall Road Northwest Washington          District of 20007-1199 District of          United States
                           -Merriweather Dorm                                                   Columbia               Columbia             of America


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     ~   · \l ~.{1:~~                                      SCHEDULE OF LOCATIONS                                               Account No.1-56297
·l-····//                                                       APPENDIX A                                                      Policy No.1056630

Loe.No. ID Index No. Name                        Street Address                City            State         Postal Code County             Country
             0158 000463.79 Mount Vernon College 2100 Foxhall Road Northwest Washington        District of 20007-1199 District of           United States
                            -Somers Donn                                                       Columbia               Columbia              of America

             0159 000463.79 Mount Vernon College 2100 Foxhall Road Northwest Washington        District of 20007-1199 District of           United States
                            -West Hall                                                         Columbia               Columbia              of America
             0160 000463.79 Mount Vernon College 2100 Foxhall Road Northwest Washington        District of 20007-1199 District of           United States
                            -Webb                                                              Columbia               Columbia              of America
                            Admin/Alumnae
                            Center
20           0201 043256.92 Iron Mountain/Capital· 8200 Preston Court         Jessup           Maryland 20794-9367 Howard                   United States
                            District                                                                                                        of America
21           0202                                  1930 Martin Luther King Jr Washington       District of 20020-7006 District of           United States
                                                   Avenue SE                                   Columbia               Columbia              of America
22           0203                                  4200 SFour Mile Run Drive Arlington         Virginia 22206-1189 Arlington                United States
                                                                                                                                            of America
22           0205 043732.07                       2000 Pennsylvania Avenue Washington          District of 20006-1812 District of           United States
                                                  NW                                           Columbia               Columbia              of America
23            0204             Gateway Plaza      170 Newport Center Drive Ste Newport Beach   California 92660-6914 Orange                 United States
                                                  260                                                                                       of America
23            0206                                3301 Pennsy Drive            Landover        Maryland 20875             Prince George's   United States
                                                                                                                                      "
                                                                                                                                            of America
24            0207                                2600 Virginia Avenue NW      Washington      District of   20037-1906 District of         United States
                                                                                               Columbia                 Columbia            of America
25            0208                                1919 Pennsylvania Avenue     Washington      District of   20006-3400 District of         United States
                                                  NW                                           Columbia                 Columbia            of America
26            0209                                1930 Martin Luther King Jr   Washington      District of   20020-7006 District of         United States
                                                  Avenue SE                                    Columbia                 Columbia            of America
27            0210 043732.07                      2013 HSt NW                  Washington      District of   20006-4201 District of         United States
                                                                                               Columbia                 Columbia            of America




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                                                                                 Account No. 1-56297
                                                                                   Policy No. 1056630

                     SUPPLEMENTAL UNITED STATES
               CERTIFIED ACT OF TERRORISM ENDORSEMENT

This Endorsement is applicable to all insured Locations in the United States, its territories
and possessions and the Commonwealth of Puerto Rico.

Coverage for "Certified Act of Terrorism" Under The Terrorism Risk Insurance Act of 2002, as
amended.                             ·

In consideration of a premium charged of USD214,452, this Policy, subject to the terms and conditions
therein and in this Endorsement, covers direct physical loss or damage to insured property and any
resulting TIME ELEMENT loss, as provided in the TIME ELEMENT section of the Policy, caused by or
resulting from a Certified Act of Terrorism as defined herein.

Notwithstanding anything contained elsewhere in this Policy, any exclusion or limitation of terrorism in
this Policy and any endorsement attached to and made a part of this Policy, is hereby amended to the
effect that such exclusion or limitation does not apply to a "Certified Act of Terrorism" as defined herein.
This amendment does not apply to any limit of liability for a Certified Act of Terrorism, if any, stated
under the LIMITS OF LIABILITY clause of the DECLARATIONS section of this Policy.

With respect to any one or more Certified Act(s) of Terrorism, this Company will not pay any amounts
for which the Company is not responsible under the terms of the Terrorism Risk Insurance Act of 2002
(including subsequent action of Congress pursuant to the Act) which includes a provision stating that if
the aggregate insured losses exceed USDl00,000,000,000 during any calendar year, neither the United
States Government nor any insurer that has met its insurer deductible shall be liable for the payment of
any portion of the amount of such loss;s that exceed USDl00,000,000,000. If the aggregate insured
losses for all insurers exceed USDl00,000,000,000, your coverage may be reduced.

The coverage provided under this Endorsement for "Certified" losses caused by acts of terrorism will be
partially reimbursed by the United States Government under a formula established by Federal Law._
Under this formula, the United States pays 85% (and beginning on January 1, 2016, shall then decrease by
1 percentage point per calendar year until equal to 80 percent) of covered terrorism losses exceeding a
statutorily established retention by the insurer referenced in this Policy. The premium charged for this
coverage is provided above.

The terms and limitations of any terrorism exclusion, or the inapplicability or omission of a terrorism
exclusion, do not serve to create coverage for any loss which would otherwise be excluded under this
Endorsem~nt or the Policy.

The coverage provided by this Endorsement only applies to a Certified Act of Terrorism.

Reference and Application: The following term(s) means:

Certified Act of Terrorism:

A "Certified Act of Terrorism" means any act that is certified by the Secretary of the Treasury, in
consultation with the Secretary of Homeland Security, and the Attorney General of the United States, to
be an act of terrorism pursuant to the federal Terrorism Risk Insurance Act of 2002 as amended and


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extended in 2005, 2007, and in 2015. The criteria contained in that Act for a "Certified Act of Terrorism"
include the following:

      a.   The act resulted in aggregate losses in excess of USD5,000,000; and

      b. The act is a violent act or an act that is dangerous to huipan life, property or infrastructure and
         is committed by an individual or individuals as part of an effort to coerce the civilian
         population of the United States or to influence the policy or affect the conduct of the United
         States Government by coercion.                        ·




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                                                                                          Account No. 1-56297
                                                                                           Policy No. 1056630


                       RISK IMPROVEMENT COVERAGE ENDORSEMENT

It is agreed that this Endorsement is a part of the Policy and that i:he :terms and conditions of the Policy are
amended as described herein. All other terms and conditions of the Policy remain unchanged.

Coverage provided urider this Endorsement only applies to property described on Appendix A.

COVERAGE:

In consideration of the premium charged and subject to the terms, conditions, exclusions and limitations
of the Policy, as provided in the Valuation clauses of the Policy when insured property is repaired or
replaced as a direct result of insured physical loss or damage, the Policy is extended to cover:

       A.      The reasonable and necessary extra cost incurred by the Insured within two years of the
               physical loss or damage, at the place where the physical loss or damage happened or, if
             · damaged property is rebuilt, repaired or replaced at another site, at such other site, to satisfy
               physical protection loss prevention recommendations in the FM Global Property Loss
               Prevention Data Sheets current at the time of the physical loss or damage utilizing FM
               Approved products and materials where applicable.

LIMIT OF LIABILITY: This Company's liability in a· single occurrence under this Endorsement shall not
exceed 10% of the amount of PROPERTY DAMAGE loss at the insured location, not to exceed
USD500,000.

The amount of PROPERTY DAMAGE loss for purposes of the provision above does not include:

                1)   the application of any deductible(s) under the Policy.
                2)   the costs recoverable under this Endorsement.
              · 3)   stock, work in process, raw materials, finished goods or merchandise.
                4)   process water.
                5)   molds and dies.
                6)   property in the open.
                7)   property of others for which the Insured is legally liable.
                8)   personal property of employees and officers of the Insured.

RISK IMPROVEMENT COVERAGE ENDORSEMENT Exclusions: As respects this Endorsement, the
following additional exclusions apply:

This Endorsement does not cover:

               1)    stock, work in process, raw materials, finished goods or merchandise.
               2)    process water.
               3)    molds and dies.
               4)    property in the open.
               5)    property of others for which the Insured is legally liable.
               6)    personal property of employees and officers of the Insured.

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Factory Mutual Insurance Company

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                7) property adjusted on a basis other than repair or replacement as provided·in the
                   Valuation clauses of the Policy.
                8) any loss recoverable elsewhere in the Policy.

 ADDITIONAL CONDITION

 Notwithstanding the provisions of the Valuation clauses of this Policy, the Insured must repair or replace
 the insured real and/or personal property lost, damaged or destroyed·as a condition for coverage under
 this Endorsement.

 TIME ELEMENT:

· This Endorsement does not cover TIME-ELEMENT loss.




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 Factory Mutual Insurance Company

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                                                                                     Account No. 1-56297
                                                                                      Policy No. 1056630


                         CYBER OPTIMAL RECOVERY ENDORSEMENT
                                                                                                              .   '
  It is agreed that this Endorsement is a part of the Policy and that the· terms and conditions of the Policy are
  amended as described herein. All other terms and c;onditions of the .Policy remain unchanged.

  INSURED OPTION:

  The Insured acknowledges having purchased a cyber policy.

   As respects loss or damage that is covered by both this Policy and the cyber policy, and notwithstanding
·· anything contained in the OTHER INSURANCE clause in the GENERAL PROVISIONS section of this
   Policy, the Insured may elect, within 180 days of notifying this Company of the loss, to apportion the loss
   between this Policy and the cyber policy and to designate this Policy as primary, excess or contributing
   insurance to the cyber policy with respect to each portion of the loss, provided designating it as such is
   necessary to maximize the total indemnity available for the loss under both this Policy and the cyber
   policy.

  This election option shall be subject to the following additional conditions:

   ADDITIONAL CONDITIONS

   1) The Insured will provide this Company with a copy of any cyber policy in force at the time of loss.

   2) . Any coverage provided by the cyber policy that is not provided by this Poltey does not extend to this
        Policy.              ·

   3) The insolvency, inability or unwillingness to pay of the company issuing the cyber policy shall in no
      event increase this Company's liability or delay settlement under this Policy.




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